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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                      RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :          Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :          Case No. 20–32181 (KLP)
                                                             :
                                               1
                                    Debtors.                 :          (Jointly Administered)
                                                             :
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                          SCHEDULE OF ASSETS AND LIABILITIES FOR
                         J. CREW OPERATING CORP. (CASE NO. 20-32186)




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
      Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
      Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
      International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
      (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J.
      Crew Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate
      headquarters and service address is 225 Liberty St., New York, NY 10281.
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    GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY,
       AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF
     ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

       Chinos Holdings, Inc. and its debtor affiliates, as debtors and debtors in possession in the
above-captioned chapter 11 cases (collectively, the “Debtors”), are filing their respective
Schedules of Assets and Liabilities (each, a “Schedule,” and collectively, the “Schedules”) and
Statements of Financial Affairs (each, a “Statement” and collectively, the “Statements”) in the
United States Bankruptcy Court for the Eastern District of Virginia, Richmond Division
(the “Bankruptcy Court”) pursuant to section 521 of title 11 of the United States Code
(the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”).

        These Global Notes and Statements of Limitations, Methodology, and Disclaimer
Regarding the Debtors’ Schedules and Statements (collectively, the “Global Notes”) pertain to,
and are incorporated by reference in, and comprise and integral part of all of the Schedules and
Statements. The Global Notes are in addition to the specific notes set forth below with respect to
the Schedules and Statements (the “Specific Notes,” and, together with the Global Notes,
the “Notes”). These Notes should be referred to, and referenced in connection with, any review
of the Schedules and Statements.

        The Debtors’ management prepared the Schedules and Statements with the assistance of
their advisors and other professionals. The Schedules and Statements are unaudited and subject to
potential adjustment. In preparing the Schedules and Statements, the Debtors relied on financial
data derived from their books and records that was available at the time of preparation. The
Debtors’ management team and advisors have made reasonable efforts to ensure that the Schedules
and Statements are as accurate and complete as possible under the circumstances; however,
subsequent information or discovery may result in material changes to the Schedules and
Statements and errors or omissions may exist. Notwithstanding any such discovery, new
information, or errors or omissions, the Debtors do not undertake any obligation or commitment
to update the Schedules and Statements.

        The Debtors reserve all rights to amend or supplement the Schedules and Statements from
time to time, in all respects, as may be necessary or appropriate, including the right to dispute or
otherwise assert offsets or defenses to any claim reflected on the Schedules and Statements as to
amount, liability, classification, identity of Debtor, or to otherwise subsequently designate any
claim as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained in the
Schedules, Statements, or Notes shall constitute a waiver of any of the Debtors’ rights or an
admission with respect to their chapter 11 cases, including any issues involving objections to
claims, substantive consolidation, equitable subordination, defenses, characterization or re-
characterization of contracts and leases, assumption or rejection of contracts and leases under the
provisions of chapter 3 of the Bankruptcy Code, causes of action arising under the provisions of
chapter 5 of the Bankruptcy Code, or any other relevant applicable laws to recover assets or avoid
transfers.




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                        Global Notes and Overview of Methodology

       The Schedules, Statements, and Notes should not be relied upon by any persons for
information relating to current or future financial conditions, events, or performance of any
of the Debtors or their affiliates.

       1.     Description of the Cases. On May 4, 2020 (the “Petition Date”), each of the
              Debtors commenced a voluntary case under chapter 11 of the Bankruptcy Code.
              The Debtors are authorized to operate their businesses and manage their properties
              as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy
              Code. On May 5, 2020, the Bankruptcy Court entered an order authorizing the joint
              administration of the chapter 11 cases pursuant to Bankruptcy Rule 1015(b)
              [Docket No. 99]. Notwithstanding the joint administration of the Debtors’ cases
              for procedural purposes, each Debtor has filed its own Schedules and Statements.
              On May 13, 2020, the United States Trustee for the Eastern District of Virginia,
              Richmond Division (the “U.S. Trustee”) appointed an official committee of
              unsecured creditors pursuant to section 1102(a)(1) of the Bankruptcy Code
              (the “Creditors’ Committee”).

       2.     Basis of Presentation. For financial reporting purposes, the Debtors generally
              prepare consolidated financial statements, which include information for the
              Debtors and their non-Debtor affiliates. The Schedules and Statements are
              unaudited and reflect the Debtors’ reasonable efforts to report certain financial
              information of each Debtor on an unconsolidated basis. These Schedules and
              Statements neither purport to represent financial statements prepared in accordance
              with Generally Accepted Accounting Principles in the United States (“GAAP”),
              nor are they intended to be fully reconciled with the financial statements of each
              Debtor.

              The Debtors used reasonable efforts to attribute the assets and liabilities, certain
              required financial information, and various cash disbursements to each particular
              Debtor entity. Because the Debtors’ accounting systems, policies, and practices
              were developed for consolidated reporting purposes rather than for reporting by
              legal entity, however, it is possible that not all assets and liabilities have been
              recorded with the correct legal entity on the Schedules and Statements.
              Specifically, the Debtors do not account for accounts payable and payments to
              individual creditors on a legal entity basis. Substantially all payments are made by
              J. Crew Operating Corp. on behalf of the various entities and therefore are presented
              as such in the Schedules and Statements. Intercompany receivables and payables
              are created to account for these transactions by legal entity. Therefore, unless
              indicated otherwise, scheduled claims are listed as a liability of J. Crew Operating
              Corp. The Debtors reserve all rights to supplement and amend the Schedules and
              Statements in this regard, including with respect to reallocation of assets or
              liabilities to any particular entity.

       3.     Reporting Date. Unless otherwise noted on the specific responses, the Schedules
              and Statements generally reflect the Debtors’ books and records as of the close of
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           business on the Petition Date. The liability values are as of the Petition Date,
           adjusted for authorized payments made under the First Day Orders (as defined
           below).

     4.    Current Values. Unless otherwise noted on the specific responses, the assets and
           liabilities of each Debtor are listed in the Schedules and Statements on the basis of
           the net book value of the asset or liability in the respective Debtor’s accounting
           books and records.

     5.    Confidentiality. There may be instances where certain information was not
           included or redacted due to the nature of an agreement between a Debtor and a third
           party, concerns about the confidential or commercially sensitive nature of certain
           information, or to protect the privacy of an individual.

     6.    Consolidated Entity Accounts Payable and Disbursement Systems. As
           described in the Motion of Debtors for Entry of Interim and Final Orders
           (I) Authorizing Debtors to (A) Continue Participating In Existing Cash
           Management System, and Using Bank Accounts and Business Forms, and
           (B) Continue Intercompany Transactions, (II) Providing Administrative Expense
           Priority for Postpetition Intercompany Claims, (III) Extension of Time to Comply
           with Requirements of 11 U.S.C. § 345(b), and (IV) Granting Related Relief [Docket
           No. 7], the Debtors utilize an integrated, centralized cash management system, in
           the ordinary course of business, to collect, concentrate, and disburse funds
           generated by their operations (the “Cash Management System”). The Debtors
           maintain a master concentration account to pay the Debtors’ obligations through
           the following accounts: (a) disbursement accounts, (b) payroll account,
           (c) investment accounts, (d) open account and letter of credit account, and (e) non-
           debtor cash management systems.

           In the ordinary course of business, the Debtors maintain business relationships
           among each other, which result in intercompany receivables and payables
           (the “Intercompany Claims”) arising from intercompany transactions
           (the “Intercompany Transactions”). As set forth more fully in the Cash
           Management Motion, Intercompany Transactions primarily relate to income taxes
           or fees charged by certain Debtors or non-Debtor affiliates to other Debtors or non-
           Debtor affiliates on account of the intercompany provision of goods or services.
           Historically, Intercompany Claims are not settled by actual transfers of cash among
           the Debtors. Instead, the Debtors track all Intercompany Transactions in their
           centralized accounting system, which concurrently are recorded on the applicable
           Debtors’ balance sheets and regularly reconciled. The Debtors’ accounting system
           requires that all general ledger entries be balanced at the legal entity level, with
           certain legal entities consolidated. Unless otherwise noted, the Debtors have
           reported the intercompany receivables and intercompany payables among the
           Debtors as assets on Schedule A/B or as liabilities on Schedule E/F, as appropriate.

     7.    Accuracy. The financial information disclosed herein was not prepared in
           accordance with federal or state securities laws or other applicable nonbankruptcy
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           law or in lieu of complying with any periodic reporting requirements thereunder.
           Persons and entities trading in or otherwise purchasing, selling, or transferring the
           claims against or equity interests in the Debtors should evaluate this financial
           information in light of the purposes for which it was prepared. The Debtors are not
           liable for and undertake no responsibility to indicate variations from securities laws
           or for any evaluations of the Debtors based on this financial information or any
           other information.

     8.    Net Book Value of Assets. In many instances, current market valuations are not
           maintained by or readily available to the Debtors. As such, wherever possible, net
           book values as of the Petition Date are presented. Amounts ultimately realized
           based on market valuations may vary materially from net book value (or other value
           so ascribed). Accordingly, the Debtors reserve all rights to amend, supplement,
           and adjust the asset values set forth in the Schedules and Statements. As applicable,
           fixed assets and leasehold improvement assets that fully have been depreciated or
           amortized, or were expensed for GAAP accounting purposes, have no net book
           value, and, therefore, are not included in the Schedules and Statements.

     9.    Undetermined Amounts. Claim amounts that could not readily be quantified by
           the Debtors are scheduled as “undetermined,” “unknown,” or “N/A.” The
           description of an amount as “undetermined,” “unknown,” or “N/A” is not intended
           to reflect upon the materiality of the amount.

     10.   Excluded Assets and Liabilities. The Debtors believe that they have identified,
           but did not necessarily value, all material categories of assets and liabilities in the
           Schedules. The Debtors have excluded the following items from the Schedules and
           Statements: certain accrued liabilities, including accrued salaries and wages,
           employee benefit accruals, and certain other accruals, certain prepaid and other
           current assets considered to have de minimis or no market value. Other immaterial
           assets and liabilities may also have been excluded.

     11.   Totals. All totals that are included in the Schedules and Statements represent totals
           of all the known amounts included in the Schedules and Statements and exclude
           items identified as “unknown” or “undetermined.” If there are unknown or
           undetermined amounts, the actual totals may be materially different from the listed
           totals.

     12.   Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
           unless otherwise indicated.

     13.   Payment of Prepetition Claims Pursuant to First Day Orders. The Debtors
           have authority to pay certain outstanding prepetition payables pursuant to certain
           orders by the Bankruptcy Court entered in connection with the Debtors’ chapter 11
           cases authorizing the Debtors to pay certain prepetition amounts (collectively, the
           “First Day Orders”). As such, outstanding liabilities may have been reduced by
           any court-approved postpetition payments made on prepetition payables. If these
           liabilities have been satisfied, they are not listed in the Schedules and Statements
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              unless otherwise noted. If the Debtors later pay any amount of the claims listed in
              the Schedules and Statements pursuant to any orders entered by the Bankruptcy
              Court, the Debtors reserve all rights to amend or supplement the Schedules and
              Statements or to take other action, such as filing claims objections, as is necessary
              and appropriate to avoid overpayment or duplicate payments for liabilities.

     14.      Other Paid Claims. If the Debtors have reached any postpetition settlement with
              a vendor or other creditor that expressly supersedes the Schedules and Statements
              or that was entered into after filing of the Schedules and Statements, the terms of
              such settlement will prevail, supersede amounts listed in the Debtors’ Schedules
              and Statements, and shall be enforceable by all parties, subject to Bankruptcy Court
              approval.

     15.      Setoffs. The Debtors routinely incur certain setoffs from customers and suppliers
              in the ordinary course of business. Setoffs in the ordinary course can result from
              various items including, but not limited to, pricing discrepancies, customer
              programs, returns, promotional funding, and other disputes between the Debtors
              and their customers and suppliers. These routine setoffs are consistent with the
              ordinary course of business in the Debtors’ industry, and, therefore, can be
              particularly voluminous, unduly burdensome, and costly for the Debtors to
              regularly document. Therefore, although such setoffs and other similar rights may
              have been accounted for when scheduling certain amounts, these ordinary course
              setoffs are not independently accounted for, and, as such, are excluded from the
              Debtors’ Schedules and Statements. Any setoff of a prepetition debt to be applied
              against the Debtors is subject to the automatic stay and must comply with section
              553 of the Bankruptcy Code.

           16. Inventory. Merchandise inventories are carried at the lower of average cost or net
               realizable value. The Debtors capitalize certain design, purchasing and
               warehousing costs in inventory. The Debtors evaluate all of their inventories to
               determine excess inventories based on estimated future sales. Based on historical
               results experienced through various methods of disposition, the Debtors write down
               the carrying value of inventories that are not expected to be sold at or above cost.
               Additionally, the Debtors reduce the cost of inventories based on an estimate of lost
               or stolen items each period.

     17.      Property, Plant and Equipment. Property and equipment are stated at cost and
              are depreciated over the estimated useful lives using the straight-line method.
              Buildings and improvements are depreciated over estimated useful lives of twenty
              years. Furniture, fixtures and equipment are depreciated over estimated useful
              lives, ranging from three to ten years. Leasehold improvements are depreciated
              over the shorter of their useful lives or related lease terms (without consideration
              of optional renewal periods). The Debtors capitalize certain costs (included in
              fixtures and equipment) related to the acquisition and development of software and
              amortizes these costs using the straight-line method over the estimated useful life
              of the software, which is three to five years. Certain development costs not meeting
              the criteria for capitalization are expensed as incurred.
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     18.   Debtors’ Reservation of Rights. Nothing contained in the Schedules, Statements,
           or Notes shall constitute a waiver of rights with respect to these chapter 11 cases,
           including the following:

           a.     Any failure to designate a claim listed on the Debtors’ Schedules and
                  Statements as “disputed,” “contingent,” or “unliquidated” does not
                  constitute an admission by the Debtors that such amount is not “disputed,”
                  “contingent,” or “unliquidated.” The Debtors reserve the right to dispute
                  and to assert setoff rights, counterclaims, and defenses to any claim
                  reflected on the Schedules as to amount, liability, and classification, and to
                  otherwise subsequently designate any claim as “disputed,” “contingent,” or
                  “unliquidated.”

           b.     Notwithstanding that the Debtors have made reasonable efforts to correctly
                  characterize, classify, categorize, or designate certain claims, assets,
                  executory contracts, unexpired leases, and other items reported in the
                  Schedules and Statements, the Debtors nonetheless may have improperly
                  characterized, classified, categorized, or designated certain items. The
                  Debtors thus reserve all rights to recharacterize, reclassify, recategorize, or
                  redesignate items reported in the Schedules and Statements at a later time
                  as is necessary and appropriate.

           c.     The listing of a claim (i) on Schedule D as “secured,” (ii) on Schedule E/F
                  (Part 1) as “priority,” (iii) on Schedule E/F (Part 2) as “unsecured,” or
                  (iv) listing a contract or lease on Schedule G as “executory” or “unexpired”
                  does not constitute an admission by the Debtors of the legal rights of the
                  claimant, or a waiver of the Debtors’ rights to recharacterize or reclassify
                  such claim or contract pursuant to a schedule amendment, claim objection
                  or otherwise. Moreover, although the Debtors may have scheduled claims
                  of various creditors as secured claims for informational purposes, no current
                  valuation of the Debtors’ assets in which such creditors may have a security
                  interest has been undertaken. Except as provided in an order of the
                  Bankruptcy Court, the Debtors reserve all rights to dispute and challenge
                  the secured nature or amount of any such creditor’s claims or the
                  characterization of the structure of any transaction, or any document or
                  instrument related to such creditor’s claim.

           d.     In the ordinary course of their business, the Debtors lease equipment and
                  other assets from certain third-party lessors for use in the daily operation of
                  their business. The Debtors have made commercially reasonable efforts to
                  list any such leases in Schedule G, and any current amounts due under such
                  leases that were outstanding as of the Petition Date are listed on Schedule
                  E/F. Except as otherwise noted herein, the property subject to any such
                  leases is not reflected in Schedule A/B as either owned property or assets of
                  the Debtors, and neither is such property or assets of third parties within the
                  control of the Debtors. Nothing in the Schedules is or shall be construed as
                  an admission or determination as to the legal status of any lease (including
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                whether any lease is a true lease or a financing arrangement), and the
                Debtors reserve all rights with respect to any of such issues, including the
                recharacterization thereof.

           e.   The claims of individual creditors for, among other things, goods, products,
                services or taxes are listed as the amounts entered on the Debtors’ books
                and records and may not reflect credits, allowances or other adjustments due
                from such creditors to the Debtors. The Debtors reserve all of their rights
                with regard to such credits, allowances and other adjustments, including the
                right to assert claims objections and setoffs with respect to the same.

           f.   The Debtors’ businesses are part of a complex enterprise. Although the
                Debtors have exercised their reasonable efforts to ensure the accuracy of
                their Schedules and Statements, they nevertheless may contain errors and
                omissions. The Debtors hereby reserve all of their rights to dispute the
                validity, status, and enforceability of any contracts, agreements, and leases
                identified in the Debtors’ Schedules and Statements, and to amend and
                supplement the Schedules and Statements as necessary.

           g.   The Debtors further reserve all of their rights, claims, and causes of action
                with respect to the contracts and agreements listed on the Schedules and
                Statements, including the right to dispute and challenge the characterization
                or the structure of any transaction, document, and instrument related to a
                creditor’s claim.

           h.   The Debtors exercised their reasonable efforts to locate and identify
                guarantees and other secondary liability claims (the “Guarantees”) in their
                executory contracts, unexpired leases, secured financings, debt instruments,
                and other agreements. When such Guarantees have been identified, they
                are included in the relevant Schedules and Statements. Guarantees
                embedded in the Debtors’ executory contracts, unexpired leases, secured
                financings, debt instruments, and other agreements may have been omitted
                inadvertently. Thus, the Debtors reserve their rights to amend and
                supplement the Schedules and Statements to the extent that additional
                Guarantees are identified. In addition, the Debtors reserve the right to
                amend the Schedules and Statements to re-characterize and reclassify any
                such contract or claim.

           i.   Listing a contract or lease on the Debtors’ Schedules and Statements shall
                not be deemed an admission that such contract is an executory contract,
                such lease is an unexpired lease, or that either necessarily is a binding, valid,
                and enforceable contract. The Debtors hereby expressly reserve the right to
                assert that any contract listed on the Debtors’ Schedules and Statements
                does not constitute an executory contract within the meaning of section 365
                of the Bankruptcy Code, and the right to assert that any lease so listed does
                not constitute an unexpired lease within the meaning of section 365 of the
                Bankruptcy Code.
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           j.     Exclusion of certain intellectual property should not be construed to be an
                  admission that such intellectual property rights have been abandoned, have
                  been terminated or otherwise expired by their terms, or have been assigned
                  or otherwise transferred pursuant to a sale, acquisition, or other transaction.
                  Conversely, inclusion of certain intellectual property should not be
                  construed to be an admission that such intellectual property rights have not
                  been abandoned, have not been terminated or otherwise expired by their
                  terms, or have not been assigned or otherwise transferred pursuant to a sale,
                  acquisition, or other transaction.

     19.   Global Notes Control. If the Schedules or Statements differ from any of the
           foregoing Global Notes, the Global Notes shall control.

     Specific Notes with Respect to the Debtors’ Schedules

     1.    Schedule A/B.

           a.     A/B.3. As set forth more fully in the Cash Management Motion, the
                  Debtors conduct their operations through an extensive network of bank
                  accounts. The values provided for in Schedule A/B, Item 3 for each account
                  for a given Debtor reflects the ending cash balance of such account as of the
                  Petition Date.

           b.     A/B.10–12. Consistent with the Debtors’ financial reporting practices,
                  certain current assets, including credit card receivables, wholesale
                  receivables, corporate receivables, and any allowances thereof provided for
                  in Schedule A/B, Items 11 and 12 are as of the Petition Date. Intercompany
                  receivables have been listed as “Other property” under Schedule A/B, Item
                  77.

           c.     A/B.15. Equity interests in subsidiaries and affiliates primarily arise from
                  common stock ownership or member interests. For purposes of these
                  Schedules, the Debtors have assigned an ownership percentage for the
                  equity interests of all of their direct subsidiaries.

           d.     A/B.18–26. Schedule A/B, Items 18–26 identifies the estimated value of
                  the Debtors’ inventories. Included within the estimated values are various
                  reserves and capitalized balances that the Debtors attribute to the total value
                  of inventory as included within their books and records, such as on account
                  of slow moving goods, shrinkage and markdowns.

           e.     A/B.54–58. The Debtors considered only real property owned in
                  responding to Schedule A/B, Items 54–58. However, the Debtors’ real
                  property leases are listed in Schedule G and are incorporated into Schedule
                  A/B, Items 54-58 by reference. The Debtors’ real property leases for retail
                  store locations are listed on Schedule G for Chinos Holdings, Inc.; J. Crew


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                  Group, Inc.; J. Crew Operating Corp.; Grace Holmes, Inc.; J. Crew Inc.;
                  Madewell Inc.; H.F.D. No. 55, Inc.

           f.     A/B.59–65. The Debtors have not listed the value of the items listed in
                  Schedule A/B, Items 59–65 because the values on the Debtors’ books and
                  records may not accurately reflect their value in the marketplace.

                  Additionally, certain of the Debtors have customer information from loyalty
                  programs, customer accounts, in-store and online sales, as well as
                  information collected from the Debtors’ websites and third-party partners,
                  which information includes personally identifiable information. The
                  Debtors maintain certain records in the ordinary course of business, but do
                  not sell these lists. Due to privacy laws, the Debtors’ privacy policy, and
                  the need to protect confidential information and individual privacy, the
                  Debtors have not furnished any customer lists on their Schedules.

           g.     A/B.72. The Debtors file consolidated federal tax returns, as well as certain
                  of their state tax returns, under Chinos Holdings, Inc. Consequently, the
                  Debtors maintain net and current book operating losses, carryforwards of
                  disallowed business interest expense, and carryforwards of unused general
                  business credits, in each case, from consolidated tax filings made by Chinos
                  Holdings, Inc. (“Tax Assets”), and such Tax Assets are listed only under
                  Item 72 of Schedule A/B for Chinos Holdings, Inc. Additionally, the values
                  of the Tax Assets listed in Schedule A/B, Item 72 reflect the amounts listed
                  in the Debtors’ books and records, and may reflect amounts accumulated
                  for more than one tax year.

           h.     A/B.70–77. Despite exercising their commercially reasonable efforts to
                  identify all known assets, the Debtors may not have listed all of their causes
                  of action or potential causes of action against third parties as assets in their
                  Schedules. Unless otherwise noted on specific responses, items reported on
                  Schedule A/B are reported from the Debtors’ books and records as of the
                  Petition Date. The Debtors reserve all of their rights with respect to any
                  claims and causes of action they may have. Neither these Notes nor the
                  Schedules shall be deemed a waiver of any such claims or causes of action
                  or to prejudice or impair the assertion thereof in any way.

                  If a Debtor has received an intercompany receivable, such amount has been
                  listed on Item 77, Schedule A/B for such Debtor. Correspondingly, if a
                  Debtor is obligated on account of an intercompany payable, such amount
                  has been listed on Schedule E/F, Part 2 for such Debtor.

     2.    Schedule D. The claims listed on Schedule D, as well as the guarantees of those
           claims listed on Schedule H, arose and were incurred on various dates; a
           determination of the date upon which each claim arose or was incurred would be
           unduly burdensome and cost prohibitive. Accordingly, not all such dates are
           included for each claim. To the best of the Debtors’ knowledge, all claims listed
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           on Schedule D arose or were incurred before the Petition Date. The amounts in
           Schedule D are consistent with the Debtors’ stipulations set forth in the Final Order
           (I) Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing the
           Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority
           Administrative Expense Claims, (IV) Granting Adequate Protection to Prepetition
           Secured Parties, (V) Modifying Automatic Stay, and (VI) Granting Related Relief
           [Docket No. 447] (the “DIP Order”), which are subject to investigation and
           challenge by the Creditors’ Committee or other parties in interest, all as more fully
           set forth in the DIP Order.

           Except as otherwise agreed to or stated pursuant to a stipulation, agreed order, or
           general order entered by the Bankruptcy Court that is or becomes final, including
           the DIP Order, the Debtors and their estates reserve their right to dispute and
           challenge the validity, perfection, or immunity from avoidance of any lien
           purported to be granted or perfected in any specific asset to a creditor listed on
           Schedule D of any Debtor and, subject to the foregoing limitations, note as follows:
           (a) although the Debtors may have scheduled claims of various creditors as secured
           claims for informational purposes, no current valuation of the Debtors’ assets in
           which such creditors may have a lien has been undertaken; (b) the Debtors have
           included the results of UCC lien searches performed prior to the Petition Date (the
           reporting of such results, however, shall not be deemed an admission as to the
           validity or existence of any such lien); (c) the Debtors reserve all rights to dispute
           and challenge the secured nature of any creditor’s claim or the characterization of
           the structure of any such transaction or any document or instrument related to such
           creditor’s claim; and (d) the descriptions provided on Schedule D only are intended
           to be a summary. Reference to the applicable loan agreements and related
           documents is necessary for a complete description of the collateral and the nature,
           extent, and priority of any liens.

           Detailed descriptions of the Debtors’ prepetition debt structure and descriptions of
           collateral relating to the debt contained on Schedule D are contained in the
           Declaration of Michael J. Nicholson in Support of Debtors’ Chapter 11 Petitions
           and First Day Relief [Docket No. 6] (the “First Day Declaration”).

           The Debtors have listed only the administrative agent or indenture trustee for their
           funded secured indebtedness, but each of these secured claims are owned or
           beneficially controlled by a number of parties that may not be identified in the
           Schedules and Statements.

           Except as specifically stated herein, real property lessors, equipment lessors, utility
           companies, and other parties which may hold security deposits or other security
           interests have not been listed on Schedule D. The Debtors have not listed on
           Schedule D any parties whose claims may be secured through rights of setoff,
           deposits, or advance payments posted by, or on behalf of, the Debtors, or judgment
           or statutory lien rights.


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     3.    Schedule E/F

           a.    (Part 1). The claims listed on Schedule E/F (Part 1) arose and were incurred
                 on various dates; a determination of the date upon which each claim arose
                 or was incurred would be unduly burdensome and cost prohibitive.
                 Accordingly, not all such dates are included for each claim. To the best of
                 the Debtors’ knowledge, all claims listed on Schedule E/F arose or were
                 incurred before the Petition Date.

                 The Debtors have not listed certain wage, or wage-related obligations that
                 the Debtors have paid pursuant to First Day Orders on Schedule E/F. The
                 Debtors reserve the right to dispute or challenge whether creditors listed on
                 Schedule E/F are entitled to priority status pursuant to sections 503 and 507
                 of the Bankruptcy Code.

                 Claims owing to various taxing authorities to which the Debtors potentially
                 may be liable are included on the Debtors’ Schedule E/F. Certain of such
                 claims, however, may be subject to ongoing audits and the Debtors
                 otherwise are unable to determine with certainty the amount of the
                 remaining claims listed on Schedule E/F. Therefore, the Debtors have listed
                 all such claims as disputed, contingent, and unliquidated, pending final
                 resolution of ongoing audits or other outstanding issues.

                 The Debtors reserve the right to assert that any claim listed on Schedule E/F
                 does not constitute a priority claim under the Bankruptcy Code.

           b.    (Part 2). The Debtors have exercised their commercially reasonable efforts
                 to list all liabilities on Schedule E/F of each applicable Debtor. As a result
                 of the Debtors’ consolidated operations, however, the reader should review
                 Schedule E/F for all Debtors in these cases for a complete understanding of
                 the unsecured debts of the Debtors. Certain creditors listed on Schedule E/F
                 may owe amounts to the Debtors, and, as such, the Debtors may have valid
                 setoff and recoupment rights with respect to such amounts. The amounts
                 listed on Schedule E/F may not reflect any such right of setoff or
                 recoupment, and the Debtors reserve all rights to assert the same and to
                 dispute and challenge any setoff and recoupment rights that may be asserted
                 against the Debtors by a creditor. Additionally, certain creditors may assert
                 mechanic’s, materialman’s, or other similar liens against the Debtors for
                 amounts listed on Schedule E/F. The Debtors reserve their rights to dispute
                 and challenge the validity, perfection, and immunity from avoidance of any
                 lien purported to be perfected by a creditor listed on Schedule E/F of any
                 Debtor. In addition, certain claims listed on Schedule E/F (Part 2) may be
                 entitled to priority under 11 U.S.C. § 503(b)(9).

                 The Debtors have made reasonable efforts to include all unsecured creditors
                 on Schedule E/F including, but not limited to, lease counterparties, taxing
                 authorities, trade creditors, and service providers. The amounts listed in
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                           Schedule E/F with respect to certain trade creditors are consistent with the
                           Debtors’ stipulations set forth in each such creditors’ ongoing trade
                           agreement, as applicable.1 The Debtors have made reasonable efforts to
                           include certain balances on Schedule E/F, including deferred liabilities,
                           accruals, or general reserves, but may not have included all balances where
                           impracticable. Such amounts are, however, reflected on the Debtors’ books
                           and records as required in accordance with GAAP. Such accruals primarily
                           represent general estimates of liabilities and do not represent specific claims
                           as of the Petition Date. The Debtors have made reasonable efforts to include
                           as contingent, unliquidated and disputed the claim of any party not included
                           on the Debtors’ open accounts payable that is associated with an account
                           that has an accrual or receipt not invoiced.

                           Schedule E/F also contains information regarding pending litigation
                           involving the Debtors. In certain instances, the relevant Debtor that is the
                           subject of the litigation is unclear or undetermined. To the extent that
                           litigation involving a particular Debtor has been identified, however, such
                           information is included on that Debtor’s Schedule E/F. The amounts for
                           these potential claims are listed as undetermined and marked as contingent,
                           unliquidated, and disputed in the Schedules.

                           The aggregate net intercompany payable amounts listed in Schedule E/F
                           may or may not result in allowed or enforceable claims by or against a given
                           Debtor, and listing these payables is not an admission on the part of the
                           Debtors that the Intercompany Claims are enforceable or collectable. The
                           intercompany payables also may be subject to recoupment, netting, or other
                           adjustments made pursuant to intercompany policies and arrangements not
                           reflected in the Schedules.

                           Additionally, the Bankruptcy Court has authorized the Debtors to pay, in
                           their discretion, certain unsecured claims, pursuant to the First Day Orders.
                           To the extent practicable, each Debtor’s Schedule E/F is intended to reflect
                           the balance as of the Petition Date, adjusted for postpetition payments of
                           some or all of the Bankruptcy Court-approved payments. Each Debtor’s
                           Schedule E/F will reflect some of the Debtor’s payments of certain claims
                           pursuant to the First Day Orders, and, to the extent an unsecured claim has
                           been paid or may be paid, it is possible such claim is not included on
                           Schedule E/F. Certain Debtors may pay additional claims listed on
                           Schedule E/F during these Chapter 11 cases pursuant to these and other
                           orders of the Bankruptcy Court and the Debtors reserve all of their rights to
                           update Schedule E/F to reflect such payments or to modify the claims


1
    Further information and a form of the Debtors’ ongoing trade agreements is set forth in the Debtors’ Final Order
    (I) Authorizing Debtors to Pay Certain Prepetition Claims, Lien Claims, and 503(b)(9) Claims, (II) Confirming
    Administrative Expense Priority of Undisputed Prepetition Orders, and (III) Granting Related Relief [Docket No.
    384].

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                  register to account for the satisfaction of such claim. Additionally, Schedule
                  E/F does not include potential rejection damage claims, if any, of the
                  counterparties to executory contracts and unexpired leases that have been,
                  or may be, rejected.

     4.    Schedule G. Although reasonable efforts have been made to ensure the accuracy
           of Schedule G regarding executory contracts and unexpired leases (collectively,
           the “Agreements”), review is ongoing and inadvertent errors, omissions or
           overinclusion may have occurred. The Debtors may have entered into various other
           types of Agreements in the ordinary course of their businesses, such as indemnity
           agreements, supplemental agreements, and amendments/letter agreements that may
           not be set forth in Schedule G. In addition, as described herein, certain non-
           disclosure agreements and or other confidential information have been omitted, as
           well as certain short-term purchase and sales orders given their large number and
           transitory nature.

           Omission of an agreement from Schedule G does not constitute an admission that
           such omitted agreement is not an executory contract or unexpired lease. Schedule
           G may be amended at any time to add any omitted Agreements. Likewise, the
           listing of an Agreement on Schedule G does not constitute an admission that such
           Agreement is an executory contract or unexpired lease or that such Agreement was
           in effect on the Petition Date or is valid or enforceable. The Agreements listed on
           Schedule G may have expired or may have been modified, amended, or
           supplemented from time to time by various amendments, restatements, waivers,
           estoppel certificates, letter and other documents, instruments and agreements that
           may not be listed on Schedule G. Executory agreements that are oral in nature have
           not been included in Schedule G. Any and all of the Debtors’ rights, claims and
           causes of action with respect to the Agreements listed on Schedule G are hereby
           reserved and preserved, and as such, the Debtors hereby reserve all of their rights
           to (i) dispute the validity, status, or enforceability of any Agreements set forth on
           Schedule G, (ii) dispute or challenge the characterization of the structure of any
           transaction, or any document or instrument related to a creditor’s claim, including,
           but not limited to, the Agreements listed on Schedule G and (iii) to amend or
           supplement such Schedule as necessary. Certain of the Agreements listed on
           Schedule G may have been entered into on behalf of more than one of the Debtors.
           Additionally, the specific Debtor obligors to certain of the Agreements may not
           have been specifically ascertained in every circumstance. In such cases, the
           Debtors have made reasonable efforts to identify the correct Debtor’s Schedule G
           on which to list the Agreement and, where a contract party remained uncertain,
           such Agreement may have been listed on a different Debtor’s Schedule G.

     5.    Schedule H. The Debtors are party to various debt agreements, which were
           executed by multiple Debtors. The obligations of guarantors under prepetition,
           secured credit agreements are noted on Schedule H for each individual debtor. In
           the ordinary course of their businesses, the Debtors are involved in pending or
           threatened litigation and claims arising out of the conduct of their businesses. Some
           of these matters may involve multiple plaintiffs and defendants, some or all of
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           whom may assert cross-claims and counter-claims against other parties. Because
           such claims are listed on each Debtor’s Schedule E/F and Statement 7, as
           applicable, they have not been set forth individually on Schedule H. Furthermore,
           the Debtors may not have identified certain guarantees that are embedded in the
           Debtors’ executory contracts, unexpired leases, secured financings, debt
           instruments and other such agreements. No claim set forth on the Schedules and
           Statements of any Debtor is intended to acknowledge claims of creditors that are
           otherwise satisfied or discharged by other Debtors or non-Debtors. If there are
           guarantees connected with any joint ventures to which the Debtors may be a party,
           such agreements are not identified in the Debtors’ Schedules. The Debtors reserve
           all of their rights to amend the Schedules to the extent that additional guarantees
           are identified or such guarantees are discovered to have expired or be
           unenforceable.



     Specific Notes With Respect to the Debtors’ Statements

     1.    Statement 1. Sales are reflected net of returns and allowances, discounts, and
           certain other adjustments. Negative revenue relates to discounts on gift cards sold
           through third parties.

           The Debtors’ fiscal year ends on the Saturday closest to January 31:

           FY 2017: Composed of 53 weeks ending February 3, 2018.

           FY 2018: Composed of 52 weeks ending February 2, 2019.

           FY 2019: Composed of 52 weeks ending February 1, 2020.

     2.    Statement 3. The obligations of the Debtors are primarily paid by and through
           J. Crew Operating Corp., notwithstanding the fact that certain obligations may be
           obligations of one or more of the affiliated Debtors or non-Debtor affiliates.

           The payments disclosed in Statement 3 are based on payments made by the Debtors
           with payment dates from February 4, 2020 to May 4, 2020. The actual dates that
           cash cleared the Debtors’ bank accounts may differ based on the form of payment.
           The Debtors’ accounts payable system does not include the corresponding payment
           clear dates and compiling this data would have required a significant manual review
           of individual bank statements. It is expected, however, that many payments
           included in Statement 3 have payment clear dates that are the same as payment
           dates (e.g., wires and other forms of electronic payments).

           The responses to Statement 3 exclude certain disbursements or transfers to creditors
           otherwise listed in Statement 9, Statement 11, and payments made on account of
           certain employee obligations including, but not limited to, medical costs and
           business expense reimbursements.

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     3.    Statement 4. The Debtors reserve all rights with respect to the determination or
           status of a person as an “insider” as defined in section 101(13) of the Bankruptcy
           Code. For more information regarding each Debtor’s officers and directors, see
           Statement 28 and Statement 29.

           Question 4 of the Statements does not account for merchandise that may have been
           moved between the Debtors’ locations because such transfers are recorded through
           ordinary course accounting entries.

           The payroll-related amount shown in response to this question, which includes,
           among other things, salary, wage, additional compensation, is a gross amount that
           does not include reductions for amounts including employee tax or benefit
           withholdings. In the ordinary course of business, certain corporate or personal
           credit cards may be utilized by insiders to pay for travel and business-related
           expenses for various other individuals employed by the Debtors. As it would be
           unduly burdensome for the Debtors to analyze which credit card expenses related
           to those incurred on behalf of an insider as opposed to another employee (or the
           Debtors), the Debtors have listed the aggregate amount paid for such expenses.
           Amounts still owed to creditors will appear on the Schedules for each of the
           Debtors.

     4.    Statement 5. On occasion, the Debtors may return damaged or unsatisfactory
           goods to vendors in the ordinary course of business. Other than ordinary course
           items, the Debtors are not aware of any property that has been returned to the seller.

     5.    Statement 6. The Debtors maintain certain customer programs, including return
           and refund programs pursuant to which customers may receive credits. Such
           transactions were not considered setoffs for the purpose of responding to Statement
           6, although the Debtors reserve all rights with respect thereto and make no
           admission of waiver thereby.

           The Debtors have otherwise used their reasonable efforts to reflect setoffs made by
           creditors without permission that they are aware of; however, there may be
           instances, including credits due to landlords, when such a setoff has occurred
           without the Debtors’ knowledge.

     6.    Statement 7. The Debtors reserve all of their rights and defenses with respect to
           any and all listed lawsuits and administrative proceedings. The listing of such suits
           and proceedings shall not constitute an admission by the Debtors of any liabilities
           or that the actions or proceedings were correctly filed against the Debtors or any
           affiliates of the Debtors. The Debtors also reserve their rights to assert that neither
           the Debtors nor any affiliate of the Debtors is an appropriate party to such actions
           or proceedings. Further, the Debtors operate in numerous jurisdictions and in the
           ordinary course of business may have disputed property valuations/tax assessments.
           The Debtors have not listed such disputes on Statement 7.



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     7.    Statement 10. The losses listed may exclude those incurred in the ordinary course
           of business or those where the amount is de minimis.

     8.    Statement 11. The Debtors have used reasonable efforts to identify payments for
           services of any entities who provided consultation concerning debt counseling or
           restructuring services, relief under the Bankruptcy Code or preparation of a petition
           in bankruptcy within one year immediately preceding the Petition Date, which are
           identified in J. Crew Operating Corp.’s response to Statement 11. Additional
           information regarding the Debtors’ retention of professional service firms is more
           fully described in the individual retention applications for those firms and related
           orders.

     9.    Statement 13. The Debtors may, from time to time and in the ordinary course of
           business, transfer equipment and other assets and sell certain equipment and other
           assets to third parties. These types of ordinary course transfers have not been
           disclosed in Statement 13. The Debtors further do not take any position with
           respect to whether transfers identified in response to Statement 13 are made in the
           ordinary course of business. Certain transfers listed in this response are included
           solely out of an abundance of caution.

           If the Debtors vacated store locations during the three years immediately preceding
           the Petition Date, information on these former store locations is contained in the
           Debtors’ response to Statement 14.

     10.   Statement 21. In the ordinary course of business, the Debtors’ corporate and retail
           locations contain various equipment and items owned by others including copy
           machines and computer hardware. Additionally, the Debtors utilize leased property
           in their ordinary course of business. Therefore, the Debtors hold property subject
           to leases listed on the Debtors’ Schedule G.

           Certain of the Debtors’ vendors sell inventory and fulfill orders through the
           Debtors’ e-commerce platforms (such vendors, the “Marketplace Vendors”). The
           Debtors do not physically possess the inventory at any time; however, the Debtors
           collect payment for the goods sold through their e-commerce platforms and pay the
           Marketplace Vendors on a monthly (or, at the Debtors’ option, more frequent) basis
           the proceeds of any goods sold, less a commission and other amounts due to the
           Debtors. Out of an abundance of caution, the Debtors have included the property
           of the Marketplace Vendors in the Debtors’ response to Statement 21, although the
           Debtors have indicated that the value of such property is “unknown” or
           “undetermined.” Although reasonable efforts have been made to ensure the
           accuracy of Statement 21, review is ongoing and inadvertent errors, omissions or
           overinclusion may have occurred.

     11.   Statement 26(d). The Debtors provided financial statements in the ordinary course
           of business to certain parties for business, statutory, credit, financing and other
           reasons. Recipients have included regulatory agencies, financial institutions,


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           investment banks, debtholders, and their legal and financial advisors. Financial
           statements have also been provided to other parties as requested.

     12.   Statement 27. The amounts listed in the response to Statement 27 include all
           inventory held by the Debtors in retail locations.

     13.   Statement 29. Disclosures relate specifically to terminated job titles or positions
           and are not indicative of the individuals’ current employment status with the
           Debtors.

     14.   Statement 30. Any and all known disbursements to insiders of the Debtors have
           been listed in the response to Statement 4. The items listed under Statement 30
           incorporate by reference any items listed under Statement 4, and vice versa.




                                  ***********************




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Debtor Name               J. Crew Operating Corp.
United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):                         20-32186

                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing


Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                               12/15



  Part 1:         Summary of Assets


  1. Schedule A/B: Assets - Real and Personal Property                                   (Official Form 206A/B)

    1a. Real property:
        Copy line 88 from Schedule A/B.......................................................................................................................                               $0.00



    1b. Total personal property:
        Copy line 91A fromSchedule A/B.....................................................................................................................                      $334,253,091.05



    1c. Total of all property:
        Copyline 92 from Schedule A/B.......................................................................................................................                     $334,253,091.05




  Part 2:         Summary of Liabilities




    2.    Schedule D: Creditors Who Have Claims Secured by Property             (Official Form 206D)
          Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D...........................                                                $1,710,417,991.79



    3.    Schedule E/F: Creditors Who Have Unsecured Claims                                      (Official Form 206E/F)


         3a. Total of amounts of priority unsecured claims:
             Copy the total claims from Part 1 from the line 5a of Schedule E/F.............................................................                                                 $0.00



         3b. Total amount of claims of nonpriority amount of unsecured claims:
             Copy the total amount of claims from Part 2 from line 5b of Schedule E/F..................................................                                     +   $1,286,060,977.95




         4.   Total liabilities .........................................................................................................................................       $2,996,478,969.74
              Lines 2 + 3a + 3b
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Debtor Name            J. Crew Operating Corp.
United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):                20-32186
                                                                                                                                     Check if this is an
                                                                                                                                     amended filing
Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no
book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases         (Official Form 206G).

Be complete and accurate as possible. If more space is needed, attach a separate spreadsheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the approriate category or attach separate supporting schedules, such as a fixed asset schedule
or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor's interest,
do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:        Cash and cash equivalents




 1.      Does the debtor have any cash or cash equivalents?


            No. Go to Part 2.

            Yes. Fill in the information below.



              All cash or cash equivalents owned or controlled by the debtor                                                          Current value of
                                                                                                                                      debtor's interest
 2.      Cash on hand



 3.      Checking, savings, money market, or financial brokerage accounts
         Name of institution (bank or brokerage firm)                 Type of account                       Last 4 digits of account number

   3.1       Bank of America Merrill Lynch                             Investment                            1A06                                    $0.00

   3.2       HSBC                                                      Open Account                          5201                             $1,377,797.35


   3.3       HSBC                                                      Letter of Credit                      6434                                 ($420.48)


   3.4       Wells Fargo                                               Disbursements                         3096                                    $0.00

   3.5       Wells Fargo                                               Concentration                         1816                         $17,876,964.03


   3.6       Wells Fargo                                               Disbursements                         1861                                    $0.00


   3.7       Wells Fargo                                               Wholesale                             1705                                    $0.00


   3.8       Wells Fargo                                               Investment                            0411                                    $0.00


 4.      Other cash equivalents




   Official Form 206A/B                                 Schedule A/B: Assets - Real and Personal Property                                 Page 1
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Debtor J. Crew Operating Corp.                                                                              Case Number (if known) 20-32186




 5.      Total of Part 1
                                                                                                                                         $19,254,340.90
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


Part 2:        Deposits and prepayments




 6.      Does the debtor have any deposits or prepayments?


            No. Go to Part 3.

            Yes. Fill in the information below.



                                                                                                                                      Current value of
                                                                                                                                      debtor's interest
 7.      Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit

   7.1       Security Deposit                        Bank of America Merchant Services                                                     $6,073,419.83


 8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment

   8.1       See attached AB Exhibit 8                                                                                                    $27,446,337.61




 9.      Total of Part 2
                                                                                                                                         $33,519,757.44
         Add lines 7 through 8. Copy the total to line 81.


Part 3:        Accounts Receivable




 10. Does the debtor have any accounts receivable?


            No. Go to Part 4.

            Yes. Fill in the information below.



                                                                                                                                      Current value of
                                                                                                                                      debtor's interest
 11. Accounts receivable


      11a. 90 days old or less:                                 $3,820,409.00    -                              $0.00 =                    $3,820,409.00
                                            face amount                                doubtful or uncollectible accounts
      11b. Over 90 days old:                                       $1,645,180    -                         $500,000 =                      $1,145,179.60
                                            face amount                                doubtful or uncollectible accounts




   Official Form 206A/B                                 Schedule A/B: Assets - Real and Personal Property                                 Page 2
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Debtor J. Crew Operating Corp.                                                                     Case Number (if known) 20-32186


 12. Total of Part 3
                                                                                                                                       $4,965,588.60
      Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:      Investments




 13. Does the debtor own any investments?


          No. Go to Part 5.

          Yes. Fill in the information below.



                                                                                                         Valuation method         Current value of
                                                                                                         used for current value   debtor's interest
 14. Mutual funds of publicly traded stocks not included in Part 1
      Name of fund or stock:




 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture
      Name of entity:                                             % of ownership:

   15.1   Grace Holmes, Inc.                                          100%


   15.2   H.F.D. No. 55, Inc.                                         100%

   15.3   J. Crew Inc.                                                100%


   15.4   J. Crew Virginia, Inc.                                      100%


   15.5   Madewell Inc.                                               100%

   15.6   J. Crew Global Holdings A, LLC                              100%


   15.7   J. Crew Global Holdings Bermuda LP                          99.9%


   15.8   J. Crew Cayman Limited                                      100%


 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1
      Describe:




 17. Total of Part 4
      Add lines 14 through 16. Copy the total to line 83.


Part 5:      Inventory, excluding agricultural assets




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                Page 3
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Debtor J. Crew Operating Corp.                                                                    Case Number (if known) 20-32186


18. Does the debtor own any inventory (excluding agricultual assets)?


        No. Go to Part 6.

        Yes. Fill in the information below.



          General description                   Date of the last      Net book value of                 Valuation method         Current value of
                                                physical inventory    debtor's interest                 used for current value   debtor's interest
19. Raw Materials




20. Work in progress




21. Finished goods, including goods held for resale




22. Other inventory or supplies




23. Total of Part 5
     Add lines 19 through 22. Copy the total to line 84.




24. Is any of the property listed in Part 5 perishable?


        No.

        Yes.




25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?


        No.

        Yes.       Book Value $                            Valuation Method                       Current Value $



26. Has any of the property listed in Part 5 been appraised by a professional within the last year?




  Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                                Page 4
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          No.

          Yes.



Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)




 27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?


          No. Go to Part 7.

          Yes. Fill in the information below.



           General description                                         Net book value of                   Valution method used   Current value of
                                                                       debtor's interest                   for current value      debtor's interest
 28. Crops - either planted of harvested




 29. Farm animals
      Examples: Livestock, poultry, farm-raised fish




 30. Farm machinery and equipment
      (Other than titled motor vehicles)




 31. Farm and fishing supplies, chemicals, and feed




 32. Other farming and fishing-related property not already listed in Part 6




 33. Total of Part 6
      Add lines 28 through 32. Copy the total to line 85.




 34. Is the debtor a member of an agricultural cooperative?


          No.

          Yes.




   Official Form 206A/B                                Schedule A/B: Assets - Real and Personal Property                              Page 5
                 Case 20-32186-KLP              Doc 7    Filed 06/12/20 Entered 06/12/20 20:31:04                        Desc Main
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Debtor J. Crew Operating Corp.                                                                    Case Number (if known) 20-32186



      Is any of the debtor's property stored at the cooperative?


          No.

          Yes.




 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?


          No.

          Yes.       Book Value $                       Valuation Method                          Current Value $



 36. Is a depreciation schedule available for any of the property listed in Part 6?


          No.

          Yes.




 37. Has any of the property listed in Part 6 been appraised by a professional within the last year?


          No.

          Yes.



Part 7:      Office furniture, fixtures, and equipment; and collectibles




 38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?


          No. Go to Part 8.

          Yes. Fill in the information below.



           General description                                      Net book value of                  Valuation method         Current value of
                                                                    debtor's interest                  used for current value   debtor's interest
 39. Office furniture




   39.1   Furniture & Fixtures                                     $5,149,992.77                        Net Book Value               $5,149,992.77


 40. Office fixtures




   Official Form 206A/B                            Schedule A/B: Assets - Real and Personal Property                                Page 6
                 Case 20-32186-KLP                Doc 7      Filed 06/12/20 Entered 06/12/20 20:31:04                                 Desc Main
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Debtor J. Crew Operating Corp.                                                                             Case Number (if known) 20-32186



 41. Office equipment, including all computer equipment and communication systems equipment and software



   41.1   Computer Software                                            $576,498.63                                 Net Book Value                    $576,498.63


   41.2   AA - Computer Equipment                                      $38,078,108.69                              Net Book Value                 $38,078,108.69

   41.3   AA-Computer Software                                         $51,234.32                                  Net Book Value                        $51,234.32


   41.4   AA-Telephone Equipment                                       $1,000,308.86                               Net Book Value                  $1,000,308.86


 42. Collectibles
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or
      baseball card collections; other collections, memorabilia, or collectibles




 43. Total of Part 7.
                                                                                                                                                 $44,856,143.27
      Add lines 39 through 42. Copy the total to line 86.




 44. Is a depreciation schedule available for any of the property listed in Part 7?


          No.

          Yes.




 45. Has any of the property listed in Part 7 been appraised by a professional within the last year?


          No.

          Yes.



Part 8:      Machinery, equipment, and vehicles




 46. Does the debtor own or lease any machinery, equipment, or vehicles?


          No. Go to Part 9.

          Yes. Fill in the information below.



           General description                                           Net book value of                        Valuation method           Current value of
                                                                         debtor's interest                        used for current value     debtor's interest




   Official Form 206A/B                               Schedule A/B: Assets - Real and Personal Property                                          Page 7
                 Case 20-32186-KLP               Doc 7       Filed 06/12/20 Entered 06/12/20 20:31:04                  Desc Main
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Debtor J. Crew Operating Corp.                                                                     Case Number (if known) 20-32186


 47. Automobiles, vans, trucks, motorcycles, trailers, or titled farm vehicles




 48. Watercraft, trailers, motors, and related accessories
      Examples: Boats, trailers, motors, floating homes, personal watercraft, fishing vessels




 49. Aircraft and accessories




 50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)




 51. Total of Part 8.
      Add lines 47 through 50. Copy the total to line 87.




 52. Is a depreciation schedule available for any of the property listed in Part 8?


          No.

          Yes.




 53. Has any of the property listed in Part 8 been appraised by a professional within the last year?


          No.

          Yes.



Part 9:      Real property




 54. Does the debtor own or lease any real property?


          No. Go to Part 10.

          Yes. Fill in the information below.




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                          Page 8
                  Case 20-32186-KLP              Doc 7      Filed 06/12/20 Entered 06/12/20 20:31:04                             Desc Main
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Debtor J. Crew Operating Corp.                                                                           Case Number (if known) 20-32186


 55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest


      Description and location of property                Nature and extent of    Net book value of debtor's Valuation method       Current value of
                                                          debtor's interest in    interest                   used for current value debtor's interest
                                                          property




 56. Total of Part 9.
      Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.




 57. Is a depreciation schedule available for any of the property listed in Part 9?


           No.

           Yes.




 58. Has any of the property listed in Part 9 been appraised by a professional within the last year?


           No.

           Yes.



Part 10:      Intangibles and intellectual property




 59. Does the debtor have any interests in intangibles or intellectual property?


           No. Go to Part 11.

           Yes. Fill in the information below.



            General description                                        Net book value of                        Valuation method         Current value of
                                                                       debtor's interest                        used for current value   debtor's interest
 60. Patents, copyrights, trademarks, or trade secrets




 61. Internet domain names and websites




   Official Form 206A/B                               Schedule A/B: Assets - Real and Personal Property                                      Page 9
                  Case 20-32186-KLP              Doc 7       Filed 06/12/20 Entered 06/12/20 20:31:04                  Desc Main
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Debtor J. Crew Operating Corp.                                                                     Case Number (if known) 20-32186


 62. Licenses, franchises, and royalties




 63. Customer lists, mailing lists, or other compilations




 64. Other intangibles, or intellectual property




 65. Goodwill




 66. Total of Part 10.
      Add lines 60 through 65. Copy the total to line 89.




 67. Do your lists or records include personally identifiable information of customers?


           No.

           Yes.




 68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?


           No.

           Yes.




 69. Has any of the property listed in Part 10 been appraised by a professional within the last year?


           No.

           Yes.



Part 11:     All other assets




   Official Form 206A/B                              Schedule A/B: Assets - Real and Personal Property                          Page 10
              Case 20-32186-KLP                  Doc 7        Filed 06/12/20 Entered 06/12/20 20:31:04                       Desc Main
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Debtor J. Crew Operating Corp.                                                                           Case Number (if known) 20-32186




70. Does the debtor own any other assets that have not yet been reported on this form?


         No. Go to Part 12.

         Yes. Fill in the information below.



                                                                                                                                   Current value of
                                                                                                                                   debtor's interest
71. Notes receivable
     Description (include name of obligor)

                                                                                     -                                 =

                                                                Total face amount        Doubtful or uncollectible amount
72. Tax refunds and unused net operating losses (NOLs)
     Description (for example, federal, state, local)




73. Interests in insurance policies or annuities




74. Causes of action against third parties (whether or not a lawsuit has
    been filed)




      Nature of claim
      Amount Requested
75. Other contingent and unliquidated claims or causes of action of every
    nature, including counterclaims of the debtor and rights to set off
    claims




      Nature of claim
      Amount Requested
76. Trusts, equitable or future interests in property




77. Other property of any kind not already listed
     Examples: Season tickets, country club membership

  77.1   Intercompany receivable                                                                                                     $231,657,260.84




  Official Form 206A/B                                  Schedule A/B: Assets - Real and Personal Property                              Page 11
                  Case 20-32186-KLP                Doc 7          Filed 06/12/20 Entered 06/12/20 20:31:04                                                           Desc Main
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Debtor J. Crew Operating Corp.                                                                                                   Case Number (if known) 20-32186


 78. Total of Part 11.
                                                                                                                                                                             $231,657,260.84
      Add lines 71 through 77. Copy the total to line 90.




 79. Has any of the property listed in Part 11 been appraised by a professional within the last year?


           No.

           Yes.



Part 12:     Summary

            Type of property                                                                        Current value of                                        Current value of
                                                                                                    personal property                                       real property


   80. Cash, cash equivalents, and financial assets.               Copy line 5, Part 1.                      $19,254,340.90


   81. Deposits and prepayments.          Copy line 9, Part 2.                                               $33,519,757.44


   82. Accounts receivable.        Copy line 12, Part 3.                                                      $4,965,588.60


   83. Investments. Copy line 17, Part 4.


   84. Inventory. Copy line 23, Part 5.


   85. Farming and fishing-related assets.          Copy line 33, Part 6.



   86. Office furniture, fixtures, and equipment; and collectibles.                                          $44,856,143.27
       Copy line 43, Part 7.


   87. Machinery, equipment, and vehicles.              Copy line 51, Part 8.


   88. Real Property.      Copy line 56, Part 9.



   89. Intangibles and intellectual property.           Copy line 66, Part 10.


   90. All other assets.       Copy line 78, Part 11.                                                      $231,657,260.84



   91. Total. Add lines 80 through 90 for each column.                                     91a.              $334,253,091.05              + 91b.                             $0.00



   92. Total of all property on Schedule A/B.           Lines 91a + 91b = 92..............................................................................................   $334,253,091.05




   Official Form 206A/B                                  Schedule A/B: Assets - Real and Personal Property                                                                     Page 12
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         SCHEDULES OF ASSETS AND LIABILITIES


                    EXHIBIT FOR SCHEDULE AB

                            PART 2, QUESTION 8

      PREPAYMENTS, INCLUDING PREPAYMENTS ON
   EXECUTORY CONTRACTS, LEASES, INSURANCE, TAXES,
                     AND RENT
           Case 20-32186-KLP       Doc 7    Filed 06/12/20 Entered 06/12/20 20:31:04        Desc Main
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J. Crew Operating Corp.
Case No. 20-32186
Schedule AB Question 8: Prepayments, including prepayments on executory contracts, leases, insurance, taxes,
and rent

                    Description                   Name of holder of prepayment           Current Value
    Prepaid Maintenance                       Accruent                                             $18,271.93
    Prepaid Maintenance                       Fair Haven                                           $44,498.73
    Prepaid Maintenance                       Imperva                                               $2,912.41
    Prepaid Maintenance                       Kronos Timelink                                       $9,348.98
    Prepaid Maintenance                       LaSalle                                             $261,919.41
    Prepaid Maintenance                       Open Text                                            $43,125.95
    Prepaid Maintenance                       Peak Ryzex                                           $10,055.08
    Prepaid Maintenance                       Shi                                                  $61,517.99
    Prepaid Maintenance                       Trintech                                             $24,130.34
    Prepaid Maintenance                       Adobe Systems                                       $447,575.98
    Prepaid Maintenance                       Alert                                                $15,974.89
    Prepaid Maintenance                       Aspera                                               $16,556.67
    Prepaid Maintenance                       AWS                                                 $198,900.00
    Prepaid Maintenance                       AWS/Datapipe                                        $529,423.45
    Prepaid Maintenance                       Bazaarvoice                                          $75,950.00
    Prepaid Maintenance                       CBTS                                                $160,836.00
    Prepaid Maintenance                       Ciphertechs                                         $280,868.81
    Prepaid Maintenance                       Clarip                                              $196,875.00
    Prepaid Maintenance                       Coupa Software                                      $152,425.00
    Prepaid Maintenance                       Cprime INC                                            $6,708.68
    Prepaid Maintenance                       CyberINT                                             $33,166.67
    Prepaid Maintenance                       Dell Marketing                                        $5,129.74
    Prepaid Maintenance                       Demandware/Salesforce                             $1,953,875.00
    Prepaid Maintenance                       Digicert                                             $40,468.75
    Prepaid Maintenance                       Docusign                                              $5,486.64
    Prepaid Maintenance                       Flux Consulting                                      $15,449.61
    Prepaid Maintenance                       Hitachi                                              $15,468.75
    Prepaid Maintenance                       IBM                                                  $24,345.86
    Prepaid Maintenance                       JAMF                                                  $2,100.27
    Prepaid Maintenance                       JDA                                                 $118,921.40
    Prepaid Maintenance                       Jfrog INC                                               $913.46
    Prepaid Maintenance                       Kibo (formerly Baynote)                              $18,939.71
    Prepaid Maintenance                       Lectra                                               $44,523.00
    Prepaid Maintenance                       Manhattan Associates                                $755,711.27
    Prepaid Maintenance                       Myriad                                               $24,496.88
    Prepaid Maintenance                       Onx                                                 $179,000.49
    Prepaid Maintenance                       Oracle                                              $379,550.75
    Prepaid Maintenance                       Pragmatyxs                                            $3,480.00
    Prepaid Maintenance                       PTC                                                  $26,392.21
    Prepaid Maintenance                       Qliktech Inc                                         $45,794.47
    Prepaid Maintenance                       SAS                                                  $63,166.67
    Prepaid Maintenance                       SAP                                                 $751,606.45
    Prepaid Maintenance                       ScanData Systems                                     $19,089.81
    Prepaid Maintenance                       Session M                                           $381,062.50
    Prepaid Maintenance                       Slack                                                $47,518.38
    Prepaid Maintenance                       Tableau                                               $5,806.67
    Prepaid Maintenance                       Thousand Eyes                                        $20,612.64
    Prepaid Maintenance                       TTEC                                                $184,388.89
    Prepaid Maintenance                       Turbonomic                                           $18,525.76
                                                   Page: 1 of 3
       Case 20-32186-KLP            Doc 7    Filed 06/12/20 Entered 06/12/20 20:31:04   Desc Main
                                            Document     Page 34 of 478
                 Description                        Name of holder of prepayment     Current Value
Prepaid Maintenance                            Universal                                      $316,397.04
Prepaid Maintenance                            Verifone                                       $127,549.20
Prepaid Maintenance                            Veritas                                        $350,539.96
Prepaid Maintenance                            Vertex                                         $190,663.72
Prepaid Maintenance                            Vinyl Development/Zudy Software                 $87,100.00
Prepaid Maintenance                            Vision Critical                                 $24,184.77
Prepaid Maintenance                            Winshuttle                                      $23,359.80
Prepaid Maintenance                            Zoom Video                                      $27,052.92
Prepaid Insurance                              Philadelphia Indemnity Insurance Co              $5,891.88
Prepaid Insurance                              Zurich American Insurance co                     $8,478.33
Prepaid Insurance                              Beazley Insurance Company Inc                   $16,532.58
Prepaid Insurance                              Freedom Specialty Insurance Co                   $4,912.50
Prepaid Insurance                              Multiple                                        $15,889.75
Prepaid Insurance                              Excess D&O                                     $133,057.67
Prepaid Insurance                              Berkley Insurance Co                             $3,143.08
Prepaid Insurance                              XL Specialty Insurance Co                       $26,512.50
Prepaid Insurance                              Evanston Insurance Co                            $2,365.00
Prepaid Insurance                              Zurich American Inc CO                          $92,369.37
Prepaid Insurance                              Western World Insurance Co                       $7,375.97
Prepaid Insurance                              Zurich American Insurance co                     $1,845.67
Prepaid Insurance                              Zurich American Insurance co                     $2,067.06
Prepaid Insurance                              Starr Indemity & Liability Co                      $572.92
Prepaid Insurance                              Liberty Insurance Co                             $8,287.50
Prepaid Insurance                              Great American Insurance Co                      $3,125.00
Prepaid Insurance                              National Union Fire Ins Co                       $2,083.33
Prepaid Insurance                              Indemnity Insurace Co                            $2,083.33
Prepaid Insurance                              American Guarantee                               $4,141.00
Prepaid Insurance                              ACE American Insurance Company                   $5,270.08
Prepaid Insurance                              Safety National Casualty Corp                   $23,145.58
Prepaid Insurance                              Safety National Casualty Corp                    $1,362.67
Prepaid Insurance                              Various-Willis                               $2,395,039.00
Prepaid Insurance                              Various-Willis                               $3,353,695.00
Prepaid Insurance                              Bureau of Worker's Compensation                  $2,404.25
Prepaid Insurance                              Safety National Casualty Corp                   $38,070.83
Prepaid Other                                  Amex Credit                                      $1,917.30
Prepaid Professional Fees & Other              Weil                                         $5,510,876.40
Prepaid Professional Fees & Other              Finsbury                                       $250,000.00
Prepaid Professional Fees & Other              Omni Management                                 $50,000.00
Prepaid Professional Fees & Other              Alix                                         $2,345,645.00
Prepaid Professional Fees & Other              Lazard                                         $150,000.00
Prepaid Professional Fees & Other              Milbank                                        $800,000.00
Prepaid Professional Fees & Other              PJT                                            $150,000.00
Prepaid Professional Fees & Other              Paul Weiss                                           $1.00
Prepaid Professional Fees & Other              Akin Gump                                      $300,000.00
Prepaid Professional Fees & Other              Quinn Emanuel Urquhart                         $300,000.00
Prepaid Professional Fees & Other              Hunton Andrews Kurth                           $340,000.00
Prepaid Professional Fees & Other              Richards Layton & Finger                       $321,290.00
Prepaid Professional Fees & Other              Choate Hall & Stewart                          $942,433.00
Prepaid Fitness                                Crunch Fitness                                  $44,630.82
Prepaid Fitness                                NY HealthRaquet                                  $4,968.86
Prepaid Fitness                                Crnoevich,Alexandra                                $945.10
Prepaid Professional Fees & Other              S&P                                             $33,962.50
Prepaid Professional Fees & Other              LinkedIn                                       $200,091.63
Prepaid Professional Fees & Other              Gartner/ L2                                    $152,258.06

                                                    Page: 2 of 3
       Case 20-32186-KLP            Doc 7    Filed 06/12/20 Entered 06/12/20 20:31:04     Desc Main
                                            Document     Page 35 of 478
                 Description                        Name of holder of prepayment        Current Value
Prepaid Professional Fees & Other              Concrete Media                                     $80,011.22
Prepaid Professional Fees & Other              Concrete Media- MW                                 $33,955.37
Prepaid Professional Fees & Other              Lot Network                                        $11,666.67
Prepaid Professional Fees & Other              Social Chorus                                      $77,000.00
Prepaid Professional Fees & Other              Culture Amp                                        $21,166.67
Prepaid Professional Fees & Other              NRF                                                $20,226.00
Prepaid State and Local Taxes                  Arizona Dept of Revenue                             $4,737.50
Prepaid State and Local Taxes                  California State Board of Equalization             $24,560.00
Prepaid State and Local Taxes                  Colorado Dept of Revenue                           $10,000.00
Prepaid State and Local Taxes                  District of Columbia                                 -$500.00
Prepaid State and Local Taxes                  Illinois Dept of Revenue                          $168,195.00
Prepaid State and Local Taxes                  Kansas Dept of Revenue                              $5,000.00
Prepaid State and Local Taxes                  Maine Revenue Services                             $10,000.00
Prepaid State and Local Taxes                  New York Dept of Taxation & Finance                $27,149.27
Prepaid State and Local Taxes                  New York Dept of Taxation & Finance                 $4,713.00
Total                                                                                         $27,446,337.61




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               Case 20-32186-KLP                           Doc 7        Filed 06/12/20 Entered 06/12/20 20:31:04                                       Desc Main
Debtor Name            J. Crew Operating Corp.
                                                                       Document     Page 36 of 478
United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):                  20-32186                                                                                                              Check if this is an
                                                                                                                                                               amended filing
Official Form 206D
Schedule D - Creditors Who Have Claims Secured by Property                                                                                                                  12/15

Be as complete and accurate as possible
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
   X Yes. Fill in all of the information below.
  Part 1:         List Creditors Who Have Secured Claims
2. List in alphabetical order all creditors who have secured claims.If a creditor has more than one
                                                                                                                                       Amount of Claim            Value of collateral
   secured claim, list the creditor separately for each claim.                                                                           Do not deduct the        that supports this
                                                                                                                                         value of collateral      claim
2.1   Creditor's name                                                  Describe debtor's property that is subject to a lien
      BANK OF AMERICA, NA                                              SUBSTANTIALLY ALL OF DEBTOR’S ASSETS
                                                                                                                                           $309,093,952.11                UNKNOWN
      Creditor's mailing address
      ATTN: REA
      901 MAIN ST, 20TH FL
      DALLAS, TX 75202
                                                                       Describe the lien

                                                                        ABL Credit Facility
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 3/7/2011                                      No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
              Yes. Specify each creditor, including this               As of the petition filing date, the claim is:
              creditor, and its relative priority.
                                                                           Contingent
                                                                           Unliquidated
          See Global Notes
                                                                           Disputed




2.2   Creditor's name                                                  Describe debtor's property that is subject to a lien
      BANK OF AMERICA, NA                                              SUBSTANTIALLY ALL OF DEBTOR’S ASSETS
                                                                                                                                             $63,960,717.93               UNKNOWN
      Creditor's mailing address
      ATTN: REA
      901 MAIN ST, 20TH FL
      DALLAS, TX 75202
                                                                       Describe the lien

                                                                        Letter of Credit (ABL security)
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 3/7/2011                                      No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,           Contingent
             and its relative priority.
                                                                           Unliquidated
                                                                           Disputed
             Yes. The relative priority of creditors is specified on
             lines




 Official Form 206D                                        Schedule D: Creditors Who Have Claims Secured by Property                                  1 of 2
               Case 20-32186-KLP                         Doc 7          Filed 06/12/20 Entered 06/12/20 20:31:04                                           Desc Main
                                                                       Document     Page 37 of 478
Debtor Name            J. Crew Operating Corp.                                                                           Case number (if known): 20-32186


  Part 1:         Additional Page(s)
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the                                        Amount of Claim          Value of collateral
   previous page.                                                                                                                         Do not deduct the        that supports this
                                                                                                                                          value of collateral      claim

2.3   Creditor's name                                                  Describe debtor's property that is subject to a lien
      WILMINGTON SAVINGS FUND SOCIETY, FSB                             SUBSTANTIALLY ALL OF DEBTOR’S ASSETS
                                                                                                                                             $1,337,363,321.75             UNKNOWN
      Creditor's mailing address
      500 DELAWARE AVE
      WILMINGTON, DE 19801
                                                                       Describe the lien

                                                                        Term Loan
      Creditor's email address, if known
                                                                       Is the creditor an insider or related party?

      Date debt was incurred 3/5/2014                                      No
                                                                           Yes
      Last four digits of
      account number
                                                                       Is anyone else liable on this claim?
      Do multiple creditors have an interest in the same
      property?                                                            No
             No                                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             Yes. Have you already specified the relative              As of the petition filing date, the claim is:
             priority?
             No. Specify each creditor, including this creditor,           Contingent
             and its relative priority.
                                                                           Unliquidated
          See Global Notes
                                                                           Disputed
             Yes. The relative priority of creditors is specified on
             lines

3. Total of the dollar amounts from Part 1, Column A, including the amounts from the                                                   $1,710,417,991.79
   Additional Page, if any.




 Official Form 206D                                     Schedule D: Creditors Who Have Claims Secured by Property                                         2 of 2
                Case 20-32186-KLP               Doc 7     Filed 06/12/20 Entered 06/12/20 20:31:04                               Desc Main
Debtor Name            J. Crew Operating Corp.           Document     Page 38 of 478
United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):            20-32186                                                                                           Check if this is an
                                                                                                                                      amended filing
Official Form 206E/F
Schedule E/F - Creditors Who Have Unsecured Claims                                                                                                  12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

  Part 1:        List All Creditors with PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims?
    X No. Go to Part 2.
        Yes. Go to line 2.
2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part.     If the debtor has more than
   3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.
                                                                                                               Total claim                Priority amount

2.1    Priority creditor's name and mailing address         As of the petition filing date, the claim is:         #Name?
                                                                                                            $___________                     #Name?
                                                                                                                                       $___________
                                                                Contingent
         NONE                                                   Unliquidated
                                                                Disputed
                                                            Basis for the claim:
       Date or dates debt was incurred

                                                            Is the claim subject to offset?
       Last 4 digits of account
       number                                                    No
                                                                 Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (      )




Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                   1 of 427
                Case 20-32186-KLP              Doc 7    Filed 06/12/20 Entered 06/12/20 20:31:04 Desc Main
Debtor Name            J. Crew Operating Corp.
                                                       Document     Page 39 of 478 Case number (if known): 20-32186
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim

3.1      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $56,685.42
         1 800 GOT JUNK
         P.O. BOX 123419                                                    Contingent
         DEPT 3419
         DALLAS, TX 75312-3419
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.2      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $4,550.00
         10.11 CONCEPT STUDIO
         1760 N 143RD ST                                                    Contingent
         SEATTLE, WA 98133
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.3      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $119,604.20
         1040 MADISON INC
         770 LEXINGTON AVE                                                  Contingent
         NEW YORK, NY 10065
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.4      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $53,333.34
         1200 TENANT CORP
         260 MADISON AVE, 12TH FL                                           Contingent
         NEW YORK, NY 10016
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.5      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $120,292.36
         1237 1/2 WISCONSIN AVENUE
         P.O. BOX 822475                                                    Contingent
         PHILADELPHIA, PA 19182
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.6      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,882.10
         1448 WEBWARD AVENUE LLC
         630 WOODWARD AVE                                                   Contingent
         DETROIT, MI 48226
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.7      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $51,657.64
         1618 14TH STREET NW LLC
         1455 RESEARCH BLVD, STE 510                                        Contingent
         ROCKVILLE, MD 20850
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.8      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $69,166.50
         1716 WALNUT STREET LP
         430 PARK AVE, STE 201                                              Contingent
         NEW YORK, NY 10022
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.9      Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $63,639.98
         1919 14TH ST LLC
         1919 14TH ST NW                                                    Contingent
         WASHINGTON, DC 20009
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.10     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $969.01
         20 EAST COPIER INC
         20 EAST 13TH ST                                                    Contingent
         NEW YORK, NY 10003
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.11     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $113,601.70
         23 COBB ISLAND DRIVE LLC
         1700 EAST PUTNAM AVE, STE 406                                      Contingent
         OLD GREENWICH, CT 06870
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.12     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $98,538.30
         234 W LLC
         272 KEAP ST 1                                                      Contingent
         BROOKLYN, NY 11211
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.13     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $11,488.26
         24 SEVEN TALENT CALIFORNIA LLC
         P.O. BOX 71305                                                     Contingent
         PHILADELPHIA, PA 19176-1305
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.14     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $86,736.12
         264 KING STREET LLC
         P.O. BOX 11644                                                     Contingent
         NEWARK, NJ 07101-4644
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.15     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $18,000.00
         3 TREE SOLUTIONS PVT LTD
         75 KM RAIWIND RD                                                   Contingent
         LAHORE- PUNJAB, 54600
         PAKISTAN
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.16     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $281,008.32
         30 EAST 85TH STREET COMPANY LLC
         MANHATTAN SKYLINE MANAGEMENT CORP                                  Contingent
         ATTN: THOMAS ESCHMANN
         NEW YORK, NY 10019
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.17     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $56,430.82
         3700 MCKINNEY LTD
         2975 REGENT BLVD                                                   Contingent
         IRVING, TX 75063
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.18     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $91,172.63
         4645 FASHION VALLEY MALL
         FILE 53271                                                         Contingent
         LOS ANGELES, CA 90074-3271
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.19     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $286,038.15
         4676 WESTCHESTER MALL LLC
         P.O. BOX 643095                                                    Contingent
         PITTSBURGH, PA 15264-3095
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.20     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $264,235.11
         4692 SPG CENTER LLC
         FILE NO 57331                                                      Contingent
         LOS ANGELES, CA 90074-7331
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.21     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $72,233.60
         4693 SHOPS AT ST JOHNS LLC
         P.O. BOX 404796                                                    Contingent
         ATLANTA, GA 30384-4796
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.22     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $143,551.97
         49 EAST 79TH STREET CORP
         JAMES GOODWIN, PRESIDENT                                           Contingent
         39 EAST 79TH ST
         NEW YORK, NY 10021
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.23     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $34,551.60
         4919 MAYFLOWER CAPE COD LLC
         14174 COLLECTIONS CENTER DR                                        Contingent
         CHICAGO, IL 60693
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.24     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $56,464.76
         50 HUDSON LLC
         14 MURRAY ST, STE 281                                              Contingent
         NEW YORK, NY 10007
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.25     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $62,214.74
         55 WATER LLC
         55 WATER ST                                                        Contingent
         BROOKLYN, NY 11201
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.26     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $138,423.92
         730 CORP
         ATTN: LYLE STERN                                                   Contingent
         1665 WASHINGTON AVE, PENTHOUSE
         MIAMI BEACH, FL 33139
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.27     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $33,280.80
         7607 WOODLAND HILLS MALL LLC
         7693 COLLECTION CENTER DR                                          Contingent
         CHICAGO, IL 60693
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.28     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:              $233,483.54
         900 NORTH MICHIGAN LLC
         1680 PAYSPHERE CIR                                                 Contingent
         CHICAGO, IL 60674
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.29     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:              $261,245.30
         932 N RUSH LLC
         710 W OAKDALE AVE 1A                                                 Contingent
         CHICAGO, IL 60657
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   REAL ESTATE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.30     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $433.63
         A B C PACKAGING MACHINE CORP
         811 LIVE OAK ST                                                      Contingent
         TARPON SPRINGS, FL 34689-4199
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.31     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $3,375.00
         A PEAGREEN COMPANY LIMITED
         10 SAINT CLEMENT ST                                                  Contingent
         WINCHESTER HAMPSHIRE S0239H, SO23 9HH
         UNITED KINGDOM
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.32     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               $28,666.15
         A V THOMAS LEATHER AND ALLIED
         SDF PHASE III BLOCK 1,2,3 & 4                                        Contingent
         SEZ MEPZ TAMBARAM CHENNAI, 600045
         INDIA
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.33     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $6,190.08
         A- AMERICAN ELECTRIC INC
         25 SHEEHAN RD                                                      Contingent
         FLETCHER, NC 28732
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.34     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $518,950.10
         A/R RETAIL LLC
         P.O. BOX 200952                                                    Contingent
         PITTSBURGH, PA 15251-0952
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.35     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $29,678.00
         ABC CARPET CO INC
         888 BROADWAY                                                       Contingent
         NEW YORK, NY 10003
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.36     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,829.00
         ABINGTON TOWNSHIP TAX COLLECTOR
         1176 OLD YORK RD                                                   Contingent
         ABINGTON, PA 19001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.37     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $51,388.07
         ABM BUILDING SERVICES LLC
         P.O. BOX 419860                                                    Contingent
         BOSTON, MA 02241-9860
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.38     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $11,848.91
         ABM INDUSTRY GROUPS INC
         P.O. BOX 419860                                                    Contingent
         BOSTON, MA 02241-9860
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.39     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $41,715.70
         ABQ UPTOWN LLC
         7065 SOLUTION CENTER                                               Contingent
         CHICAGO, IL 60677-7000
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.40     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $5,850.13
         ABRAHAM MOON & SONS LTD
         NETHERFIELD MILLS                                                  Contingent
         GUISELEY LEEDS, LS20 9PA
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.41     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $44,235.60
         ACADIA REALTY LTD PARTNERSHIP
         P.O. BOX 415980                                                    Contingent
         PROPERTY 0238
         BOSTON, MA 02241-5980
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.42     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $27,407.89
         ACCRUENT
         P.O. BOX 123636                                                    Contingent
         DALLAS, TX 75312-3636
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.43     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $79,123.15
         ACCUTECH PACKAGING INC
         P.O. BOX 473                                                       Contingent
         ROCKLAND, MA 02370-0473
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.44     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $131.51
         ACE HARDWARE
         2200 KENSINGTON CT                                                 Contingent
         OAK BROOK, IL 60523-2100
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.45     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $24,339.83
         ACL SERVICES LTD
         P.O. BOX 55950                                                     Contingent
         BOSTON, MA 02205-5950
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.46     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,750.00
         ADAM PAUL GONON
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.47     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $1,325,162.08
         ADDMERIT INTERNATIONAL LIMITED
         489-491 CASTLE PEAK RD KOWLOON                                     Contingent
         HONG KONG,
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.48     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $75,442.45
         ADECCO EMPLOYMENT SERVICES
         P.O. BOX 7777-W501845                                              Contingent
         PHILADELPHIA, PA 19175
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.49     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $150.00
         ADELE'S KIDS MODEL MANAGEMENT
         33 RUPERT AVE                                                      Contingent
         STATEN ISLAND, NY 10314
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.50     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $628,510.43
         ADIDAS SALES INC
         DEPT CH 19361                                                      Contingent
         PALATINE, IL 60055-9405
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.51     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $625.00
         ADITY DESIGNS PVT LTD
         71 SEA VIEW TERRACE                                                Contingent
         MUMBAI, 400005
         INDIA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.52     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,049.60
         ADMIRAL COURIER SERVICES INC
         3 WEST 30TH ST, 3RD FL, STE 4                                      Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.53     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $604,667.26
         ADOBE SYSTEMS INC
         29322 NETWORK PL                                                   Contingent
         CHICAGO, IL 60673-1293
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.54     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $186.80
         ADRISTE (HONG KONG) LTD
         519 EIGHT AVE, 21ST FL                                             Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.55     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $7,054.97
         AEONIAN PARTNERS LP
         P.O. BOX 640                                                       Contingent
         SAN RAMON, CA 94583
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.56     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,029.00
         AER DESIGNS LLC
         4005 WHIPPLE RD                                                    Contingent
         UNION CITY, CA 94587
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.57     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $5,925.00
         AGILITY RECOVERY USA INC
         2101 REXFORD RD, STE 350E                                          Contingent
         CHARLOTTE, NC 28211-3493
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.58     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $106,153.12
         AGILONE INC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.59     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $34,764.73
         AHC WASHTENAW LLC
         P.O. BOX 932716                                                    Contingent
         CLEVELAND, OH 44193
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.60     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  Unknown
         AHMED KAMAL
         C/O FRANK LLP                                                   X Contingent
         ATTN: MARVIN L FRANK
         370 LEXINGTON AVE
                                                                         X Unliquidated
         NEW YORK, NY 10017                                              X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION

         1/9/2015
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.61     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $45.82
         AIR PARK INTERNATIONAL LTD
         NO 97 FU KONG ST                                                   Contingent
         SHIH LIN ZONE
         TAIPEI,
                                                                            Unliquidated
         TAIWAN                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.62     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $7,500.00
         AIRE LLC
         225 RECTOR PL 16D                                                  Contingent
         NEW YORK, NY 10280
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.63     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $475,103.35
         AK SOURCING LIMITED
         64 HOI YUEN RD                                                     Contingent
         KWUN TONG, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.64     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $267,408.87
         AKAMAI TECHNOLOGIES INC
         P.O. BOX 26590                                                     Contingent
         NEW YORK, NY 10087-6590
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.65     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $65,067.65
         ALBINA MANAGEMENT COMPANY
         755 LINDA VISTA AVE                                                Contingent
         PASADENA, CA 91103
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.66     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,500.00
         ALBION THORNE LLC
         86 KENMARE ST 12                                                   Contingent
         NEW YORK, NY 10012
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.67     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $14,112.00
         ALDEN SHOE COMPANY INC
         1 TAUNTON ST                                                       Contingent
         MIDDLETON, MA 02346
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.68     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,512.50
         ALEXANDER ADAMOV
         560 WEST 43RD ST, APT 28A                                          Contingent
         NEW YORK, NY 10036
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.69     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $4,831.50
         ALFA-FI MANIFATTURA SRL
         VIA DELLA QUERCE 23                                                Contingent
         CAPALLE, FI 50010
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.70     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,759.00
         ALICE + WHITTLES
         50 WELLINGTON ST EAST, UNIT 400                                    Contingent
         TORONTO, ON M5E 1C8
         CANADA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.71     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $5,222.35
         ALL THAT SHE WANTS LLC
         194 ELIZABETH ST, 2ND FL                                           Contingent
         NEW YORK, NY 10012
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.72     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $766.80
         ALLIED SECURITY SYSTEMS INC
         20642 TIMBERLAKE RD                                                Contingent
         LYNCHBURG, VA 24502-5522
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.73     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $358,338.16
         ALLURE SOURCING LTD
         ROAD 48 GULSHAN 2                                                  Contingent
         DHAKA, 1212
         BANGLADESH
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.74     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,125.42
         ALPHA INDUSTRIES INC
         14200 PARK MEADOW DR, STE 110S                                     Contingent
         CHANTILLY, VA 20151
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.75     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $3,759.00
         ALSTON & BIRD LLP
         P.O. BOX 933124                                                    Contingent
         ATLANTA, GA 31193-3124
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.76     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $35,753.00
         ALTERATION CONCEPT INC
         129 PERRY ST, FL CELLAR                                            Contingent
         NEW YORK, NY 10014
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.77     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $13,500.00
         ALTERED AGENCY
         17 W 54TH ST 11C                                                   Contingent
         NEW YORK, NY 10019
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.78     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $815,169.00
         ALVAREZ & MARSAL
         600 MADISON AVE 8TH FL                                             Contingent
         NEW YORK, NY 10022
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.79     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $4,132.58
         AMAZON COM LLC
         1516 2ND AVE, 4TH FL                                               Contingent
         SEATTLE, WA 98101
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.80     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $16,838.97
         AMAZON SERVICES LLC
         410 TERRY AVE                                                      Contingent
         SEATTLE, WA 98109
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.81     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $36,861.22
         AMBASSADOR CROSSING LLC
         2415 W ALABAMA ST, STE 205                                         Contingent
         HOUSTON, TX 77098
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.82     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $8,400.00
         AMERICA PAINTING LLC
         41 ENGLE ST                                                        Contingent
         CRESSKILL, NJ 07626-2222
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.83     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $423.67
         AMERICAN ACCESSORIES INC
         11100 HOPE ST                                                      Contingent
         CYPRESS, CA 90630
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.84     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               UNKNOWN
         AMERICAN ALTERNATIVE INSURANCE CORP
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 UNKNOWN

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.85     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $52,521.05
         AMERICAN ASSETS TRUST LP
         11455 EL CAMINO REAL, STE 200                                      Contingent
         SAN DIEGO, CA 92130
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.86     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $18,936.10
         AMERICAN CHRISTMAS
         30 WARREN PL                                                       Contingent
         MOUNT VERNON, NY 10550
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.87     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $329.00
         AMERICAN DRY CLEANERS
         1928 JERICHO TURNPIKE                                              Contingent
         EAST NORTHPORT, NY 11731
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.88     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $618,830.00
         AMERICAN EXPRESS
         P.O. BOX 53888                                                     Contingent
         PHOENIX, AZ 85072-3888
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.89     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $449,962.10
         AMERICAN EXPRESS GIFT CARD
         P.O. BOX 360001                                                    Contingent
         FORT LAUDERDALE, FL 33336-0001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.90     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $6,771.35
         AMERICAN STOCK TRANSFER & TRUST
         59 MAIDEN LN PLZ LEVEL                                             Contingent
         NEW YORK, NY 10038-4502
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.91     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $3,625.00
         AMERICAS' SAP USERS' GROUP
         P.O. BOX 4248                                                      Contingent
         HOUSTON, TX 77210-4248
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.92     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $40,330.35
         AMERISHOP SUBURBAN L.P.
         P.O. BOX 62045                                                     Contingent
         NEWARK, NJ 07101
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.93     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $177,985.00
         ANALYSIS GROUP INC
         111 HUNTINGTON AVE, 14TH FL                                        Contingent
         BOSTON, MA 02199
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.94     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,201.88
         ANCHAL PROJECT
         2500 MONTGOMERY ST 10                                              Contingent
         LOUISVILLE, KY 40212
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.95     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $168,082.32
         AND AGENCY LLC
         100 W RANDOLPH ST                                                  Contingent
         CHICAGO, IL 60001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.96     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $50,000.00
         ANDERSEN TAX LLC
         BOX 200988                                                         Contingent
         PITTSBURGH, PA 15251-0988
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.97     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $4,323.50
         ANITAS TEXTILES LTD
         8 KWAI ON RD                                                       Contingent
         KWAI CHUNG, NT
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.98     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $180,667.58
         ANNJOY IMPORTS LLC
         6333 EAST CHUPAROSA DR                                             Contingent
         SCOTTSDALE, AZ 85266
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.99     Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,500.00
         ANONA STUDIO LLC
         P.O. BOX 137                                                       Contingent
         ERWINNA, PA 18920
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.100    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $659.00
         ANTONIO DEMASI
         39 MORSE ST                                                        Contingent
         NATICK, MA 01760
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.101    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $23,390.06
         AP EDGEHILL VILLAGE LLC
         P.O. BOX 530052                                                    Contingent
         DEPT 1031
         ATLANTA, GA 30353-0052
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.102    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $112,304.00
         AP NEWBURY STREET REIT LLC
         P.O. BOX 412314                                                    Contingent
         BOSTON, MA 02241-2314
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.103    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $5,731.00
         APIECE APART LLC
         164 WEST 25TH ST, 5TH FL                                           Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.104    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $3,360.00
         APM TERMINALS ELIZABETH
         5080 MCLESTER ST                                                   Contingent
         ELIZABETH, NJ 07201
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.105    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $770.63
         APOLIS HOLDINGS LLC
         826 E THIRD ST                                                     Contingent
         LOS ANGELES, CA 90013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.106    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         APPAREL GROUP AMERICA
         250 BELMONT AVE                                                    Contingent
         HALEDON, NJ 07508
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.107    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,253.68
         APPLIED INDUSTRIAL
         P.O. BOX 6339                                                      Contingent
         CLEVELAND, OH 44101-1339
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.108    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,670.00
         APPLY STUDIO
         156 N 4TH ST, APT 6                                                Contingent
         BROOKLYN, NY 11211
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.109    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $45,932.00
         APPRISS RETAIL
         P.O. BOX 639754                                                    Contingent
         CINCINATTI, OH 45263
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.110    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,736.00
         APTOS INC
         P.O. BOX 417411                                                    Contingent
         BOSTON, MA 02241-7411
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.111    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $7,093,769.16
         AQUARELLE CLOTHING LIMITED
         BOUNDARY RD                                                        Contingent
         QUATRE BORNES,
         MAURITIUS
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.112    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,197.34
         ARAKS INC
         137 GRAND ST, 5TH FL                                               Contingent
         NEW YORK, NY 10013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.113    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $25,833.34
         ARARAT SPRINGS INC
         84C MAIN ST                                                        Contingent
         SOUTHAMPTON, NY 11968
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.114    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $49.94
         ARC3 GASES
         P.O. BOX 26269                                                     Contingent
         RICHMOND, VA 23260-6269
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.115    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $22,479.00
         ARCHE ADVISORS
         1659 W CHATEAU CIR                                                 Contingent
         ST GEORGE, UT 84770
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.116    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $76,786.70
         ARDEN FAIR ASSOCIATES LP
         P.O. BOX 849473                                                    Contingent
         LOS ANGELES, CA 90084-9473
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.117    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $4,225.00
         ARIAN CAMILLERI PHOTOGRAPHY INC
         449 TROUTMAN ST, APT 3-1                                           Contingent
         BROOKLYN, NY 11237
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.118    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,803.17
         ARIANA BOHLING LLC
         262 TAAFFE PL 312                                                  Contingent
         BROOKLYN, NY 11205
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.119    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $167,029.45
         ARSENAL COMMUNICATIONS INC
         275 W 39TH ST, 3RD FL                                              Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.120    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $3,960.00
         ART & STYLE NYC LLC
         48 W 21ST ST, 12TH FL                                              Contingent
         NEW YORK, NY 10010
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.121    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $54,621.84
         ART DEPT
         71 WEST 23RD ST, STE 302                                           Contingent
         NEW YORK, NY 10010
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.122    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $6,200.00
         ARTEMIS DESIGN CO LLC
         28 LOUDERS LN                                                      Contingent
         JAMAICA PLAIN, MA 02130
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.123    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,626.47
         ARTS AND LETTERS
         130 WEST 37TH ST, 3RD FL                                           Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.124    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $10,275.00
         ARTSONG STUDIO INC
         264 W 40TH ST 402                                                  Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.125    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $65,051.98
         ARUNDEL MILLS LTD PARTNERSHIP
         P.O. BOX 406130                                                    Contingent
         ATLANTA, GA 30384-6130
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.126    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $1,198,385.67
         ARVIND LIMITED
         ELECTROMIC CITY PHASE 1                                            Contingent
         BANGALORE, 10 560100
         INDIA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.127    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,150.00
         ASHEVILLE AREA OF CHAMBER OF
         POBOX 1010                                                         Contingent
         ASHEVILLE, NC 28802
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.128    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $36,876.55
         ASHEVILLE RETAIL ASSOCIATES LLC
         NEW ENGLAND DEVELOPMENT                                            Contingent
         ATTN: KELLY HART
         BOSTON, MA 02116
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.129    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:               $76,258.67
         ASHLEE MARGOLIS INC
         9294 CIVIC CENTER DR                                                Contingent
         BEVERLY HILLS, CA 90210
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.130    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $500.00
         ASHLEY DINGESS
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.131    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $500.00
         ASPERA TECHNOLOGIES INC
         119 BRAINTREE ST, STE 602                                           Contingent
         BOSTON, MA 02134
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.132    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $749.00
         ASSAB (XIAMEN) INDUSTRIAL CO LTD
         NO 448 HENG TIAN RD                                                 Contingent
         JIMEL DISTRICT XIAMEN CITY, 150
         CHINA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.133    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $10,481.25
         ASSET STRATEGIES GROUP LLC
         501 W SCHROCK RD, STE 201                                          Contingent
         WESTERVILLE, OH 43081
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.134    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $710,440.06
         AT&T
         7872 COLLECTION CENTER DR                                          Contingent
         CHICAGO, IL 60693
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.135    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,736.00
         ATADAN TEKSTIL SAN TIC AS
         DOSAB M KARAER CD NO 45                                            Contingent
         BURSA, 16250
         TURKEY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.136    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,690.11
         ATELIER PAULIN
         23 8TH AVE                                                         Contingent
         NEW YORK, NY 10014
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                 Amount of claim


3.137    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               $38,135.82
         ATLANTA OUTLET SHOPPES LLC
         P.O. BOX 809324                                                      Contingent
         CHICAGO, IL 60680-9324
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   REAL ESTATE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.138    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               $32,479.61
         ATLANTIC CITY ASSOCIATES 2 S1 LLC
         P.O. BOX 417344                                                      Contingent
         BOSTON, MA 02241-7344
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   REAL ESTATE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.139    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               $39,024.18
         ATLANTIC CORP OF WILMINGTON INC
         P.O. BOX 60002                                                       Contingent
         CHARLOTTE, NC 28260
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.140    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,538.50
         ATLANTIC FOLK
         THE CHURCHYARD LONG SUTTON                                           Contingent
         SPALDING LINCS, PE12 JH
         UNITED KINGDOM
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.141    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $85,129.54
         ATLANTICOM SYSTEMS
         2140 HIGHWAY 88 EAST                                               Contingent
         BRICK, NJ 08724
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.142    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $19,582.34
         ATLAS COPCO COMPRESSORS LLC
         DEPT CH 19511                                                      Contingent
         PALATINE, IL 60055-9511
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.143    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,500.00
         ATTN: INC
         5700 WILSHIRE BLVD, STE 375                                        Contingent
         LOS ANGELES, CA 90036
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.144    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $631.00
         AUSTIN BULLDOG RESCUE
         1801 EAST 51ST ST, STE 365 110                                     Contingent
         AUSTIN, TX 78723
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.145    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,189.58
         AUTOMATED MAILING SYSTEMS INC
         P.O. BOX 12246                                                     Contingent
         ROANOKE, VA 24024
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.146    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $151,585.75
         AUTOMATIC DATA PROCESSING
         P.O. BOX 7247-0372                                                 Contingent
         PHILADELPHIA, PA 19170
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.147    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $446,164.96
         AVENTURA MALL VENTURE
         P.O. BOX 865006                                                    Contingent
         ORLANDO, FL 32886-5006
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.148    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $84,975.00
         AXIOM GLOBAL INC
         P.O. BOX 8439                                                      Contingent
         PASADENA, CA 91109-8439
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.149    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $113,566.00
         AXITY LLC
         311 W 43RD ST, 12TH FL                                             Contingent
         NEW YORK, NY 10036
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.150    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $80,000.00
         AYIMA INCORPORATED
         270 LAFAYETTE ST, STE 1406                                         Contingent
         NEW YORK, NY 10012
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.151    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,701.60
         AZTEC RENTAL CENTER
         2022 LAKESIDE DR                                                   Contingent
         LYNCHBURG, VA 24501
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.152    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $508.20
         AZUMA CREATIVE
         550 GRAND ST 3S                                                    Contingent
         BROOKLYN, NY 11211
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.153    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $150.50
         B&ME NYC
         47 CLAY ST                                                         Contingent
         FAIR HAVEN, NJ 07704
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.154    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $763.16
         B&W TRAILER RENTAL
         609 WOODY DR                                                       Contingent
         GRAHAM, NC 27253
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.155    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,013.02
         BABIATORS LLC
         675 N HIGHLAND AVE 700                                             Contingent
         ATLANTA, GA 30306
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.156    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,900.00
         BACKGRID LONDON LTD
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.157    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $9,296.27
         BAESMAN GROUP INC
         4477 REYNOLDS DR                                                   Contingent
         HILLIARD, OH 43026
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.158    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $420.37
         BAIRD MCNUTT
         104 WEST 40TH ST, 15TH FL                                          Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.159    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $771.19
         BAKER & MCKENZIE
         100 NEW BRIDGE ST                                                  Contingent
         LONDON, EC4V6JA
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.160    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $384.93
         BALLISTIC BRANDING
         P.O. BOX 890367                                                    Contingent
         OKLAHOMA CITY, OK 73189
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.161    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,083.40
         BANJANAN INC
         124 MONTICELLO AVE                                                 Contingent
         JERSEY CITY, NJ 07304
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.162    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $1,175,597.53
         BANK OF AMERICA EPAY
         E-PAYABLES                                                         Contingent
         100 N TRYON ST
         CHARLOTTE, NC 28255
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.163    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $5,943.00
         BARBOUR INC
         55 MEADOWBROOK DR                                                  Contingent
         MILFORD, NH 03055
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.164    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $6,923.07
         BARTLETT DAIRY INC
         90-04 161ST ST, STE 609                                            Contingent
         JAMAICA, NY 11432
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.165    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,480.00
         BATHER
         365 DUNDAS ST EAST, STE 217                                        Contingent
         TORONTO, ON M5A 4R9
         CANADA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.166    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,037.79
         BAY STATE ELEVATOR CO
         P.O. BOX 5                                                         Contingent
         DALTON, MA 01227-0005
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.167    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $43,733.94
         BAYER RETAIL COMPANY IV LLC
         P.O. BOX 2172                                                      Contingent
         MEMPHIS, TN 38101-7500
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.168    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $113,925.00
         BAZAARVOICE INC
         3900 N CAPITAL OF TX HWY 300                                       Contingent
         AUSTIN, TX 78746
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.169    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $748,439.16
         BBASE IDG LIMITED
         56-60 WONG CHUK HANG RD                                            Contingent
         WONG CHUK HANG,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.170    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $26,600.00
         BEE LINE TRANSPORT INC
         155 AIRPARK DR                                                     Contingent
         LYNCHBURG, VA 24502
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.171    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $4,488.78
         BEET WORLD LLC
         137 11TH AVE                                                       Contingent
         KIRKLAND, WA 98033
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.172    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $138,805.92
         BELLEVUE SQUARE ASSOCIATION INC
         575 BELLEVUE SQ ATTN A/R DEPT                                      Contingent
         BELLEVUE, WA 98004
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.173    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $11,749.48
         BEMBIEN LLC
         35 NOBLE ST                                                        Contingent
         BROOKLYN, NY 11222
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.174    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,545.24
         BENH PHAM
         10610 LANSHIRE DR, UNIT A                                          Contingent
         AUSTIN, TX 78758
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.175    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,713.95
         BENSIMON MODELS AND TALENT LLC
         11665 AVENA PL 205                                                 Contingent
         SAN DIEGO, CA 92128
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.176    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $19,000.00
         BERNSTEIN & ANDRIULLI INC
         190 BOWERY                                                         Contingent
         NEW YORK, NY 10012
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.177    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $4,500.00
         BESTIE DRESSED
         2001 OAK DR                                                        Contingent
         MUSCLE SHOALS, AL 35661
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.178    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $6,390.00
         BESWELL CO LTD
         713 SUSEO HYUNDAI VENTURE VILLE                                    Contingent
         GANGNAM-GU SEOUL, 06349
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.179    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,825.00
         BETTY NYC LLC
         181 MOTT ST, GROUND FL                                             Contingent
         NEW YORK, NY 10012
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.180    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $9,096.09
         BEUMER CORP
         800 APGAR DR                                                       Contingent
         SOMERSET, NJ 08873
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.181    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,412.54
         BEYOND YOGA
         11248 PLAYA CT, STE A                                              Contingent
         CULVER CITY, CA 90230
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.182    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $540.00
         BICOASTAL MGMT
         446 E 86TH ST, STE 4F                                              Contingent
         NEW YORK, NY 10028
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.183    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $39,755.12
         BILTMORE SHOPPING CENTER
         P.O. BOX 31001-2178                                                Contingent
         PASADENA, CA 91110-2178
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.184    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $10,600.00
         BIRDS OF OHIO INC
         249 EMERSON AVE, STE C                                             Contingent
         ORANGE, CA 92865
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.185    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $268,577.26
         BJW REALTY LLC
         680 FIFTH AVE, 23RD FL                                             Contingent
         NEW YORK, NY 10019
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.186    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $15,041.61
         BLACKBAUD INC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.187    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $9,066.49
         BLACKHAWK NETWORK INC
         P.O. BOX 932859                                                    Contingent
         ATLANTA, GA 31193
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.188    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,860.00
         BLC LEATHER TECHNOLOGY CENTRE
         KINGS PARK RD                                                      Contingent
         NORTHAMPTON, NN3 6JD
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.189    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $447.96
         BLOSSOM INDUSTRIES INC
         262 WEST 38TH ST, STE 603                                          Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.190    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $12,604.30
         BLUE DOT SAFES CORP
         2707 N GAREY AVE                                                   Contingent
         POMONA, CA 91767
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.191    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $445.76
         BLUE MOON WATER
         2002 RIVERSIDE DR 42-F                                             Contingent
         ASHEVILLE, NC 28804
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.192    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $7,715.00
         BLUE PRINT DENIM WASHHOUSE INC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.193    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $138,271.25
         BLUECORE INC
         P.O. BOX 392166                                                    Contingent
         PITTSBURGH, PA 15251-9166
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.194    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,200.20
         BMG RIGHTS MANAGEMENT US LLC
         1 PARK AVE, 18TH FL                                                Contingent
         NEW YORK, NY 10016
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.195    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $552.39
         BMG SERVICES
         545 WINFIELD BLVD SE                                               Contingent
         CONCORD, NC 28025
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.196    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,044.48
         BMS CATASTROPHE INC
         5718 AIRPORT FREEWAY                                               Contingent
         HALTOM CITY, TX 76117-6005
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.197    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $3,067,081.40
         BNY MELLON
         P.O. BOX 223457                                                    Contingent
         PITTSBURGH, PA 15251-2457
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.198    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $604.00
         BOARD OF EDUCATION CITY SCHOOL
         131 WEST BROAD ST                                                  Contingent
         ROCHESTER, NY 14614
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.199    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $41.10
         BOCCE'S BAKERY LLC
         4014 1ST AVE                                                       Contingent
         BROOKLYN, NY 11232
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.200    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $11,087.90
         BOHRENS MOVING & STORAGE INC
         3 APPLEGATE DR SOUTH                                               Contingent
         ROBBINSVILLE, NJ 08691
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.201    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $543.74
         BOKK BOX LLC
         230 E FLORIDA AVE                                                  Contingent
         DENVER, CO 80210
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.202    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,000.00
         BORN TO RAMBLE TOURS LLC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.203    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $5,267.50
         BORTSTEIN LEGAL LLC
         1500 BROADWAY, STE 2003                                            Contingent
         NEW YORK, NY 10036
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.204    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $5,266.30
         BOSTON BARRICADE COMPANY INC
         1151 19TH ST                                                       Contingent
         VERO BEACH, FL 32960
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.205    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:               $151,130.00
         BOSTON PROPERTIES LIMITED
         P.O. BOX 3557                                                       Contingent
         BOSTON, MA 02241-3557
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.206    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $18,552.33
         BOSTON PROPERTIES LP
         P.O. BOX 3557                                                       Contingent
         BOSTON, MA 02241-3557
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.207    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $683.00
         BOULDER CREST RETREAT FOUNDATION
         P.O. BOX 117                                                        Contingent
         BLUEMONT, VA 20135
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.208    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $43,244.97
         BOW INDUSTRIAL CORP
         94-5 KARAK DONG SONGPA KU                                           Contingent
         SEOUL, 138-160
         SOUTH KOREA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.209    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $93,933.50
         BOW STREET REALTY LLC
         241 US ROUTE 1                                                     Contingent
         SCARBOROUGH, ME 04074
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.210    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,065.25
         BOWMAN HOLLIS MFG INC
         P.O. BOX 19249                                                     Contingent
         CHARLOTTE, NC 28219
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.211    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $36,889.66
         BOWMAN MTP CENTER LLC
         P.O. BOX 4110                                                      Contingent
         WOBURN, MA 01888-4110
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.212    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $204,272.90
         BPP EAST UNION LLC
         P.O. BOX 27324                                                     Contingent
         SAN DIEGO, CA 92198-1324
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.213    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:               $11,700.00
         BRADLEE INTERNATIONAL LTD
         250 WEST 40TH ST, 3RD FL                                            Contingent
         NEW YORK, NY 10018
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.214    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $835.27
         BRAINCHILD & CO INC
         160 VARICK ST, 10TH FL, STE 1004                                    Contingent
         NEW YORK, NY 10013
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.215    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:               $39,249.01
         BRAINTREE PROPERTY ASSOCIATES LP
         MS MANAGEMENT ASSOCIATES INC                                        Contingent
         225 WEST WASHINGTON ST
         INDIANAPOLIS, IN 46204
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.216    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:               $46,919.88
         BRE RETAIL RESIDUAL OWNER 1 LLC
         BRIXMOR PROPERTY GROUP                                              Contingent
         ATTN: OFFICE OF GENERAL COUNSEL
         NEW YORK, NY 10017
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.217    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $19,843.62
         BRETON VILLAGE LLC
         50 LOUIS ST NW, STE 600                                            Contingent
         GRAND RAPIDS, MI 49503
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.218    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $100.00
         BRIDGEWATER TOWNSHIP
         100 COMMONS WAY                                                    Contingent
         BRIDGEWATER, NJ 08807
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.219    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,335.00
         BRIGHT HOUSE NETWORKS LLC
         P.O. BOX 7195                                                      Contingent
         PASADENA, CA 91109-7195
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.220    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $7,526.94
         BRIGHT RIVER USA LLC
         P.O. BOX 123567                                                    Contingent
         DALLAS, TX 75312-3567
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.221    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $938,925.85
         BRIGHTIME INTERNATIONAL LIMITED
         161-167 DES VOEUX RD CENTRAL                                       Contingent
         HONG KONG,
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.222    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $63,256.66
         BRILLIANT GIFTS
         44 MONTGOMERY ST, 1ST FL                                           Contingent
         SAN FRANCISCO, CA 94104
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.223    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $5,754.00
         BRIXTON LLC
         3821 OCEAN RANCH BLVD                                              Contingent
         OCEANSIDE, CA 92056
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.224    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $247.10
         BROADWAY AT YORK SQUARE
         677 STATE ST                                                       Contingent
         NEW HAVEN, CT 06511
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.225    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $5,716.23
         BRYAN DERBALLA
         73 CORNELIA ST, APT 2                                              Contingent
         BROOKLYN, NY 11221
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.226    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $4,732.81
         BRYANT ARTISTS INC
         156-158 5R LUDLOW ST                                               Contingent
         NEW YORK, NY 10002
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.227    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $7,567.50
         BTD TEKSTIL
         NO 20 DAIRE 1 KAT 1 TESVIKIYE                                      Contingent
         ISTANBUL,
         TURKEY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.228    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $265,647.70
         BULKLEY DUNTON PUBLISHING GROUP
         ONE PENN PLZ, STE 2814                                             Contingent
         NEW YORK, NY 10119
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.229    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $175.00
         BUREAU OF FIRE PREVENTION
         65 MT HOPE RD                                                       Contingent
         ROCKAWAY, NJ 07866
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.230    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $1,046.27
         BUREAU VERITAS CONSUMER PRODUCTS
         NO 168 GUANGHUA RD                                                  Contingent
         SHAHGHAI, 201108
         CHINA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.231    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:               $40,685.50
         BURT RIGID BOX INC
         58 BROWNE ST                                                        Contingent
         ONEONTA, NY 13820
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.232    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:               $98,492.28
         BUSHWOOD TAILORS
         17 RICKETSON ST                                                     Contingent
         NEW BEDFORD, MA 02744
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.233    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $28,238.58
         BV CENTERCAL LLC
         P.O. BOX 4900                                                      Contingent
         UNIT 04
         PORTLAND, OR 97208
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.234    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $95,040.00
         CAASTLE INC
         5 PENN PLZ, 4TH FL                                                 Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.235    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $144.84
         CABBAGES AND KINGS
         13 COPPER BEECH LN                                                 Contingent
         RIDGEFIELD, CT 06877
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.236    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $99.60
         CAFISSI SPA
         VIA DELLA FATTORIA 4                                               Contingent
         TAVOLA, PO 59014
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.237    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $63,589.16
         CAHILL CONSTRUCTION INC
         6331 FIESTA DR                                                     Contingent
         COLUMBUS, OH 43235
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.238    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $180.44
         CAIT COURNEYA
         4567 GAYWOOD DR                                                    Contingent
         MINNETONKA, MN 55345
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.239    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $11,762.73
         CALIFORNIA TRAVEL AND TOURISM
         P.O. BOX 2007                                                      Contingent
         SACRAMENTO, CA 95812-2007
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.240    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $202.00
         CAMDENTON R3 SCHOOL DISTRICT
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.241    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,580.39
         CAMPO BEAUTY LLC
         120 NEWPORT CENTER DR                                              Contingent
         NEWPORT BEACH, CA 92660
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.242    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $948.64
         CANEPA SPA
         22020 S FERMO DELLA BATTAGLIA                                      Contingent
         ITALY,
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.243    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $390.00
         CANINE COMPANIONS FOR
         286 MIDDLE ISLAND RD                                               Contingent
         MEDFORD, NY 11763
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.244    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $91,863.16
         CANON FINANCIAL SERVICES
         14904 COLLECTIONS CENTER DR                                        Contingent
         CHICAGO, IL 60693-0149
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.245    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $28,033.25
         CANTEEN VENDING SERVICES
         210 ADAMS BLVD                                                       Contingent
         FARMINGDALE, NY 11735
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.246    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:               $341,981.25
         CAPGEMINI AMERICA INC
         012663 COLLECTIONS CENTER DR                                         Contingent
         CHICAGO, IL 60693
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.247    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $18,068.55
         CAPITAL MOVING AND STORAGE CO INC
         97 BURMA RD                                                          Contingent
         JERSEY CITY, NJ 07305
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.248    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $558.84
         CAPTIV 8 INC
         102 WEST 38TH ST, 5TH FL                                             Contingent
         NEW YORK, NY 10018
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.249    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $41,751.13
         CARDLYTICS INC
         75 REMITTANCE DR DEPT 3247                                         Contingent
         CHICAGO, IL 60675-3247
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.250    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $45,862.21
         CAREER GROUP INC
         P.O. BOX 203654                                                    Contingent
         DALLAS, TX 75320-3654
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.251    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,998.86
         CARLIS CONNER JR
         244 WEST 10TH ST 26                                                Contingent
         NEW YORK, NY 10014
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.252    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $12,635.56
         CARLSON JPM STORE FIXTURES
         P.O. BOX 1450                                                      Contingent
         MINNEAPOLIS, MN 55485-7334
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.253    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $29,277.85
         CARLSON WAGONLIT TRAVEL INC
         P.O. BOX 860044                                                    Contingent
         MINNEAPOLIS, MN 55486-0044
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.254    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $3,168.50
         CARLTON GROUP INC
         P.O. BOX 1243                                                      Contingent
         CHARLOTTE, NC 28201
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.255    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $238,434.69
         CAROLINA CONTAINER COMPANY
         ATTN: GENERAL COUNSEL                                              Contingent
         909 PROSPECT ST
         HIGH POINT, NC 27260
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.256    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $11,938.05
         CAROLINA HANDLING
         P.O. BOX 890352                                                    Contingent
         CHARLOTTE, NC 28289-0352
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.257    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $317.79
         CAROLINA INDUSTRIAL PRODUCTS INC
         139 INDUSTRIAL DR                                                   Contingent
         LEXINGTON, SC 29072
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.258    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:               $20,400.00
         CAROLINA K
         7205 NE 4TH AVE, UNIT 102                                           Contingent
         MIAMI, FL 33138
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.259    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $5,880.00
         CAROLINA PALLET RECYCLING INC
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.260    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:               $46,913.30
         CAROLINA PREMIUM OUTLETS LLC
         P.O. BOX 822880                                                     Contingent
         PHILADELPHIA, PA 19182
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.261    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $3,024.00
         CARON CALLAHAN
         153 ESSEX ST 2B                                                    Contingent
         NEW YORK, NY 10002
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.262    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $846.18
         CARREMAN INTERNATIONAL
         234 AV GEORGES ALQUIER                                             Contingent
         LES SALVAGES CASTRES, 81100
         FRANCE
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.263    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,267.27
         CARTER MACHINERY COMPANY INC
         P.O. BOX 751053                                                    Contingent
         CHARLOTTE, NC 28275
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.264    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $2,853,593.35
         CASS INFORMATION SYSTEM INC
         13001 HOLLENBERG DR                                                Contingent
         BRIDGETON, MO 63044
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.265    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $394.49
         CAST OF STONES
         4012 SINOVA ST                                                      Contingent
         LOS ANGELES, CA 90031
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.266    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:               $110,375.40
         CAUSEWAY LLC
         P.O. BOX 54091                                                      Contingent
         NEW ORLEANS, LA 70154-4091
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.267    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $2,000.00
         CAUTIOUS CLAY MUSIC LLC
         16000 VENTURA BLVD, STE 600                                         Contingent
         ENCINO, CA 91436
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.268    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $71,042.44
         CBL & ASSOCIATES LTD PARTNERSHIP
         CBL CENTER, STE 500                                                 Contingent
         CHATTANOOGA, TN 37421
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.269    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $3,587.74
         CBL-SHOPS AT FRIENDLY LLC
         P.O. BOX 5598                                                      Contingent
         CAROL STREAM, IL 60197-5598
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.270    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $340,807.30
         CBTS LLC
         1507 SOLUTIONS CENTER                                              Contingent
         CHICAGO, IL 60677
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.271    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $1,029,914.52
         CENTEX FABRICS EXPORT UNIT
         D 217 FOCAL POINT PHASE 7                                          Contingent
         LUDHIANA, 19 141010
         INDIA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.272    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $439.00
         CENTRAL PARK CONSERVANCY
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.273    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $450.00
         CENTRAL PARKING
         81 SOUTH 9TH ST, STE 445                                           Contingent
         MINNEAPOLIS, MN 55402
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.274    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $303,237.29
         CENTURY CITY MALL LLC
         7950 COLLECTIONS CENTER DR                                         Contingent
         CHICAGO, IL 60693
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.275    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $3,002.33
         CENTURYLINK
         P.O. BOX 96028                                                     Contingent
         CHARLOTTE, NC 28296-0028
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.276    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $42,330.95
         CERIDIAN HCM INC
         P.O. BOX 772830                                                    Contingent
         CHICAGO, IL 60677-2830
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.277    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $45,731.70
         CH REALTY VII/R NOVA PROMENADE
         P.O. BOX 842629                                                    Contingent
         DALLAS, TX 75284-2629
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.278    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $333.75
         CHACO
         9341 CTLAND DR NE                                                  Contingent
         ROCKFORD, MI 49351
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.279    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $64,395.00
         CHAIN STORE MAINTENANCE INC
         P.O. BOX 2008                                                      Contingent
         ATTLEBORO, MA 02703
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.280    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $45,534.32
         CHANGZHOU ZHUOYUAN RUBBER
         QIAN HUANG INDUSTRY PARK                                           Contingent
         CHANG ZHOU, 213172
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.281    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $26,189.00
         CHARITY GLOBAL INC
         40 WORTH ST, STE 330                                               Contingent
         NEW YORK, NY 10013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.282    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,604.50
         CHARLES J WAHBA CO INC
         9 GEORGETOWN RD                                                    Contingent
         EATONTOWN, NJ 07724
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.283    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $448.21
         CHARLESTON SHOE COMPANY LLC
         1445 GREENLEAF RD, STE A                                           Contingent
         CHARLESTON, SC 29405
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.284    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $940.73
         CHARLOTTE CAUWE
         296 N 7TH ST 3B                                                    Contingent
         BROOKLYN, NY 11211
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                  Amount of claim


3.285    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:               $46,147.98
         CHARLOTTE OUTLETS LLC
         P.O. BOX 826509                                                       Contingent
         PHILADELPHIA, PA 19182-6509
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    REAL ESTATE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.286    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $4,983.75
         CHARLOTTESVILLE FASHION SQUARE LLC
         3339 PAYSPHERE CIR                                                    Contingent
         CHICAGO, IL 60674
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    REAL ESTATE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.287    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $936.56
         CHARTER COMMUNICATIONS
         P.O. BOX 94188                                                        Contingent
         PALATINE, IL 60094-4188
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.288    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $4,125.00
         CHATEAU ARCHIVES
         P.O. BOX 32                                                           Contingent
         HAMPTON FALLS, NH 03844
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                               Amount of claim


3.289    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $144.00
         CHAYBAN YASMINE TAILORS INC
         4727 TRANSIT RD                                                    Contingent
         DEPEW, NY 14043
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.290    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $760.93
         CHECKPOINT SYSTEMS INC
         P.O. BOX 742884                                                    Contingent
         ATLANTA, GA 30374-2884
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.291    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $47,639.26
         CHELSEA POCONO FINANCE LLC
         P.O. BOX 827653                                                    Contingent
         PHILADELPHIA, PA 19182-7653
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.292    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $53,594.50
         CHEMICO PROCESSING
         A-53 SECTOR 83 PHASE 11                                            Contingent
         NOIDA
         INDIA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.293    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $16,250.21
         CHERYL & CO
         P.O. BOX 13764                                                     Contingent
         NEWARK, NJ 07188-3764
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.294    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $143,127.08
         CHICAGO PREMIUM OUTLETS
         P.O. BOX 827894                                                    Contingent
         PHILADELPHIA, PA 19182-7894
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.295    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $30,341.13
         CHILDREN CHIC INC
         12 EAST 88TH ST, APT 5B                                            Contingent
         NEW YORK, NY 10128
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.296    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $6,384.00
         CHIMALA DESIGN INC
         224 WEST 35TH ST, STE 609                                          Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.297    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $848,373.46
         CHIN HO KNITTING FACTORY LTD
         404 KWUN TONG RD KWUN TONG                                         Contingent
         GUANGDONG, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.298    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $76,678.40
         CHINA FAIR CORP LTD
         742-748 CHEUNG SHA WAN RD                                          Contingent
         LAI CHI KOK, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.299    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $6,361,728.78
         CHINA TING GARMENT MFG (GROUP)
         55 KING YIP ST                                                     Contingent
         KWUN TONG, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.300    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $2,619,003.72
         CHINAMINE TRADING LIMITED
         2801- 2811 NO 1 HUNG TO RD                                         Contingent
         KWUN TONG, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.301    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $38,933.16
         CHINO DUNHILL INVESTORS LLC
         P.O. BOX 51447                                                     Contingent
         AMARILLO, TX 79159
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.302    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $47,876,194.16
         CHINOS HOLDINGS INC.
         225 LIBERTY ST                                                     Contingent
         NEW YORK, NY 10281
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 INTERCOMPANY PAYABLE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.303    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $7,828.11
         CHRIS BOALS ARTISTS INC
         307 7TH AVE, STE 2207                                              Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.304    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $1,400.00
         CHRISTINA NASSO
         2 WAKEFIELD RAOD                                                   Contingent
         STATEN ISLAND, NY 10312
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.305    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,000.00
         CHRISTOPHER STEVEN GONZALES
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.306    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,448.94
         CINTAS CORP 2
         P.O. BOX 633842                                                    Contingent
         CINCINNATI, OH 45263-3842
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.307    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $57,549.38
         CINTAS CORP 223
         P.O. BOX 729                                                       Contingent
         FLETCHER, NC 28732
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.308    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $61,252.90
         CIPHERTECHS INC
         90 BROAD ST, 5TH FL                                                Contingent
         NEW YORK, NY 10004
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.309    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,333.25
         CIRCA 13 LLC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.310    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $1,524,445.76
         CIRCA OF AMERICA LLC
         1040 CROWN POINTE PKWY, STE 250                                    Contingent
         ATLANTA, GA 30338
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.311    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $3,789.20
         CIRCLE VISUAL INC
         340 13TH ST                                                        Contingent
         CARLSTADT, NJ 07072
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.312    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $21,780.45
         CISION US INC
         P.O. BOX 417215                                                    Contingent
         BOSTON, MA 02241-7215
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.313    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $440.00
         CITY OF AUSTIN
         P.O. BOX 684279                                                    Contingent
         AUSTIN, TX 78768-4279
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.314    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $50.00
         CITY OF BURLINGAME
         501 PRIMROSE RD                                                    Contingent
         BURLINGAME, CA 94010
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.315    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $690.19
         CITY OF CARLSBAD
         1635 FARADAY AVE                                                   Contingent
         CARLSBAD, CA 92008
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.316    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $53.87
         CITY OF CHICAGO
         121 N LASALLE, RM 107A                                             Contingent
         CHICAGO, IL 60602-1288
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.317    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $123,847.30
         CITY OF LYNCHBURG
         CITY HALL                                                          Contingent
         LYNCHBURG, VA 24504
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.318    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $30.00
         CITY OF NEW YORK ENVIRONMENTAL
         66 JOHN ST, 10TH FL                                                Contingent
         NEW YORK, NY 10038
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.319    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $35.00
         CITY OF OSAGE BEACH
         1000 CITY PARKWAY                                                  Contingent
         OSAGE BEACH, MO 65065
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.320    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $162.00
         CITY OF PALO ALTO
         P.O. BOX 10250                                                     Contingent
         PALO ALTO, CA 94303
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.321    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $618.25
         CITY OF SAN JOSE
         801 N FIRST ST ROOM 217                                            Contingent
         SAN JOSE, CA 95110
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.322    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $160.45
         CITY OF SANTA MONICA
         1717 4TH ST, STE 250                                               Contingent
         SANTA MONICA, CA 90401
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.323    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,283.38
         CITY OF TAMPA
         P.O. BOX 2200                                                      Contingent
         TAMPA, FL 33602
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.324    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $261.86
         CLAIRE SHADOMY
         47 MONROE PL 2                                                     Contingent
         ASHEVILLE, NC 28801
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.325    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $58,324.00
         CLARION RETAIL REIT I LLC
         2705 BEE CAVE RD, STE 230                                          Contingent
         AUSTIN, TX 78746
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.326    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $340,000.00
         CLARIP INC
         1521 CONCORD PIKE STE. 301                                         Contingent
         WILMINGTON, DE 19803
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.327    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $63,128.22
         CLARKSBURG PREMIUM OUTLETS
         P.O. BOX 772986                                                    Contingent
         CHICAGO, IL 60677-0286
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.328    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $177,551.00
         CLEARBRIDGE COMPENSATION GROUP
         515 MADISON AVE, 32ND FL                                           Contingent
         NEW YORK, NY 10022
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.329    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $80.00
         CLEARVIEW SECURITIES INC
         P.O. BOX 3444                                                      Contingent
         KNOXVILLE, TN 37927
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.330    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $220.00
         CLEMENTINE VINTAGE CLOTHING
         7 MAIN ST                                                          Contingent
         ANDES, NY 13731
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.331    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $20,000.00
         CLIQUE MEDIA INC
         DEPT LA 24732                                                      Contingent
         PASADENA, CA 91185-4732
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.332    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $29,010.00
         CLM US INC
         190 BOWERY                                                         Contingent
         NEW YORK, NY 10012
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.333    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $109,961.00
         CLPF CC PAVILION LP
         GPO P.O. BOX 30315                                                 Contingent
         NEW YORK, NY 10087-0315
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.334    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $4,346.00
         COACH HOUSE INTERIOR PLANT
         2944 N AVERS AVE 2                                                 Contingent
         CHICAGO, IL 60618
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.335    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $3,406.22
         COCOBELLE LLC
         1150 SUMMER ST, 1ST FL                                             Contingent
         STAMFORD, CT 06905
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.336    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $22,800.33
         COCONUT POINT TOWN CENTER LLC
         P.O. BOX 643902                                                    Contingent
         PITTSBURGH, PA 15264-3902
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.337    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $840.00
         COHEN HOCHMAN & ALLEN
         75 MAIDEN LN, STE 802                                              Contingent
         NEW YORK, NY 10038
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.338    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $420.00
         COLLINS BAND BOOSTERS
         P.O. BOX 262                                                       Contingent
         SIMPSONVILLE, KY 40067
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.339    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $472.51
         COLONY CO
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.340    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $38,855.36
         COLONY ELECTRIC CO INC
         178 INDUSTRIAL LOOP                                                Contingent
         STATEN ISLAND, NY 10309
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.341    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $128.27
         COLONY HARDWARE CORP
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.342    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $18,376.75
         COLOR SOLUTIONS INTERNATIONAL
         9844-A SOUTHERN PINE BLVD                                          Contingent
         CHARLOTTE, NC 28273
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.343    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $1,500,897.74
         COLOR-X INC
         P.O. BOX 1964                                                      Contingent
         NEW YORK, NY 10156
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.344    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $35,272.24
         COLORADO MILLS MALL LIMITED
         P.O. BOX 403087                                                    Contingent
         ATLANTA, GA 30384-3087
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.345    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $5,276.35
         COLUMBIA OMNICORP
         48 W 37TH ST                                                       Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.346    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $253,251.51
         COLUMBUS CONSULTING
         P.O. BOX 78000                                                     Contingent
         DEPT 781713
         DETROIT, MI 48278
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.347    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $58,994.77
         COLUMBUS OUTLETS LLC
         P.O. BOX 419369                                                    Contingent
         BOSTON, MA 02241-9369
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.348    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $547.24
         COMCAST COMMUNICATIONS
         P.O. BOX 70219                                                     Contingent
         PHILADELPHIA, PA 19176
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.349    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $42,406.54
         COMMERCIAL FIRE INC
         2465 ST JOHNS BLUFF RD S                                           Contingent
         JACKSONVILLE, FL 32246
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.350    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $3,172,097.71
         COMMISSION JUNCTION LLC
         530 EAST MONTECITO ST                                              Contingent
         SANTA BARBARA, CA 93103
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.351    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $3,246.08
         COMMWORLD CENTRAL VIRGINIA
         1056 VISTA PARK DR, STE A                                          Contingent
         FOREST, VA 24551-2761
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.352    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $65,312.80
         COMPUTER SCIENCE CORP
         22475 NETWORK PL                                                   Contingent
         CHICAGO, IL 60673-1224
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.353    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $196.65
         CON LO COMMON LLC
         504 NW FEDERAL ST                                                  Contingent
         BEND, OR 97703
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.354    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $5,700.00
         CONCEPTS DESIGN AGENCY LTD
         147 W 35TH ST 301                                                  Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.355    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $620.64
         CONCERIA SIRTE SPA
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.356    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $14,299.82
         CONCRETE MEDIA LIMITED
         156-176 ST JOHN ST                                                 Contingent
         LONDON, EC1V4DG
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.357    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $23,622.30
         CONCUR TECHNOLOGIES INC
         62157 COLLECTIONS CENTER DR                                        Contingent
         CHICAGO, IL 60693
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.358    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $7,717.14
         CONDE NAST
         P.O. BOX 5350                                                      Contingent
         NEW YORK, NY 10087-5350
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.359    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,164.79
         CONE DENIM JIAXING LIMITED
         NO 60 GANGSHAN RD                                                  Contingent
         ZHEJIANG JIAXING, 314003
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.360    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $6,836.00
         CONN MACIEL CAREY PLLC
         5335 WISCONSIN AVE NW, STE 660                                     Contingent
         WASHINGTON, DC 20015
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.361    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $35,160.75
         CONSOLIDATED CARPET TRADE
         455 WASHINGTON AVE                                                 Contingent
         CARLSTADT, NJ 07072
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.362    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,495.67
         CONSOLIDATED COMMUNICATIONS
         P.O. BOX 66523                                                     Contingent
         SAINT LOUIS, MO 63166-6523
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.363    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,465.98
         CONSORZIO NOBILIA
         VIA VIACCIA 27                                                     Contingent
         MONTEMURLO, PO 59013
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.364    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $350,917.21
         CONSTRUCTION ONE INC
         101 EAST TOWN ST, STE 401                                          Contingent
         COLUMBUS, OH 43215
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.365    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $417.00
         CONSUMER WELLNESS SOLUTIONS INC
         P.O. BOX 402617                                                    Contingent
         ATLANTA, GA 30384-2617
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.366    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $10,560.88
         CONTROL SOLUTIONS INC
         122 W 27TH ST, 5TH FL                                              Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.367    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,316.61
         CONVEYCO TECHNOLOGIES INC
         47 COMMERCE DR                                                     Contingent
         BRISTOL, CT 06011-1000
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.368    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $164.67
         COPESAN SERVICES INC
         W175 N5711 TECHNOLOGY DR                                           Contingent
         MENOMONEE FALLS, WI 53051
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.369    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $338,905.28
         COPLEY PLACE ASSOCIATES LLC
         P.O. BOX 644079                                                    Contingent
         PITTSBURGH, PA 15264-4079
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.370    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $48,185.20
         COROC/HILTON HEAD I LLC
         P.O. BOX 414225                                                    Contingent
         BOSTON, MA 02241-4225
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.371    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $20,994.20
         COROC/LAKES REGION LLC
         P.O. BOX 414225                                                    Contingent
         BOSTON, MA 02241-4225
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.372    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $28,126.46
         COROC/MYRTLE BEACH LLC
         P.O. BOX 414225                                                    Contingent
         BOSTON, MA 02241-4225
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.373    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $33,855.90
         COROC/PARK CITY LLC
         P.O. BOX 414225                                                    Contingent
         BOSTON, MA 02241-4225
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.374    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $74,033.49
         COROC/REHOBOTH III LLC
         P.O. BOX 414225                                                    Contingent
         BOSTON, MA 02241-4225
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.375    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $271.08
         CORPORATION SERVICE COMPANY
         P.O. BOX 13397                                                     Contingent
         PHILADELPHIA, PA 19101-3997
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.376    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $7,667.26
         CORRIDOR CLOTHIERS
         141 FLUSHING AVE, STE 1321                                         Contingent
         NEW YORK, NY 11205
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                   Amount of claim


3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $164,137.48
         CORTE MADERA VILLAGE LLC
         P.O. BOX 31001-2163                                                    Contingent
         PASADENA, CA 91110-2163
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     REAL ESTATE

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:               $11,059,851.77
         COSMIC GEAR LTD
         STE 812, 8TH FL, YUEN FAT INDUSTRIAL BLDG                              Contingent
         25 WANG CHIU RD
         KOWLOON BAY, KLN
                                                                                Unliquidated
         HONG KONG                                                              Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                    $4,434.96
         COTONIFICIO ALBINI SPA
         1 WILLIAM ST                                                           Contingent
         NEW YORK, NY 10004
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                    $3,538.80
         COUGAR SHOES INC
         2 MASONRY CT                                                           Contingent
         BURLINGTON, ON L7T 4A8
         CANADA
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




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                                                                                                                                  Amount of claim


3.381    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:               $124,007.66
         COUNTRY CLUB PLAZA KC PARTNERS LLC
         P.O. BOX 675001                                                       Contingent
         DETROIT, MI 48267-5001
         DETROIT, MI 48267-5001
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    REAL ESTATE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.382    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $16,693.31
         COUNTY OF FAIRFAX
         P.O. BOX 10203                                                        Contingent
         FAIRFAX, VA 22035-0203
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.383    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $3,455.63
         COVANTA ENERGY LLC
         P.O. BOX 28893                                                        Contingent
         NEW YORK, NY 10087-8893
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.384    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $54,001.20
         COWAN LIEBOWITZ & LATMAN PC
         114 WEST 47TH ST                                                      Contingent
         NEW YORK, NY 10036-1525
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                               Amount of claim


3.385    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,280.11
         COX COMMUNICATIONS
         P.O. BOX 78000                                                     Contingent
         DETROIT, MI 48278-1121
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.386    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,015.10
         COYUCHI INC
         1400 TENNESSEE ST, STE 1                                           Contingent
         SAN FRANCISCO, CA 94107
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.387    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $49,355.44
         CPBP VII ASSOCIATES LP
         333 LUDLOW ST, 8TH FL                                              Contingent
         STAMFORD, CT 06902
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.388    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,810.33
         CPT LOUISVILLE I LLC
         P.O. BOX 743901                                                    Contingent
         ATLANTA, GA 30384-3901
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.389    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:               $92,357.38
         CRAIG REALTY GROUP
         P.O. BOX 740808                                                    Contingent
         LOS ANGELES, CA 90074-0808
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.390    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,707.33
         CRAIGHILL LLC
         87 RICHARDSON ST, STE 300A                                         Contingent
         BROOKLYN, NY 11211
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.391    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,487.00
         CREATE A MARKER INC
         254 WEST 35TH ST, 10TH FL                                          Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.392    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,000.00
         CREATIVE ARTISTS AGENCY LLC
         2000 AVE OF THE STARS                                              Contingent
         LOS ANGELES, CA 90067
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.393    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $3,362.14
         CRESTVIEW HILLS TOWN CENTER LLC
         3825 EDWARDS RD, STE 200                                           Contingent
         CINCINNATI, OH 45209
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.394    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $56,165.40
         CROCKER PARK LLC
         P.O. BOX 72585                                                     Contingent
         CLEVELAND, OH 44192-0002
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.395    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $4,359.48
         CROCS INC
         P.O. BOX 644601                                                    Contingent
         PITTSBURGH, PA 15264-4601
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.396    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $11,414.74
         CROSSMARK GRAPHICS
         16100 WEST OVERLAND DR                                             Contingent
         NEW BERLIN, WI 53151
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.397    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $395.76
         CRYSTAL SPRINGS
         P.O. BOX 660579                                                    Contingent
         DALLAS, TX 75266-0579
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.398    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $911.95
         CUBESMART LP
         847 TRAILVIEW BLVD SE                                              Contingent
         LEESBURG, VA 20175
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.399    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $94.87
         CUCLIE BABY
         1474 SHERWOOD PARK CIR                                             Contingent
         HOUSTON, TX 77043
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.400    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,204.75
         CUMMINS ATLANTIC
         P.O. BOX 741295                                                    Contingent
         ATLANTA, GA 30384-1295
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.401    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $91,500.00
         CURALATE INC
         1628 JOHN F KENNEDY BLVD, 14TH FL                                    Contingent
         PHILADELPHIA, PA 19103
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.402    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $148.56
         CURTIS BAY MEDICAL WASTE
         1501 S CLINTON ST SUITE130                                           Contingent
         BALTIMORE, MD 21224
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.403    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $178,676.09
         CVM ASSOCIATES LTD PARTNERSHIP
         P.O. BOX 63340                                                       Contingent
         CHARLOTTE, NC 28263-3340
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   REAL ESTATE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.404    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $162,900.09
         CYBER SOURCE
         P.O. BOX 742842                                                      Contingent
         LOS ANGELES, CA 90074-2842
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.405    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $49,750.00
         CYBERINT TECHNOLOGIES LTD
         17 HAMEFALSIM ST                                                   Contingent
         PETACH TIKVA , 4951447
         ISRAEL
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.406    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $17,250.00
         CYC DESIGN CORP
         AKA REIGNING CHAMP                                                 Contingent
         133 W 5TH AVE
         VANCOUVER, BC V5Y 1H9
                                                                            Unliquidated
         CANADA                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.407    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $20,000.00
         CYCLICAL PRODUCTIONS INC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.408    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,639,174.31
         D AND J INTERNATIONAL LIMITED
         610 NATHAN RD                                                      Contingent
         MONGKOK, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.409    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $193,066.35
         DAE JEE METAL CO LTD
         173-5 DAE JEE BLDG                                                 Contingent
         SEOUL, 138-844
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.410    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,766.90
         DALE AND BLUE LLC
         5203 LORAINE ST 175                                                Contingent
         DETROIT, MI 48208
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.411    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $26,350.00
         DALE CARNEGIE & ASSOCIATES INC
         780 THIRD AVE LEVEL C-1                                            Contingent
         NEW YORK, NY 10017
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.412    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $471,192.28
         DALIAN MODA FASHION CO LTD
         YANGSHUFANG TOWN PULANDIAN                                         Contingent
         DALIAN, 70 116215
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.413    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $636,642.48
         DALIAN YANGERTE GARMENT
         YANGSHUFANG TOWN PULANDIAN                                         Contingent
         DALIAN,
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.414    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $650.00
         DANESON LTD
         25 HOLLINGER RD, UNIT 17 BOX 5                                     Contingent
         TORONTO, ON M4B 3N4
         CANADA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.415    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $22,296.96
         DARTMOUTH COLLEGE
         P.O. BOX 5188                                                      Contingent
         HANOVER, NH 03755
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.416    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $10,950.00
         DARYANANI LAW GROUP PC
         330 SEVENTH AVE, STE 2003                                          Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.417    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $639,451.90
         DATAPIPE INC
         P.O. BOX 36477                                                     Contingent
         NEWARK, NJ 07188-6477
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.418    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $972.96
         DATASPAN HOLDINGS INC
         13755 HUTTON DR, STE 300                                           Contingent
         FARMERS BRANCH, TX 75234
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.419    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $2,635.78
         DAVID PIRROTTA BRAND GROUP
         7424 1/2 W SUNSET BLVD, STE 5                                      Contingent
         LOS ANGELES, CA 90046
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.420    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $98,908.53
         DAZHAN WOOLEN TEXTILE CO LTD
         NO9 FUHUI RD YEXIE TOWN                                            Contingent
         SONGJIANG SHANGHAI, 201609
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.421    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $44,000.00
         DBA MEDIA LLC
         750 N SAN VICENTE BLVD, STE 950                                    Contingent
         WEST HOLLYWOOD, CA 90069
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.422    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $212,128.81
         DE FACTO INC
         325 WEST 38TH ST, STE 1703                                         Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.423    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $6,391.50
         DEAN HORN
         64 SEA DRIFT AVE                                                   Contingent
         HIGHLANDS, NJ 07732
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.424    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $2,000.00
         DEBORAH SCHWARTZ REPS INC
         841 STRATFORD AVE                                                  Contingent
         SOUTH PASADENA, CA 91030
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.425    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $690.45
         DEBS TEXTILE CORP
         2-6-10 HONMACHI                                                     Contingent
         CHUO KU OSAKA, 5410053
         JAPAN
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.426    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $52,527.50
         DECKERS OUTDOOR CORP
         AKA TEVA FOOTWEAR                                                   Contingent
         DECKERS BRANDS - TEVA
         250 COROMAR DR
                                                                             Unliquidated
         GOLETA, CA 93117                                                    Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.427    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $478.94
         DEER PARK ENTERPRISES LLC
         P.O. BOX 415380                                                     Contingent
         BOSTON, MA 02241-5380
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.428    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $17,227.55
         DEL AMO FASHION CENTER OPERATING
         P.O. BOX 409657                                                     Contingent
         ATLANTA, GA 30384
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.429    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $94,980.75
         DELL MARKETING LP
         LESLIE HARLIEN                                                     Contingent
         ONE DELL WAY (MAIL STOP RR1-33)
         ROUND ROCK, TX 78682
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.430    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:            $22,747,294.00
         DELOITTE CONSULTING
         30 ROCKEFELLER PLZ, 41ST FL                                        Contingent
         NEW YORK, NY 10112-0015
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.431    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $4,179,753.32
         DELOITTE TAX LLP
         TWO JERICHO PLZ                                                    Contingent
         JERICHO, NY 11753-1683
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.432    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $128,750.44
         DELSHAH GANSEVOORT 69 LLC
         114 EAST 13TH ST, FRONT 1                                          Contingent
         NEW YORK, NY 10003
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.433    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,257,683.26
         DELTA BOGART LINGERIE LTD
         NO 17 KAI CHEUNG RD                                                Contingent
         KOWLOON BAY, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.434    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $138.79
         DEMATIC CORP
         684125 NETWORK PL                                                  Contingent
         CHICAGO, IL 60673-1684
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.435    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,554,642.61
         DENIMATRIX LLC
         70 W 40TH ST                                                       Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.436    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $101,750.52
         DERRIS LLC
         ATTN: JESSE DERRIS                                                 Contingent
         48 W 25TH ST, 11TH FL
         NY, NY 10010
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.437    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $12,140.50
         DESIGN WITHIN REACH
         711 CANAL ST 301                                                   Contingent
         STAMFORD, CT 06902
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.438    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,026,080.42
         DESIGNER PLUS SRL UNIPERSONALE
         PIAZZA MARCO POLO NR 2                                             Contingent
         CASTLEFRANCO DISOTTO, 56022
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.439    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $600.00
         DEVLIN MILES PHOTO ASSISTANT
         149 CLINTON AVE 1C                                                 Contingent
         BROOKLYN, NY 11205
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.440    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $300,547.97
         DH FTN CO LTD
         123 DIGITAL RO 26GIL                                               Contingent
         GUROGU
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.441    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $92,400.00
         DHR INTERNATIONAL INC
         121 N JEFFERSON ST                                                 Contingent
         CHICAGO, IL 60661
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.442    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $9,578.50
         DIADORA US INC
         1901 S 9TH ST, RM 422                                              Contingent
         PHILADELPHIA, PA 19148
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.443    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $12,146.71
         DIANA PANTIC INC
         42 HOPKINS AVE                                                     Contingent
         JERSEY CITY, NJ 07306
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.444    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $28,089.00
         DISASTER RECOVERY SERVICES
         P.O. BOX 989                                                       Contingent
         REMSENBURG, NY 11960
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.445    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $891.00
         DJIC LIMITED
         7F-1 NO 12 SEC 3 MIN CHANG E RD                                    Contingent
         TAIPEI,
         TAIWAN
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.446    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $23,000.00
         DK DISPLAY CORP
         147 WEST 25TH ST                                                   Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.447    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $205.79
         DL MANUFACTURING
         340 GATEWAY PARK DR                                                Contingent
         NORTH SYRACUSE, NY 13212
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.448    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $47,295.00
         DLA PIPER LLP US
         P.O. BOX 75190                                                     Contingent
         BALTIMORE, MD 21275
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.449    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $314,078.76
         DNA MODEL MANAGEMENT LLC
         555 WEST 25TH ST, 6TH FL                                           Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.450    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $3,090.00
         DO SAY GIVE LLC
         3601 MCFARLIN BLVD                                                 Contingent
         DALLAS, TX 75205
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.451    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $693.00
         DOCK A TOT
         P.O. BOX 603431                                                    Contingent
         CHARLOTTE, NC 28260
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.452    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $389,042.74
         DOHZHEN CO LIMITED
         239 XI TAI RD                                                      Contingent
         SHANGHAI, 200232
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.453    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $142,511.00
         DOLORITA F WALLACE TRUST UW
         170 MASON ST                                                       Contingent
         GREENWICH, CT 06830
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.454    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $3,900.00
         DOMURAT STUDIO LLC
         171 CLERMONT AVE 5L                                                Contingent
         BROOKLYN, NY 11205
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.455    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $146,499.35
         DONNELLEY FINANCIAL SOLUTIONS
         P.O. BOX 842282                                                    Contingent
         BOSTON, MA 02284-2282
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.456    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $148,346.19
         DONNELLY MECHANICAL CORP
         ATTN: DINO MANGIONE                                                Contingent
         96-59 222ND ST
         QUEENS VILLAGE, NY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.457    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $600.00
         DOR TECHNOLOGIES
         1157 HARRISON ST                                                   Contingent
         SAN FRANCISCO, CA 94103
         SAN FRANCISCO, CA 94103
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.458    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $60,798.15
         DORFMAN PACIFIC CO INC
         P.O. BOX 674620                                                    Contingent
         DETROIT, MI 48267-4620
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.459    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,085.25
         DOUGLAS FORSTER
         4199 E WALNUT ST                                                   Contingent
         WESTERVILLE, OH 43081
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.460    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $28,438.00
         DOUGLAS L OR JEAN K BROWN
         81605 CORTE MONTELEON                                              Contingent
         INDIO, CA 92203
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.461    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $300,230.08
         DRAGON LUCK LIMITED
         11 YUK YAT ST                                                      Contingent
         TOKWAWAN, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.462    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $506,880.94
         DRAGON YU BAG MFG CO LTD
         8F NO 227 SEC 1 FUXING SOUTH RD                                    Contingent
         TAIPEI,
         TAIWAN
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.463    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $26,440.00
         DRAKES
         3 HABERDASHER ST                                                   Contingent
         LONDON, N1 6ED
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.464    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $8,321.40
         DREAMTEX CO LTD
         3 212-13 KURO DONG KURO KU                                         Contingent
         SEOUL,
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.465    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $7,127.61
         DRUTHERS, LLC
         592 JOHNSON AVE DRUTHERS STUDIO                                    Contingent
         BROOKLYN, NY 11237
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.466    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $6,018.84
         DS SMITH PACKAGING ROANOKE
         P.O. BOX 20369                                                     Contingent
         ROANOKE, VA 24018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.467    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $184.59
         DTEP LLC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.468    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $336.00
         DUCA VISCONTI DI MODRONE SPA
         SEDE LEGALE CSO                                                    Contingent
         DI PORTA ROMANA 3 MILANO, 20122
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.469    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $83,784.75
         DUFF AND PHELPS LLC
         12595 COLLECTIONS CENTER DR                                        Contingent
         CHICAGO, IL 60693
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.470    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $25,332.80
         DUGGAL VISUAL SOLUTIONS INC
         63 FLUSHING AVE, BLDG 25                                           Contingent
         BROOKLYN, NY 11205
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.471    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $307,863.79
         DUNBAR ARMORED INC
         4983 MERCANTILE RD                                                 Contingent
         BALTIMORE, MD 21236
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.472    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $31,057.99
         DXP ENTERPRISES INC
         P.O. BOX 840511                                                    Contingent
         DALLAS, TX 75284-0511
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.473    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $12,389.97
         EARTH CAM INC
         650 E CRESCENT AVE                                                 Contingent
         UPPER SADDLE RIVER, NJ 07458
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.474    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $180,145.30
         EAST HAMPTON 14 MAIN STREET LLC
         P.O. BOX 87                                                        Contingent
         CENTER MORICHES, NY 11934
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.475    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $38,012.49
         EAST PHOTOGRAPHIC INC
         401 BROADWAY, STE 1802                                             Contingent
         NEW YORK, NY 10013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.476    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $166,789.60
         EASTON TOWN CENTER II LLC
         L-3769                                                             Contingent
         COLUMBUS, OH 43260-3769
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.477    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $91,249.26
         EASTVIEW MALL LLC
         P.O. BOX 8000                                                      Contingent
         DEPT 976
         BUFFALO, NY 14267
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.478    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,395.12
         EATEL CORP LLC
         P.O. BOX 919251                                                    Contingent
         DALLAS, TX 75391-9251
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.479    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   Unknown
         EATON VANCE ET AL
         C/O BROWN RUDNICK LLP                                           X Contingent
         ATTN: SIGMUND S WISSNER-GROSS
         7 TIMES SQ
                                                                         X Unliquidated
         NEW YORK, NY 10036                                              X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION

         2/1/2017
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.480    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $168,585.54
         ECLAT TEXTILE CO LTD
         NO 28 WU CHUAN RD                                                  Contingent
         NEW TAIPEI CITY,
         TAIWAN
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.481    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $9,721.85
         ECONOCO CORP
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.482    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $96,758.32
         EDENS LIMITED PARTNERSHIP
         DEPT 2058                                                          Contingent
         P.O. BOX 536856
         ATLANTA, GA 30353-6856
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.483    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $26,554.06
         EDWARD MOORE
         1439 STATE ROUTE 9 16                                              Contingent
         LAKE GEORGE, NY 12845
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.484    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $15,000.00
         EFDOT INC
         35 CLAREWOOD DR                                                    Contingent
         HASTINGS ON HUDSON, NY 10706
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.485    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $473.85
         ELECOM INC
         P.O. BOX 880                                                       Contingent
         MADISON HEIGHTS, VA 24572
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.486    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,262.31
         ELECTRICAL EQUIPMENT COMPANY
         P.O. BOX 603392                                                    Contingent
         CHARLOTTE, NC 28260-3392
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.487    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $15,714.18
         ELECTRO MECHANICAL HANDLING
         P.O. BOX 11348                                                     Contingent
         LYNCHBURG, VA 24506-1348
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.488    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $6,000.00
         ELEMENTALY LIMITED
         41 CORSHAM ST                                                      Contingent
         LONDON, N1 6DR
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.489    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $539.86
         ELEPHANTITO
         5825 SUNSET DR, STE 300                                            Contingent
         SOUTH MIAMI, FL 33143
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.490    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $46,126.33
         ELEVATE HONG KONG HOLDINGS LTD
         1-29 TANG LUNG ST                                                  Contingent
         CAUSEWAY BAY,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.491    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $100.00
         ELEVATING EQUIPMENT INSPECTION
         208 W DEPOT ST                                                     Contingent
         BEDFORD, VA 24523
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.492    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $307,309.88
         ELITE INVESTIGATIONS LTD
         2001 CENTRAL PARK AVE                                              Contingent
         YONKERS, NY 10710
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                  Amount of claim


3.493    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $7,320.00
         ELITE MODEL MANAGEMENT CORP
         245 FIFTH AVE, 24TH FL                                                Contingent
         NEW YORK, NY 10016
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.494    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                   $112.00
         ELIZABETHS ALTERATIONS & TAILORING
         5328 N 7TH AVE                                                        Contingent
         PHOENIX, AZ 85013
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.495    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $53,051.82
         ELM STREET REALTY ASSOCIATES LLC.
         P.O. BOX 691                                                          Contingent
         SOUTHPORT, CT 06890
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    REAL ESTATE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.496    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $213,157.57
         ELWOOD STAFFING SERVICES INC
         P.O. BOX 1024                                                         Contingent
         COLUMBUS, IN 47202-1024
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                               Amount of claim


3.497    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $10,080.00
         EMAINT ENTERPRISES LLC
         438 N ELMWOOD RD                                                   Contingent
         MARLTON, NJ 08053
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.498    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,070.94
         EMED CO INC
         39209 TREASURY CENTER                                              Contingent
         CHICAGO, IL 60694-9200
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.499    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $7,703.50
         EMERGENT365 INC
         333 BLOOMFIELD AVE, STE 202                                        Contingent
         CALDWELL, NJ 07006
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.500    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $631.72
         EMILY ELIZABETH MILLER
         1303 WOODLAND ST, APT A                                            Contingent
         NASHVILLE, TN 37206
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.501    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $500.00
         EMILY HARRISON
         453 GRAHAM AVE 3L                                                  Contingent
         BROOKLYN, NY 11222
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.502    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $7,098.95
         EMPIRE OFFICE INC
         GPO P.O. BOX 27752                                                 Contingent
         NEW YORK, NY 10087-7752
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.503    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $490,240.46
         EMPORIUM MALL LLC
         P.O. BOX 743331                                                    Contingent
         LOS ANGELES, CA 90074-3331
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.504    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $239,335.72
         ENGIE INSIGHT SERVICES INC
         1313 NORTH ATLANTIC, STE 5000                                      Contingent
         SPOKANE, WA 99201
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.505    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $8,678.95
         ENTOURAGE FLOORING INC
         196 WEST LINDSLEY RD                                               Contingent
         CEDAR GROVE, NJ 07009
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.506    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $7,000.00
         ENTREPRENEURIAL SCOTLAND
         199 CATHEDRAL ST                                                   Contingent
         GLASGOW, G4 0QU
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.507    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $99,093.97
         ENVISAGE GROUP
         19161 E WALNUT DR N                                                Contingent
         CITY OF INDUSTRY, CA 91748-1436
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.508    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $83,368.56
         ENVISTA LLC
         P.O. BOX 7047                                                      Contingent
         GROUP Q
         INDIANAPOLIS, IN 46207
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.509    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $5,407.50
         EPATH LEARNING INC
         300 STATE ST, STE 400                                              Contingent
         NEW LONDON, CT 06320
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.510    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $8,940.54
         EPS TRADING LIMITED
         799 HULAN RD BLDG 14, STE A101                                     Contingent
         SHANGHAI, 200431
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.511    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $4,311.00
         EPSTEIN BECKER & GREEN PC
         875 THIRD AVE                                                      Contingent
         NEW YORK, NY 10022
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.512    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $11,300.00
         EQUILAR INC
         1100 MARSHALL ST                                                   Contingent
         REDWOOD CITY, CA 94063
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.513    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $316.47
         ERBAVIVA INC
         19831 NORDHOFF PL, UNIT 116                                        Contingent
         CHATSWORTH, CA 91311
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.514    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,315.00
         ERI.INC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.515    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $58,800.00
         ERICA JOHNSON
         8 UPTOM PINE RD                                                    Contingent
         LEBANON, NJ 08833
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.516    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,200.00
         ERICA MCCARTNEY
         58 CONCOURSE EAST                                                  Contingent
         BRIGHTWATERS, NY 11718
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.517    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $3,478.08
         ERNEST SCHAEFER INC
         731 LEHIGH AVE                                                     Contingent
         UNION, NJ 07083-7626
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.518    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $109,949.65
         ERY RETAIL PODIUM LLC
         460 WEST 34TH ST, 8TH FL                                           Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.519    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $48,422.02
         ESQUEL ENTERPRISES LTD
         25 HARBOUR RD                                                      Contingent
         WANCHAI,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.520    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $50.00
         ESQUEL MAURITIUS LTD
         ROYAL RD                                                           Contingent
         BEAU BASSIN, MU
         MAURITIUS
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.521    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $2,975.63
         EUGENIA KIM INC
         347 W 36TH ST, STE 501                                              Contingent
         NEW YORK, NY 10018
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.522    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $1,504.78
         EVERBLOOM
         214 MAIN ST 276                                                     Contingent
         EL SEGUNDO, CA 90245
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.523    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $41,043.50
         EVEREST TEXTILE CO LTD
         3/F NO 168 TUNG HWA NORTH RD                                        Contingent
         TAIWAN
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.524    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $412,685.00
         EXPERIAN MARKETING SOLUTIONS LLC
         P.O. BOX 881971                                                     Contingent
         LOS ANGELES, CA 90088-1971
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.525    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,900.50
         EXPRESS CONNECTION
         12021 WILSHIRE BLVD, STE 922                                       Contingent
         LOS ANGELES, CA 90025
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.526    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,989.20
         EXPRESS SERVICES INC
         P.O. BOX 535434                                                    Contingent
         ATLANTA, GA 30353-5434
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.527    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $168.39
         EXTRA SPACE STORAGE
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.528    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $145.79
         EXTRA SPACE STORAGE 0519
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.529    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,050.10
         EXXON MOBIL
         P.O. BOX 78001                                                     Contingent
         PHOENIX, AZ 85062-8001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.530    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $5,400.00
         EYE CANDY ILLUSTRATIONS LTD
         BROADWAY                                                           Contingent
         WORCESTERSHIRE, GB WR127PX
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.531    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $4,565.00
         FABSCRAP INC
         P.O. BOX 7559                                                      Contingent
         NEW YORK, NY 10150
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.532    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                UNKNOWN
         FACTORY OWNER LLC
         450 PARK AVENUE                                                 X Contingent
         4TH FLOOR
         NEW YORK, NY 10022
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 UNKNOWN

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.533    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $459,139.69
         FACTORY REIT LLC
         P.O. BOX 784395                                                    Contingent
         PHILADELPHIA, PA 19178-4395
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.534    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $650.00
         FACTOTUM FOTOGRAPHIK
         48 FAIRMOUNT AVE                                                   Contingent
         NORTH ARLINGTON, NJ 07031
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.535    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $4,421.35
         FAIR HARBOR CLOTHING INC
         6 GLENN RD                                                         Contingent
         LARCHMONT, NY 10538
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.536    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $183,838.82
         FAIR TRADE USA
         1500 BROADWAY, STE 400                                             Contingent
         OAKLAND, CA 94612
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.537    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $100,795.90
         FAIRFAX CO OF VIRGINIA LLC
         P.O. BOX 67000                                                     Contingent
         DETROIT, MI 48267-0565
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.538    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $147.02
         FAIRPOINT COMMUNICATIONS INC
         P.O. BOX 11021                                                     Contingent
         LEWISTON, ME 04243-9472
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.539    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $9,191.73
         FAR EAST NETWORK HK LTD
         160 GLOUCESTER RD                                                  Contingent
         WAN CHAI,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.540    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $2,335.00
         FARAH PIDGEON
         1150 GRESHAM RD                                                    Contingent
         PLAINFIELD, NJ 07062
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.541    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $3,061.85
         FARMERS MARKET SELF ST
         111 THE GROVE DR                                                   Contingent
         LOS ANGELES, CA 90036
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.542    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $440.00
         FARO RECRUITMENT VIETNAM JSC
         17 LE DUAN BLVD DISTRICT 1                                         Contingent
         HO CHI MINH CITY,
         VIETNAM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.543    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $5,500.00
         FASEPRO LLC
         12239 NANDINA LN                                                   Contingent
         FRISCO, TX 75035-0191
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.544    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $9,427,880.14
         FASHION ACCESSORIES
         PHASE VI SECTOR 37                                                 Contingent
         GURGAON HARYANA,
         INDIA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.545    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $156,800.36
         FASHION CENTRE MALL LLC
         P.O. BOX 402792                                                    Contingent
         ATLANTA, GA 30384-2792
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.546    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $2,560.00
         FASHION LINE
         142-143 MAIN PATAUDI RD                                            Contingent
         GURGAON, 7 122001
         INDIA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.547    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $6,203.12
         FASHION OUTLETS AT FOXWOODS LLC
         P.O. BOX 414225                                                    Contingent
         BOSTON, MA 02241-4225
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.548    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $90,557.20
         FASHION PLACE LLC
         SDS-12-2780                                                        Contingent
         P.O. BOX 86
         MINNEAPOLIS, MN 55486-2780
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.549    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $43,044.34
         FASHION PLACE MEGA LLC
         SDS-12-2780                                                        Contingent
         P.O. BOX 86
         MINNEAPOLIS, MN 55486-2945
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.550    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $12.16
         FASTENAL COMPANY
         P.O. BOX 978                                                       Contingent
         WINONA, MN 55987-0978
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.551    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,000.00
         FAYE WEBSTER LLC
         ATTN: FAYE WEBSTER                                                 Contingent
         218 POWELL ST. SE
         ATLANTA, GA 30316
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.552    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $931,651.98
         FEDERAL MERCHANDISING INC
         3222 EAST WASHINGTON BLVD                                          Contingent
         VERNON, CA 90058
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.553    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $33,887.50
         FEDERAL REALTY INVESTMENT TRUST
         ATTN: LEGAL DEPT                                                   Contingent
         1626 EAST JEFFERSON ST
         ROCKVILLE, MD 20852-4041
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.554    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $112.90
         FEEDING SOUTH FLORIDA INC
         2501 SW 32 TERRACE                                                 Contingent
         PEMBROKE, FL 33023
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.555    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,520.84
         FEREBEE JOHNSON COMPANY INC
         1611 CONCORD RD - LOWER BASIN                                      Contingent
         LYNCHBURG, VA 24504
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.556    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $336,519.90
         FIFTH AVENUE OF L I RLTY ASSOC
         2110 NORTHERN BLVD, STE 201                                        Contingent
         MANHASSET, NY 11030
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                     Amount of claim


3.557    Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is:                  $224.10
         FILATI BE MI VA SPA
         50010 CAMPI BISENZIO                                                     Contingent
         FLORENCE,
         ITALY
                                                                                  Unliquidated
                                                                                  Disputed
                                                                               Basis for the claim:
         Date or dates debt was incurred                                       MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                       Is the claim subject to offset?
                                                                                    No
                                                                                    Yes




3.558    Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is:                  $671.30
         FILITALY LAB SRL
         VIA F LLI BURICCHI 1                                                     Contingent
         VAIANO, PO 59021
         ITALY
                                                                                  Unliquidated
                                                                                  Disputed
                                                                               Basis for the claim:
         Date or dates debt was incurred                                       MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                       Is the claim subject to offset?
                                                                                    No
                                                                                    Yes




3.559    Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is:                $10,559.55
         FILPUCCI SPA
         VIA DEI TIGLI, 41                                                        Contingent
         CAPALLE CAMPI BISENZIO (FI), PO 50013
         ITALY
                                                                                  Unliquidated
                                                                                  Disputed
                                                                               Basis for the claim:
         Date or dates debt was incurred                                       MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                       Is the claim subject to offset?
                                                                                    No
                                                                                    Yes




3.560    Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is:                  $242.40
         FINLEY AND SPARKLE LIMITED
         9 WING HONG ST                                                           Contingent
         CHEUNG SHA WAN
         HONG KONG
                                                                                  Unliquidated
                                                                                  Disputed
                                                                               Basis for the claim:
         Date or dates debt was incurred                                       MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                       Is the claim subject to offset?
                                                                                    No
                                                                                    Yes




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                                                                                                                               Amount of claim


3.561    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $4,646.40
         FIO INTERNATIONAL
         NO 737 QIAOXING AVE SHATOU ST                                      Contingent
         GUANGZHOU CITY PANYU, 511400
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.562    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $685.00
         FIONA COLQUHOUN DESIGN LTD
         5 ARCHIE ST                                                        Contingent
         LONDON, SE1 3JT
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.563    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $1,715.64
         FIRE & SAFETY EQUIPMENT CO INC
         7854 STAGE RD                                                      Contingent
         CONCORD, VA 24538
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.564    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $5,289,489.81
         FIRST GLORY LIMITED
         2 CHEUNG YUE ST                                                    Contingent
         CHEUNG SHA WAN, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.565    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $74,970.00
         FISHER FOOTWEAR
         777 WEST PUTNAM AVE                                                Contingent
         GREENWICH, CT 06830-5014
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.566    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $600.00
         FLAUNT MODEL MANAGEMENT INC
         35 WEST 35TH ST, STE 901                                           Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.567    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $67,389.24
         FLOOR CARE SPECIALISTS INC
         525 WILSON ST                                                      Contingent
         DANVILLE, VA 24541
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.568    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $11,666.25
         FLOOR READY SERVICES INC
         94 GLENN BRIDGE RD                                                 Contingent
         ARDEN, NC 28704
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.569    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,000.00
         FLYING CLOUD UNIVERSAL LLC
         ATTN: SAM OWENS                                                    Contingent
         360 FURMAN ST #829
         BROOKLYN, NY 11201
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.570    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $65,403.74
         FORBES COHEN FLORIDA PROPERTIES
         16156 COLLECTIONS CENTER DR                                        Contingent
         CHICAGO, IL 60693
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.571    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $71,495.42
         FORBES TAUBMAN ORLANDO LLC
         16286 COLLECTIONS CENTER DR                                        Contingent
         CHICAGO, IL 60693
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.572    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $48,107.32
         FORD MODELS INC
         11 EAST 26TH ST, 14TH FL                                           Contingent
         NEW YORK, NY 10010
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.573    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $98,000.00
         FORECAST HORIZON INC
         6116 TELEGRAPH AVE, STE 306                                        Contingent
         OAKLAND, CA 94609
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.574    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $775.50
         FORMOSA TAFFETA CO LTD
         11/F 201 TUNG HWA NORTH RD                                         Contingent
         TAPEI,
         TAIWAN
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.575    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $74,996.36
         FORMOSTAR GARMENT CO LTD
         NO 90 SEC 1 SINTAI WU RD                                           Contingent
         NEW TAIPEI CITY, TPE
         TAIWAN
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.576    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $95.65
         FORT STANDARD LLC
         175 VAN DYKE ST, STE 325B                                          Contingent
         BROOKLYN, NY 11231
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.577    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $9,130.00
         FORTIER PRICE
         100 QUAI DE JEMMAPES                                               Contingent
         PARIS, 75010
         FRANCE
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.578    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,852,772.24
         FORTUNE CATHAY TRADING LIMITED
         681 4188 LN JIASON MID RORD                                        Contingent
         SHANGHAI, 201700
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.579    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $121,584.00
         FORTUNE GLOBAL (HK) LTD
         18 SUNG ON ST                                                      Contingent
         HUNG HOM
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.580    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $1,121.57
         FOSTER ELECTRIC CO INC
         P.O. BOX 11498                                                     Contingent
         LYNCHBURG, VA 24506-1498
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.581    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $33,795.00
         FOUNTAIN SET LIMITED
         29-39 KWAI CHEONG RD                                               Contingent
         KWAI CHUNG HONG KONG,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.582    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $5,000.00
         FOUR CORNERS MEDIA
         275 CONOVER ST, STE 4P                                             Contingent
         BROOKLYN, NY 11231
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.583    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $244,461.47
         FOUR STATE PROPERTIES LLC
         SDS-12-2893                                                        Contingent
         P.O. BOX 86
         MINNEAPOLIS, MN 55486-2893
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.584    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $5,796.89
         FOURLAPS LLC
         110 E 25TH ST                                                      Contingent
         NEW YORK, NY 10010
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                               Amount of claim


3.585    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $3,437.95
         FOX FABRICS INC
         110 WEST 40TH ST, STE 2503                                         Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.586    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $270.00
         FOX VALLEY FIRE & SAFETY
         2730 PINNACLE DR                                                   Contingent
         ELGIN, IL 60124
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.587    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $38,237.50
         FR WESTGATE MALL LLC
         P.O. BOX 846073                                                    Contingent
         LOS ANGELES, CA 90084-6073
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.588    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $408.80
         FRAMED FLORALS
         67 WEST ST 325                                                     Contingent
         BROOKLYN, NY 11222
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.589    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $10,922.50
         FRANCOIS LEROY L'ATELIER INC
         424 BROADWAY, STE 601                                              Contingent
         NEW YORK, NY 10013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.590    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $7,846.46
         FRANK REPS
         103 EAST BROADWAY, 4TH FL                                          Contingent
         NEW YORK, NY 10002
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.591    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $7,200.00
         FREEDOM MODELS CALIFORNIA INC
         820 N FAIRFAX AVE                                                  Contingent
         WEST HOLLYWOOD, CA 90048
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.592    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $435.51
         FREEMAN GAS
         4848 ASHEVILLE HIGHWAY                                             Contingent
         HENDERSONVILLE, NC 28791
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.593    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $56,899.06
         FRIT SAN JOSE TOWN & COUNTRY
         P.O. BOX 846073                                                    Contingent
         LOS ANGELES, CA 90084-6073
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.594    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $18,840.20
         FRITZ FARM RETAIL COMPANY LLC
         P.O. BOX 679221                                                    Contingent
         DALLAS, TX 75267
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.595    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $29,060.60
         FROG COMPANY LTD
         HAJEOM MYEON GANGHWA GUN                                           Contingent
         INCHEON, 417-872
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.596    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $356.47
         FRONTEER LLC
         610 MAIN ST, APT 737                                               Contingent
         LOS ANGELES, CA 90014
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.597    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,738.04
         FRONTIER COMMUNICATIONS
         P.O. BOX 20579                                                     Contingent
         ROCHESTER, NY 14602
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.598    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $57,866.65
         FRY WAGNER MOVING AND STORAGE
         3700 RIDER TRAIL SOUTH                                             Contingent
         EARTH CITY, MO 63045
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.599    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $21,435.70
         FSH ASSOCIATES LP
         P.O. BOX 414225                                                    Contingent
         BOSTON, MA 02241-4225
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.600    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $3,945.15
         FUCHUEN ENTERPRISES HK CO LTD
         2-4 SHEUNG HEI ST, 2ND FL                                          Contingent
         SAN PO KONG, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.601    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $586.43
         FULL SOURCE LLC
         10302 DEERWOOD PARK BLVD, STE 200                                    Contingent
         JACKSONVILLE, FL 32256
         JACKSONVILLE, FL 32256
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.602    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,920.60
         FUNG YUE WOOL SPINNING CO LTD
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.603    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $11.84
         FUPO KNITTING FACTORY LTD
         151-153 HOI BUN RD                                                   Contingent
         KWUN TONG, KOWLOON
         HONG KONG
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.604    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $4,800.00
         FUSION MODELING AGENCY LLC
         101 N 10TH ST 301                                                    Contingent
         BROOKLYN, NY 11249
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                                Amount of claim


3.605    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $127,923.73
         FUTURITE INTERNATIONAL CO LTD
         P.O. BOX 3151 RD TOWN                                               Contingent
         TORTOLA, VG1110
         BRITISH VIRGIN ISLANDS
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.606    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $33,334.35
         G HENSLER & CO
         160 S LINDEN AVE, STE 200                                           Contingent
         SOUTH SAN FRANCISCO, CA 94080
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.607    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $4,502.50
         G MEGA TEXTILE ENTERPRISE CO LTD
         1FL NO 52 WUQUAN 7TH RD                                             Contingent
         NEW TAIPEI CITY
         TAIWAN
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.608    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $3,326.00
         G&G CLEANERS &TAILORS LLC
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.609    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $375.36
         GALAMAAR
         1448 LAVETA TERRACE                                                Contingent
         LOS ANGELES, CA 90026
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.610    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $778.87
         GARBO & FRIENDS US
         854 E 26TH ST                                                      Contingent
         BROOKLYN, NY 11210
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.611    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $58,145.58
         GARDA CL ATLANTIC INC
         3209 MOMENTUM PL                                                   Contingent
         CHICAGO, IL 60689-0001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.612    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $251,577.46
         GARTNER INC
         56 TOP GALLANT RD                                                  Contingent
         STAMFORD, CT 06902
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.613    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $42,847.86
         GATEWAY KNOLLWOOD LLC
         5353 WAYZATA BLVD, STE 650                                         Contingent
         MINNEAPOLIS, MN 55416
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.614    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $33,488.76
         GATEWAY SQUARE LLC
         P.O. BOX 404133                                                    Contingent
         ATLANTA, GA 30384-4133
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.615    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $44,001.86
         GATEWAY WOODSIDE INC
         FILE 55770                                                         Contingent
         LOS ANGELES, CA 90074-5770
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.616    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,198,698.98
         GAURAV INTERNATIONAL
         PLOT NO 236 UDYOG VIHAR                                            Contingent
         GURGAON, 7
         INDIA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.617    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $202.79
         GBC E-COMMERCE
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.618    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $7,200.00
         GENERATION
         20 W 20 ST, STE 1008                                               Contingent
         NEW YORK CITY, NY 10011
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.619    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $444.00
         GENNARO PETRUZZIELLO
         21 LAKE ST                                                         Contingent
         MALDEN, MA 02148
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.620    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $46.10
         GEORGETOWN UNIVERSITY
         37 AND O ST NW                                                     Contingent
         WASHINGTON, DC 20057
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.621    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $74,175.51
         GEORGIA PACIFIC CORRUGATED LLC
         P.O. BOX 409221                                                    Contingent
         ATLANTA, GA 30384-9221
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.622    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $825,246.14
         GFM LLC
         P.O. BOX 31001-1534                                                Contingent
         PASADENA, CA 91110-1534
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.623    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $96,920.32
         GGP CPP PLAZA FRONTENAC LLC
         SDS-12-3110                                                        Contingent
         P.O. BOX 86
         MINNEAPOLIS, MN 55486-3110
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.624    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $391,542.22
         GGP LIMITED PARTNERSHIP
         P.O. BOX 86                                                        Contingent
         SDS-12-3059
         MINNEAPOLIS, MN 55486-3059
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.625    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $154,140.40
         GGP-TRS LLC
         P.O. BOX 86                                                        Contingent
         MINNEAPOLIS, MN 55486-3080
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.626    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $128,831.42
         GGP/HOMART II LLC
         P.O. BOX 860667                                                    Contingent
         MINNEAPOLIS, MN 55486-0667
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.627    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $239,154.61
         GGPLP LLC
         P.O. BOX 860267                                                    Contingent
         MINNEAPOLIS, IN 55486-0267
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.628    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $207,228.14
         GGPLP REAL ESTATE INC
         2701 SOLUTION CENTER                                               Contingent
         CHICAGO, IL 60677-2007
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.629    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,348,200.00
         GIBI SYSTEMS INC
         5550 PAINTED MIRAGE RD, STE 320                                      Contingent
         LAS VEGAS, NV 89149
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.630    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                     $150.00
         GILA RIVER INDIAN COMMUNITY
         P.O. BOX 2160                                                        Contingent
         SACATON, AZ 85147
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.631    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                     $930.10
         GILA RIVER TELECOMMUNICATIONS INC
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.632    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $81,392.48
         GILROY PREMIUM OUTLETS LLC
         P.O. BOX 827762                                                      Contingent
         PHILADELPHIA, PA 19182-7762
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   REAL ESTATE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                                Amount of claim


3.633    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                   $148.00
         GIRL UP
         1750 PENNSYLVANIA AVE NW 300                                        Contingent
         WASHINGTON, DC 20006
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.634    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $27,190.00
         GIRLS INCORPORATED
         120 WALL ST                                                         Contingent
         NEW YORK, NY 10005
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.635    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $37,727.49
         GIS GENERAL INFORMATION SERVICES
         P.O. BOX 538450                                                     Contingent
         ATLANTA, GA 30353-8450
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.636    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $120,532.07
         GLIMCHER PROPERTIES
         P.O. BOX 645089                                                     Contingent
         CINCINNATI, OH 45264-5089
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                                Amount of claim


3.637    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $17,661.65
         GLOBAL EQUIPMENT CO
         29833 NETWORK PL                                                    Contingent
         CHICAGO, IL 60673-1298
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.638    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $713,320.52
         GLOBAL FACILITY MANAGEMENT AND
         525 BROADHOLLOW RD, STE 100                                         Contingent
         MELVILLE, NY 11747
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.639    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                   $144.21
         GLOBAL LINK FASHION ACCESSORIES
         1 CHEUNG SHUN ST                                                    Contingent
         LAI CHI KOK
         HONG KONG
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.640    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $103,468.55
         GLOBAL ONE HEADWEAR LIMITED
         26-28 AU PUI WAN ST FOTAN SHATIN                                    Contingent
         HONG KONG, NT
         HONG KONG
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.641    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,065,118.70
         GLOBAL SHOES S A R L
         IMM F2 ETAGE 2 N8                                                  Contingent
         MOHAMMEDIA, 20800
         MOROCCO
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.642    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $3,995.00
         GOLD SPINK STUDIO INC
         65 S 11TH ST, APT 2I                                               Contingent
         BROOKLYN, NY 11249
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.643    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $4,939.15
         GOLD TEETH BROOKLYN
         1307 E ACADIA AVE                                                  Contingent
         GLENDALE, CA 91205-3805
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.644    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $35,637.75
         GOOD & WELL SUPPLY CO
         1417 NW 54TH ST, STE 246                                           Contingent
         SEATTLE, WA 98107
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.645    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $50,000.00
         GOOP INC
         212 26TH ST, STE 206                                               Contingent
         SANTA MONICA, CA 90402
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.646    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,435.00
         GOUGASIAN LLC
         62 WEST 47TH ST, STE 206D                                          Contingent
         NEW YORK, NY 10036
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.647    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $237.85
         GOV DOCS
         P.O. BOX 9202                                                      Contingent
         MINNEAPOLIS, MN 55480-9202
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.648    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $112,549.42
         GPI MIDWEST LLC
         P.O. BOX 281459                                                    Contingent
         ATLANTA, GA 30384-1459
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.649    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $34,344.50
         GPT LONGMEADOW LLC
         P.O. BOX 4110                                                      Contingent
         DEPT 4052
         WOBURN, MA 01888-4110
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.650    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,478.00
         GRACE SMITH HOUSE INC
         1 BROOKSIDE AVE                                                    Contingent
         POUGHKEEPSIE, NY 12601
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.651    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $145.00
         GRACEDON KNITTERS LIMITED
         850-870 LAI CHI KOK RD                                             Contingent
         KOWLOON
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.652    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $45,507.14
         GRAND PRAIRIE PREMIUM OUTLETS
         P.O. BOX 748315                                                    Contingent
         LOS ANGELES, CA 90074-8315
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.653    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $2,136.12
         GRANDE COMMUNICATIONS
         P.O. BOX 679367                                                    Contingent
         DALLAS, TX 75267-9367
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.654    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $396,342.92
         GRANITE TELECOMMUNICATIONS
         P.O. BOX 983119                                                    Contingent
         BOSTON, MA 02298-3119
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.655    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $185,374.93
         GRANT BARNETT & CO LTD
         55-61 SOUTH ST                                                     Contingent
         BISHOPS STORTFORD, HT CM23 3AL
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.656    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,622.91
         GRANT STONE LLC
         9007 FIRST ST                                                      Contingent
         BARODA, MI 49101
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.657    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $47,791.48
         GRAPEVINE MILLS MALL LIMITED
         P.O. BOX 198189                                                    Contingent
         ATLANTA, GA 30384-8189
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.658    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $4,385.84
         GRAYBAR ELECTRIC INC
         P.O. BOX 668238                                                    Contingent
         CHARLOTTE, NC 28266
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.659    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $189,420.34
         GREEN HILLS MALL TRG LLC
         P.O. BOX 674523                                                    Contingent
         DETROIT, MI 48267-4523
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.660    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $283.46
         GREENLINE DISTRIBUTION INC
         7365 COMMERCIAL WAY, STE 115                                       Contingent
         HENDERSON, NV 89011
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.661    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,009.00
         GREGORY & HOWE INC
         TWO CORPORATE DR, STE 645                                          Contingent
         SHELTON, CT 06484
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.662    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $64,936.80
         GROVE CITY FACTORY SHOPS LP
         P.O. BOX 776260                                                    Contingent
         CHICAGO, IL 60677-6260
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.663    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $4,366.40
         GSI EXIM AMERICA INC
         1065 AVE OF THE AMERICAS                                           Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.664    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $45,000.98
         GULF COAST FACTORY SHOPS
         P.O. BOX 776266                                                    Contingent
         CHICAGO, IL 60677
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.665    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $34,883.12
         GULFPORT FACTORY SHOPS
         P.O. BOX 776257                                                     Contingent
         CHICAGO, IL 60677-6257
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.666    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $32,500.00
         GX BRIDGE INC
         2855 RUE CENTRE 414                                                 Contingent
         MONTREAL, QC H3K 3C4
         CANADA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.667    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $2,414.75
         GXS INC
         9711 WASHINGTONIAN BLVD, STE 700                                    Contingent
         GAITHERSBURG, MD 20878
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.668    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $3,500.00
         GYPO LLC
         101 E PARK BLVD, STE 1100                                           Contingent
         PLANO, TX 75094
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                                   Amount of claim


3.669    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $590,152.20
         H KUNTZLER INDUSTRIA DE
         AVENIDA SAO MIGUEL 95                                                  Contingent
         DOIS IRMAOS, RS 93950 000
         BRAZIL
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.670    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                  $4,395.60
         H&M PALLET
         P.O. BOX 402                                                           Contingent
         LEICESTER, NC 28748
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     OTHER TRADE

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.671    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                  $1,709.95
         HAINING JOYWAY TRADE CO LTD
         HAIZHOU ST                                                             Contingent
         HAINING CITY ZHEJIANG CHIAN, 314400
         CHINA
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.672    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                  $2,880.00
         HALLEY RESOURCES INC
         208 WEST 29TH ST RM 609                                                Contingent
         NEW YORK, NY 10001
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     OTHER TRADE

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




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                                                                                                                               Amount of claim


3.673    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $108,172.00
         HANA TEXTILE CO
         DANJI GIL 21 SEONGJI EUP                                           Contingent
         SEONGJI GUN GYUNGBUK,
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.674    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $7,911.64
         HANRO USA INC
         34 INDUSTRIAL WAY EAST, STE 3                                      Contingent
         EATONTOWN, NJ 07724
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.675    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $19.80
         HANSAE CO LTD
         YOUNGDEUNGPO-GU                                                    Contingent
         SEOUL, 07238
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.676    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $633.63
         HANSEL FROM BASEL
         970 N BROADWAY, STE 106                                            Contingent
         LOS ANGELES, CA 90012
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.677    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $793.60
         HANTRADE YARN&PIECE GOODS LTD
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.678    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $50,307.12
         HARBOR EAST PARCEL D RETAIL 2 LLC
         P.O. BOX 742224                                                      Contingent
         ATLANTA, GA 30374-2224
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   REAL ESTATE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.679    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $579.63
         HARBOR FREIGHT TOOLS
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.680    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,841.13
         HARGRAY COMMUNICATIONS
         P.O. BOX 100116                                                      Contingent
         COLUMBIA, SC 29202-3116
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                                 Amount of claim


3.681    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $4,333.92
         HARI MARI
         208 SOUTH HASKELL AVE                                                Contingent
         DALLAS, TX 75226
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.682    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $47,034.00
         HARLEY AND CO PETERHEAD LTD
         44-46 QUEEN ST                                                       Contingent
         PETERHEAD ABERDEENSHIRE, AB42 1TR
         UNITED KINGDOM
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.683    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $10,802.25
         HARTLAND BROOKLYN CORP
         P.O. BOX 225                                                         Contingent
         LEEDS, NY 12451
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.684    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $16,305.17
         HATCH COLLECTION LLC
         412 BROADWAY, 5TH FL                                                 Contingent
         NEW YORK, NY 10013
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.685    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,834.96
         HATTERAS PRESS INC
         56 PARK RD                                                         Contingent
         TINTON FALLS, NJ 07724
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.686    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $5,389.00
         HAUS INTERIOR LLC
         190 BEDFORD AVE, STE 89                                            Contingent
         BROOKLYN, NY 11249
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.687    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $251.47
         HAWAIIAN TELECOM
         P.O. BOX 30770                                                     Contingent
         HONOLULU, HI 96820-0770
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.688    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $14,568.75
         HC2 INC
         360 LEXINGTON AVE, 11TH FL                                         Contingent
         NEW YORK, NY 10017
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.689    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,022,424.16
         HCL TECHNOLOGIES CORPORATE
         AXON CENTER CHURCH RD                                              Contingent
         EGHAM, SY TW20 9QB
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.690    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $121,925.05
         HEADS UP INTERNATIONAL CORP
         12-1 31ST RD, TAICHUNG IND DIST                                    Contingent
         TAICHUNG, 407
         TAIWAN
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.691    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $390.00
         HEAVENLY PLANT SERVICE LLC
         665 NW 87TH TERRACE                                                Contingent
         PORTLAND, OR 97229
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.692    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $6,521.97
         HEDY LIMITED
         93 KING LAM ST                                                     Contingent
         CHEUNG SHA WAN, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.693    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $30,575.09
         HELP II LLC
         650 S EXETER ST, STE 200                                           Contingent
         BALTIMORE, MD 21202
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.694    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $300.00
         HERITAGE AFFAIRS LLC
         245 EIGHTH AVE 242                                                 Contingent
         NEW YORK, NY 10011
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.695    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $489.76
         HERITAGE CRYSTAL CLEAN INC
         13621 COLLECTIONS CENTER DR                                        Contingent
         CHICAGO, IL 60693-0136
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.696    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $366.35
         HERO COSMETICS LLC
         154 GRAND ST                                                       Contingent
         NEW YORK, NY 10013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.697    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $565.42
         HERSEY CLUTCH COMPANY
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.698    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $58,574.00
         HEWY WINE CHILLERS LLC
         P.O. BOX 547965                                                    Contingent
         ORLANDO, FL 32854
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.699    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $50,000.00
         HEYMAMACO INC
         97 N 10TH ST, 2ND FL                                               Contingent
         BROOKLYN, NY 11211
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.700    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $48,251.00
         HGREIT II EDMONSON ROAD LLC
         P.O. BOX 733538                                                    Contingent
         DALLAS, TX 75373-3538
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.701    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $576,884.18
         HI JEWEL CO LTD
         126-13 SANDANGUPYEONG GIL                                          Contingent
         IKSAN CITY, 54524
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.702    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $5,500.00
         HI SUGARPLUM
         8005 ROSEMONT DR                                                   Contingent
         PLANO, TX 75025
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.703    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,030.89
         HIGH PEAK SPORTSWEAR INC
         2323 MEMORIAL AVE, STE 17                                          Contingent
         LYNCHBURG, VA 24501
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.704    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $155,778.05
         HIGHLAND VILLAGE LIMITED
         P.O. BOX 732719                                                    Contingent
         DALLAS, TX 75373-2719
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.705    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $25,995.12
         HILLDALE SHOPPING CENTER LLC
         P.O. BOX 856572                                                     Contingent
         MINNEAPOLIS, MN 55485-6572
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.706    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                     $842.30
         HILTI INC
         P.O. BOX 11870                                                      Contingent
         NEWARK, NJ 07101-8800
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.707    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $3,130,078.11
         HING SHING LOOPING MANUFACTURING
         FLAT B, 10/F, WING TAI CENTRE                                       Contingent
         12 HING YIP ST
         KWUN TONG, KLN,
                                                                             Unliquidated
         HONG KONG                                                           Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.708    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                   $6,543.85
         HIP SING CHINA INDUSTRIAL LTD
         UNIT B-5 6/F BLK                                                    Contingent
         2 CAMEL PAINT HOI YUEN RD
         KWUN TONG, KLN,
                                                                             Unliquidated
         HONG KONG                                                           Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                                  Amount of claim


3.709    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $24,750.00
         HITACHI ID SYSTEMS INC
         500 1401 1ST ST SE                                                    Contingent
         CALGARY, AB T2G 2J3
         CANADA
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.710    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $557,189.79
         HMR JEWELRY CO LTD
         63 GIL 8 SHUNHUA RO IKSAN CITY                                        Contingent
         JEONBUK, 54629
         SOUTH KOREA
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.711    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                   UNKNOWN
         HMRC
                                                                            X Contingent
                                                                            X Unliquidated
                                                                            X Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    UNKNOWN

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.712    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $3,728,276.29
         HOI MENG SOURCING
         NO 371 EDIFICIO KENG OU 14 ANDAR D                                    Contingent
         EM MACAU
         MACAU
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                               Amount of claim


3.713    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,030.48
         HOME DEPOT
         254 LARKIN DR                                                      Contingent
         MONROE, NY 10950
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.714    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $48,509.21
         HOMESTEAD MATERIALS HANDLING
         P.O. BOX 757                                                       Contingent
         ST ALBANS, WV 25177
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.715    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $61,670.24
         HONEYDO FAMILY LLC
         61 WILTON RD                                                       Contingent
         WESTPORT, CT 06880
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.716    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $15,092.85
         HONGKONG RISE FOREVER CO LTD
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.717    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,313,518.03
         HONGKONG SALES LTD
         44-46 HUNG TO RD                                                     Contingent
         KWUN TONG, KLN
         HONG KONG
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.718    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                     $505.00
         HORIZON ENTERPRISE LTD
         G/F 39 SHEK KIP MEI ST SHAMSHUIPO                                    Contingent
         KOWLOON,
         HONG KONG
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.719    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $2,700.74
         HORRY COUNTY
         107 HIGHWAY 57 NORTH                                                 Contingent
         LITTLE RIVER, SC 29566
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.720    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                     $411.20
         HORRY TELEPHONE COOPERATIVE
         P.O. BOX 1819                                                        Contingent
         CONWAY, SC 29528-1819
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.721    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,193.46
         HOTWIRE BUSINESS SOLUTIONS
         P.O. BOX 57330                                                     Contingent
         PHILADELPHIA, PA 19111-7330
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.722    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $498,898.68
         HRC CORP
         156 FIFTH AVE                                                      Contingent
         NEW YORK, NY 10010
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.723    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $3,426.50
         HTI CORP
         12 DIGITAL-RO 22 GIL GURO-GU                                       Contingent
         SEOUL, 152-769
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.724    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $4,114.60
         HUAREN LINEN HK CO LTD
         UNIT 16/F TREASURE CENTRE                                          Contingent
         42 HUNG TO RD
         KWUN TONG, KLN,
                                                                            Unliquidated
         HONG KONG                                                          Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
                                                                                                                                 Amount of claim


3.725    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,128.00
         HUDSON VALLEY BREWERY LLC
         7 EAST MAIN ST                                                       Contingent
         BEACON, NY 12508
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.726    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $297.00
         HUNG YEN KNITTING & DYEING CO LTD
         NGHIA HIEP COMMUNE YEN MY DIST                                       Contingent
         HUNG YEN PROVINCE 162930
         VIETNAM
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.727    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $900.00
         HURT & PROFFITT INC
         2524 LANGHORNE RD                                                    Contingent
         LYNCHBURG, VA 24501
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.728    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $120.40
         HW TEXTILES CO LTD
         NO 3 HOI SHING RD, 31ST FL                                           Contingent
         UNIT A6, TML TOWER 3
         TSUEN WAN, NT,
                                                                              Unliquidated
         HONG KONG                                                            Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.729    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $30,697.90
         HWEAR LIMITED
         610 NATHAN RD                                                      Contingent
         MONGKOK KOWLOON,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.730    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $15,063.75
         HYBRID PROMOTIONS LLC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.731    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $517.16
         I CAN FIX IT FOR YOU
         224 WEST 35TH ST, STE 312                                          Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.732    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,453.20
         ICE A PLENTY INC
         726 SUNBURST RD                                                    Contingent
         LYNCHBURG, VA 24501
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.733    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $51,700.00
         ICR LLC
         761 MAIN AVE                                                       Contingent
         NORWALK, CT 06851
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.734    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 UNKNOWN
         IFC DEVELOPMENT LTD
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 UNKNOWN

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.735    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $6,531.58
         IHEALTH LABS INC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.736    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $231,040.00
         IKIGAI INC
         11 POPLAR DR                                                       Contingent
         CRANBURY, NJ 08512
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.737    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $204,201.20
         ILLUME HOLDING COMPANY LLC
         P.O. BOX 74008742                                                  Contingent
         CHICAGO, IL 60674-8742
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.738    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $7,100.00
         ILLUSTRATION DIVISION INC
         1123 BROADWAY, STE 807                                             Contingent
         NEW YORK, NY 10011
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.739    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $135,328.20
         IMG MODELS
         304 PARK AVE SOUTH                                                 Contingent
         NEW YORK, NY 10010
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.740    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $87,942.94
         IMI MSW LLC
         P.O. BOX 846133                                                    Contingent
         DALLAS, TX 75284-6133
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.741    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,520.00
         IN STYLE USA INC
         307 WEST 36TH ST                                                   Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.742    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $126.31
         IN THE RUSHIES
         194 EDGAR ST                                                       Contingent
         ASHEVILLE, NC 28806
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.743    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $220.00
         IN TOMS SONS INTERNATIONAL
         327 W 36TH ST, STE 400                                             Contingent
         NEW YORK, NY 10018
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.744    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,000.00
         INDEED INC
         P.O. BOX 660367                                                    Contingent
         DALLAS, TX 75266-0367
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.745    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $5,650.00
         INDRA LARSSEN LLC
         228 PARK AVE S, STE 34985                                          Contingent
         NEW YORK, NY 10003
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.746    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,621.62
         INDUSTRIAL BATTERY
         P.O. BOX 63369                                                     Contingent
         CHARLOTTE, NC 28263-3369
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.747    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $2,239.78
         INDUSTRIAL TEXTIL DE PUEBLA
         CALLE C NO 11                                                      Contingent
         PARQUE INDUSTRIAL PUEBLA 2000
         MEXICO
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.748    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $4,800.00
         INDUSTRY MODEL GROUP LC
         59 CHELSEA PIERS, 3RD FL                                           Contingent
         NEW YORK, NY 10011
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.749    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                   $5,139.63
         INFORM SYSTEMS DATA DOCUMENTS
         P.O. BOX 1588                                                       Contingent
         ARDEN, NC 28704
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.750    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                       $2.24
         INLAND US MANAGEMENT LLC
         13068 COLLECTIONS CENTER DR                                         Contingent
         CHICAGO, IL 60693
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.751    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $398,116.89
         INMAR SUPPLY CHAIN SOLUTIONS LLC
         1821 COUNTY LINE RD                                                 Contingent
         PLANT CITY, FL 33566
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.752    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $2,220,128.44
         INT S.A.
         CALZADA ROOSEVELT 22-43 ZONA 11                                     Contingent
         EDIFICIO TIKAL FUTURA
         GUATEMALA CITY,
                                                                             Unliquidated
         GUATEMALA                                                           Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                                Amount of claim


3.753    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $3,295.69
         INTELLIGRATED SYSTEMS LLC
         7901 INNOVATION WAY                                                 Contingent
         MASON, VA 45040-9498
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.754    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $3,514.66
         INTENTIONALLY BLANK
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.755    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                   $758.33
         INTER TRADE SYSTEMS INC
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.756    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $781,906.48
         INTERFAB SHIRT MANUFACTURING LTD
         PLOT-302/547, KUNIA, GASA UNION                                     Contingent
         GAZIPUR SADAR, DHAKA, BANGLADESH
         BANGLADESH
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                                Amount of claim


3.757    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                UNKNOWN
         INTERFAB SHIRT MANUFACTURING LTD
         PLOT-302/547, KUNIA, GASA UNION                                  X Contingent
         GAZIPUR SADAR, DHAKA, BANGLADESH
         BANGLADESH
                                                                          X Unliquidated
                                                                          X Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  UNKNOWN

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
         4991
                                                                               No
                                                                               Yes




3.758    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $2,470.00
         INTERNATIONAL INTEGRATED
         137 COMMERICAL ST, STE 100                                          Contingent
         PLAINVIEW, NY 11803
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.759    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $40,578.17
         INTERNATIONAL SOS ASSISTANCE INC
         3600 HORIZON BLVD, STE 300                                          Contingent
         TREVOSE, MA 19053
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.760    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                     $7.19
         INTERNATIONAL TRANSACTION FEES
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                                Amount of claim


3.761    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $72,992.80
         INTERSHOES NEGOCIOS
         AVENIDA PAULO VI 1200                                               Contingent
         FRANCA, 14403-143
         BRAZIL
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.762    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $2,449.02
         INTERTEK TESTING SERVICES HK LTD
         2/F, GARMENT CENTRE                                                 Contingent
         576 CASTLE PEAK RD
         CHEUNG SHA WAN,
                                                                             Unliquidated
         HONG KONG                                                           Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.763    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $109,352.32
         INTEVI INC
         1250 BROADWAY, 36TH FL                                              Contingent
         NEW YORK, NY 10001
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.764    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                   $553.99
         INTEX
         A 61, TURN RD, OKHLA PHASE II                                       Contingent
         S-13 OKHLA INDUSTRIAL AREA
         NEW DELHI, 110020
                                                                             Unliquidated
         INDIA                                                               Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.765    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $3,816.44
         INTIFIL SA
         NEUHOFSTRASSE 10                                                   Contingent
         SCHINDELLEGI, CH-8834
         SWITZERLAND
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.766    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $725.75
         INTOXIMETERS
         2081 CRAIG RD                                                      Contingent
         ST. LOUIS, MO 63146
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.767    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $370.00
         INTUILAB SA
         2460 VOIE L'OCCITANE                                               Contingent
         REGENT PARK II
         BAT 2
                                                                            Unliquidated
         LABÈGE, 31670                                                      Disputed
         FRANCE
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.768    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $215,932.80
         INX TECHONOLOGIES INC
         515 PLAINFIELD AVE 2                                               Contingent
         EDISON, NJ 08817
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.769    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $111,657.67
         IPS PACKAGING CORP
         P.O. BOX 2009                                                      Contingent
         FOUNTAIN INN, SC 29644
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.770    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,400.00
         IRIS KIM
         164 PINE ST                                                        Contingent
         NEW HYDE PARK, NY 11040
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.771    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $4,179.81
         IRIS TABORSKY TASA LLC
         100 GREENPOINT AVE, APT 3R                                         Contingent
         BROOKLYN, NY 11222
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.772    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,089.17
         IRL SYSTEMS INC
         1650 BATH AVE                                                      Contingent
         BROOKLYN, NY 11214
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.773    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $36,087.83
         IRON MOUNTAIN
         P.O. BOX 27129                                                     Contingent
         NEW YORK, NY 10087-7129
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.774    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $3,765.04
         ISA TAPIA
         611 BROADWAY, STE 818                                              Contingent
         NEW YORK, NY 10012
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.775    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $529,857.82
         ISP PAINTING INC
         4003 PLAINFIELD - NAPERVILLE RD                                    Contingent
         NAPERVILLE, IL 60564
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.776    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $220,545.24
         IST MANAGEMENT SERVICES INC
         934 GLENWOOD AVE, STE 250                                          Contingent
         ATLANTA, GA 30316-1816
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.777    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $6,718.70
         ITOCHU TEXTILE PROMINENT (ASIA)
         A, UNIT 2118 21/F MIRA PL TOWER                                    Contingent
         132 NATHAN RD
         TSIM SHA TSUI, KLN,
                                                                            Unliquidated
         HONG KONG                                                          Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.778    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,167.64
         J OBRIEN CO INC
         40 COMMERCE ST                                                     Contingent
         SPRINGFIELD, NJ 07081
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.779    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $4,239.00
         J T MAGEN & COMPANY INC
         44 WEST 28TH ST, 11TH FL                                           Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.780    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:           $156,874,766.88
         J. CREW BRAND, LLC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 INTERCOMPANY PAYABLE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                   Amount of claim


3.781    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $9,833,333.11
         J. CREW DOMESTIC BRAND, LLC
         225 LIBERTY ST, 17TH FL                                                Contingent
         NEW YORK, NY 10281
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     INTERCOMPANY PAYABLE

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.782    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $2,314,228.74
         J. CREW FRANCE SAS
                                                                                Contingent
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     INTERCOMPANY PAYABLE

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.783    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $3,091,511.28
         J. CREW HONG KONG LIMITED
         1401 HUTCHISON HOUSE                                                   Contingent
         10 HARCOURT RD
         HONG KONG
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     INTERCOMPANY PAYABLE

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.784    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:            $49,528,538.31
         J. CREW HONG KONG SERVICES, LIMITED
                                                                                Contingent
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     INTERCOMPANY PAYABLE

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




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                                                                                                                               Amount of claim


3.785    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,918,633.67
         J. CREW INTERNATIONAL, INC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 INTERCOMPANY PAYABLE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.786    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:            $38,247,956.54
         J. CREW NETHERLANDS C.V.
         770 BROADWAY                                                       Contingent
         10TH FL
         NEW YORK, NY 10003-9512
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 INTERCOMPANY PAYABLE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.787    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $29,155.75
         J. CREW SOURCING ASIA, LIMITED
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 INTERCOMPANY PAYABLE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.788    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $4,876,784.09
         J. CREW U.K. LIMITED
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 INTERCOMPANY PAYABLE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.789    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $92,743.50
         JACOBSON GROUP USA LLC
         530 7TH AVE, STE 1404                                                Contingent
         NEW YORK, NY 10018
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.790    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,571,811.63
         JADE KNITTING & GARMENT FACTORY
         BLK A-D 3/F WAH HING IND MANSIONS                                    Contingent
         36 TAI YAU ST
         SANPOKONG, KLN,
                                                                              Unliquidated
         HONG KONG                                                            Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.791    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $44,363.00
         JAG MODELS INC
         154 WEST 14TH ST, 2ND FL                                             Contingent
         NEW YORK, NY 10011
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.792    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $54,661.23
         JAMESTOWN PCM MASTER TENANT LP
         P.O. BOX 531614                                                      Contingent
         ATLANTA, GA 30353-1614
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   REAL ESTATE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.793    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $42,026.34
         JAMESTOWN PREMIER BERKELEY
         P.O. BOX 39000                                                     Contingent
         DEPT 35113
         SAN FRANCISCO, CA 94139
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.794    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $10,255.95
         JASON MARKK INC
         353 S BROADWAY, STE 300                                            Contingent
         LOS ANGELES, CA 90013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.795    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $260,087.44
         JBC CONNECT CA LLC
         108 WEST 39TH ST, 7TH FL                                           Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.796    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $12,211.87
         JC RENNIE & CO LTD
         MILLADEN MILL                                                      Contingent
         MINTLAW ABERDEENSHIRE, AB42 5DF
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.797    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $156.75
         JE WOONG COMPANY LIMITED
         8 HOK CHEUNG ST                                                    Contingent
         HUNG HOM,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.798    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $107,298.58
         JEMALS ATLANTIC LLC
         P.O. BOX 714435                                                    Contingent
         CINCINNATI, OH 45271-4435
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.799    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $79,006.00
         JENN KARAKKAL CONSULTING LLC
         105 DUANE ST 51D                                                   Contingent
         NEW YORK, NY 10007
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.800    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,900.90
         JENNIFER RIGGS
         3607 W CLEMENT RD                                                  Contingent
         BOISE, ID 83704
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                  Amount of claim


3.801    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $8,975.13
         JEREMY JACOB SCHLANGEN
         174 FRANKLIN ST, APT 3                                                Contingent
         BROOKLYN, NY 11222
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.802    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $172,671.48
         JERSEY SHORE PREMIUM OUTLETS LLC
         SIMON PROPERTY GROUP, INC                                             Contingent
         ATTN: PREMIUM OUTLETS
         INDIANAPOLIS, IN 46204
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    REAL ESTATE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.803    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                   $153.38
         JESSE WHITE SECRETARY OF STATE
                                                                               Contingent
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.804    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $10,822.00
         JIANGSU GUOTAI HUASHENG
         16/F-22/F,GUOTAI NEW CENTURY SQ, NO 125                               Contingent
         MIDDLE RENMIN RD
         CHINA
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                                  Amount of claim


3.805    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $37,011.23
         JIANGSU SANHE SHOE & GARMENTS
         2 LITONG RD JINHU COUNTY                                              Contingent
         HUAI AN CITY JIANGSU PROVINCE, 100
         CHINA
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.806    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $1,442.48
         JIANGSU SOIPOI CO LTD
         NO 113 SHAZHOU WEST RD                                                Contingent
         ZHANGJIAGANG, 100 215600
         CHINA
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.807    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $925,019.05
         JIING SHENG KNITTING CO LTD
         11F, 376 JEN AI RD, SEC 4                                             Contingent
         TAIPEI, 10693
         TAIWAN
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.808    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $108,288.41
         JINTAI CHITUAN THAILAND CO LTD
         7 RAMKHAMHAENG RD                                                     Contingent
         HUA MAK, BANG KAPI, 10240
         THAILAND
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                                Amount of claim


3.809    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $15,240.50
         JK SOURCING COMPANY LIMITED
         29 TAI YAU ST, STE 1407                                             Contingent
         SAN PO KONG, KLN
         HONG KONG
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.810    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $6,623.00
         JKD STUDIO LLL INC
         83 CANAL ST ROOM 408                                                Contingent
         NEW YORK, NY 10002
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.811    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $12,905.27
         JOHN MINI DISTINCTIVE LANDSCAPES
         250 BRENNER DR                                                      Contingent
         CONGERS, NY 10920
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.812    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $4,000.00
         JOHN PEREZ LOCATIONS INC
         322 WEST 52ND ST, STE 339                                           Contingent
         NEW YORK, NY 10019
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                                Amount of claim


3.813    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $1,750.00
         JOHN SCOTT GILBREATH
         20 EXCHANGE PL 2507                                                 Contingent
         NEW YORK, NY 10005
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.814    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $348.00
         JOHNS PRO WINDOW CLEANING
         733 E AIRPORT AVE, STE 205                                          Contingent
         BATON ROUGE, LA 70806
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.815    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $9,383.86
         JOHNSON CONTROLS FIRE PROTECTION
         DEPT CH 10320                                                       Contingent
         PALATINE, IL 60055-0321
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.816    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $16,253.22
         JONES LANG LASALLE BROKERAGE INC
         95661 TREASURY CENTER DR                                            Contingent
         CHICAGO, IL 60694-5661
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.817    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $75.07
         JOOLZ USA INC
         228 EAST 45TH ST, STE 9E                                           Contingent
         NEW YORK, NY 10017
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.818    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $39,827.81
         JORDAN LAWRENCE GROUP L C
         702 SPIRIT 40 PARK DR, STE 100                                     Contingent
         CHESTERFIELD, MO 63005
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.819    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                UNKNOWN
         JOSEPH LTD.
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 UNKNOWN

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.820    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,800.00
         JOSEPH WILLIAMS
         331 SUMMER ST, UNIT 1                                              Contingent
         SOMERVILLE, MA 02144
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.821    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $23,125.06
         JPMA GLOBAL INC
         7335 HENRI BOURASSA EAST                                           Contingent
         MONTREAL, QC H1E 3T5
         CANADA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.822    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $305,735.45
         JPPF DC HOLDING REIT INC
         P.O. BOX 37722                                                     Contingent
         BALTIMORE, MD 21297-3722
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.823    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $110,045.40
         JSP ELECTRICAL CONTRACTING CORP
         178 INDUSTRIAL LOOP                                                Contingent
         STATEN ISLAND, NY 10309
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.824    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $230,386.00
         JU XIN CANG COMPANY LIMITED
         HENNESSY RD WANCHAI                                                Contingent
         HONG KONG,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.825    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,327.96
         KAANAS LLC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.826    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $800.00
         KALE WILLIAMS STUDIO LLC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.827    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $43,950.15
         KALEIDOSCOPE CONCEPTS INC
         501 FIFTH AVE, STE 2112A                                           Contingent
         NEW YORK, NY 10017
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.828    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $33,052.50
         KARHU NORTH AMERICA LLC
         100 CUMMINGS CENTER, STE 365E                                      Contingent
         BEVERLY, MA 07915
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.829    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $5,685.82
         KATE RYAN INC
         526 WEST 26TH ST LOFT 5D                                           Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.830    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,000.00
         KATRINA DICKSON
         3245 WEST CASITAS AVE 116                                          Contingent
         LOS ANGELES, CA 90039
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.831    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $91,583.99
         KATSU KAWASAKI INC
         110 EAST 25TH ST, 2ND FL                                           Contingent
         NEW YORK, NY 10010
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.832    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $9,274.07
         KAYU DESIGN INC
         1513 S CLAREMONT ST                                                Contingent
         SAN MATEO, CA 94402
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.833    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $8,206.25
         KEANE
         450 SEVENTH AVE, STE 1707                                          Contingent
         NEW YORK, NY 10123
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.834    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $49,965.34
         KEIL SONOMA CORP
         244 KEARNY ST, 3RD FL                                              Contingent
         SAN FRANCISCO, CA 94108
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.835    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $46.00
         KELLY CARES FOUNDATION
         1251 N EDDY ST, STE 200                                            Contingent
         SOUTH BEND, IN 46617
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.836    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $5,000.00
         KELLY LARKIN
         1720 NORTH BURLING ST                                              Contingent
         CHICAGO, IL 60614
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.837    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $259.25
         KELLY SERVICES INC
         P.O. BOX 820405                                                    Contingent
         PHILADELPHIA, PA 19182-0405
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.838    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $34,861.20
         KENT KNITTERS LTD
         12 NG FONG ST                                                      Contingent
         SAN PO KONG, KOWLOON
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.839    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $5,429,225.80
         KEPLER GROUP LLC
         6 E 32ND ST, 9TH FL                                                Contingent
         NEW YORK, NY 10016
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.840    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $795.00
         KEVIN CHEE
         1262 TABOR CT                                                      Contingent
         BROOKLYN, NY 11219
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.841    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $6,670.58
         KEYSTONE FLORIDA PROPERTY
         P.O. BOX 71345                                                     Contingent
         CHICAGO, IL 60694-1345
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.842    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $26,962.03
         KIBO SOFTWARE INC
         75 REMITTANCE DR SEPT 6588                                         Contingent
         CHICAGO, IL 60675-6588
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.843    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $45,846.70
         KIERLAND COMMONS INVESTMENT LLC
         P.O. BOX 31001-2151                                                Contingent
         PASADENA, CA 91110-2151
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.844    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,540.00
         KING OF PRUSSIA ASSOCIATES
         160 NORTH GULPH RD                                                 Contingent
         KING OF PRUSSIA, PA 19406
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                      Amount of claim


3.845    Nonpriority creditor's name and mailing address                       As of the petition filing date, the claim is:                $332,809.44
         KING OF PRUSSIA ASSOCIATES
         160 NORTH GULPH RD                                                        Contingent
         KING OF PRUSSIA, PA 19406
                                                                                   Unliquidated
                                                                                   Disputed
                                                                                Basis for the claim:
         Date or dates debt was incurred                                        REAL ESTATE

         Unknown
         Last 4 digits of account number                                        Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




3.846    Nonpriority creditor's name and mailing address                       As of the petition filing date, the claim is:                 $44,566.50
         KINGS FOOTWEAR LIMITED
         95 QUEENSWAY                                                              Contingent
         ADMIRALTY HONG KONG
         CHINA
                                                                                   Unliquidated
                                                                                   Disputed
                                                                                Basis for the claim:
         Date or dates debt was incurred                                        MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                        Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




3.847    Nonpriority creditor's name and mailing address                       As of the petition filing date, the claim is:                  $9,522.66
         KINGSTEX INDUSTRIES LIMITED
         UNIT 2, 4/F, HENLEY INDUSTRIAL CENTRE,                                    Contingent
         9-15 BUTE ST
         MONGKOK, KOWLOON,
                                                                                   Unliquidated
         HONG KONG                                                                 Disputed
                                                                                Basis for the claim:
         Date or dates debt was incurred                                        MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                        Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




3.848    Nonpriority creditor's name and mailing address                       As of the petition filing date, the claim is:                  $3,900.00
         KIRSTY MCDOUGALL TEXTILE DESIGN
         18-24 SHACKLEWELL LN, 1ST FL, C1                                          Contingent
         LONDON, GB E82EZ
         UNITED KINGDOM
                                                                                   Unliquidated
                                                                                   Disputed
                                                                                Basis for the claim:
         Date or dates debt was incurred                                        OTHER TRADE

         Unknown
         Last 4 digits of account number                                        Is the claim subject to offset?
                                                                                     No
                                                                                     Yes




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                                                                                                                               Amount of claim


3.849    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $122,155.00
         KITTERY PREMIUM OUTLETS LLC
         P.O. BOX 827730                                                    Contingent
         PHILADELPHIA, PA 19182-7730
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.850    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $37,500.00
         KMO-361 MANHASSET LLC
         P.O. BOX 304                                                       Contingent
         DEPT 5000
         EMERSON, NJ 07630
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.851    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $5,600.00
         KNEELAND CO
         1405 MACBETH ST                                                    Contingent
         LOS ANGELES, CA 90026
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.852    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,160.00
         KNIGHT'S TAILORING LLC
         8701 KEYSTONE XING, STE 12                                         Contingent
         INDIANAPOLIS, IN 46240
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.853    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,007,228.97
         KNIT SOURCES INTERNATIONAL LTD
         8 CHEUNG YUE ST                                                    Contingent
         CHEUNG SHA WAN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.854    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $12,325.00
         KNOCK OUT MEDIA LLC
         32 LAKESIDE DR                                                     Contingent
         WESTON, CT 06883
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.855    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $10,599.85
         KNOLL YARNS LIMITED
         1 WELLS RD ILKLEY                                                  Contingent
         WEST YORKSHIRE, LS29 9JB
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.856    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,204,003.56
         KNT LIMITED
         120-124 TEXACO RD                                                  Contingent
         TSUEN WAN, NT 999077
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.857    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $19,610.12
         KOIO COLLECTIVE INC
         41 WOOSTER ST, 3RD FL                                              Contingent
         NEW YORK, NY 10013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.858    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $4,800.00
         KOLLEKTIV MANAGEMENT
         25 BRUCKNER BLVD 5M                                                Contingent
         BRONX, NY 10454
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.859    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $45,698.93
         KOMAR INTIMATES LLC
         P.O. BOX 5227                                                      Contingent
         NEW YORK, NY 10087-5227
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.860    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $4,719.95
         KONG FONG TEXTILE GROUP CO LTD
         NO 1471 GUMEI RD, STE 305                                          Contingent
         SHANGHAI, 201102
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.861    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,249.21
         KORE SWIM LLC
         1323-A E ST GERTRUDE PL                                            Contingent
         SANTA ANA, CA 92705
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.862    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $14,168.06
         KORN FERRY HAY GROUP INC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.863    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $11,079.00
         KPMG LLP
         P.O. BOX 7777                                                      Contingent
         PHILADELPHIA, PA 19175-4210
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.864    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $37,459.98
         KRE COLONIE OWNER LLC
         P.O. BOX 28477                                                     Contingent
         NEW YORK, NY 10087-8477
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.865    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $46,247.68
         KRG RIVERS EDGE LLC
         P.O. BOX 752                                                       Contingent
         INDIANAPOLIS, IN 46206
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.866    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $4,080.00
         KRUGLIAK WILKINS GRIFFITHS &
         4775 MUNSON ST NW                                                  Contingent
         CANTON, OH 44718
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.867    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $3,215.00
         KURABO INDUSTRIES LTD
         2-4-31 KYUTARO-MACHI                                               Contingent
         CHUO-KU OSAKA, 5418581
         JAPAN
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.868    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $7,461,618.49
         KYUNG SEUNG CO LTD
         408 SAMSEONGRO GANGNAMGU                                           Contingent
         SEOUL,
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.869    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $738,379.16
         KYUNGWON TRADING CORP
         860 PALBONG-DONG IKSAN CITY                                          Contingent
         JEOLLABUK-DO KOREA, 570-998
         SOUTH KOREA
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.870    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $3,484.00
         L&M ARCHITECTURAL GRAPHICS INC
         20 MONTESANO RD                                                      Contingent
         FAIRFIELD, NJ 07004
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.871    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $129,843.14
         LA CANTERA RETAIL LTD PARTNERSHIP
         SDS-12-2532                                                          Contingent
         P.O. BOX 86
         MINNEAPOLIS, MN 55486-2532
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   REAL ESTATE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.872    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $4,702.20
         LAI TAK ENTERPRISES LTD
         39 WANG CHIU RD                                                      Contingent
         KOWLOON BAY, KLN
         HONG KONG
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.873    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $239.40
         LAI WING KEE CLOTH FACTORY LTD
         66-82 CHAI WAN KOK ST                                              Contingent
         TSUEN WAN, NT
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.874    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,526.00
         LAKE & ASHLAND LLC
         333 SKOKIE BLVD, STE 111                                           Contingent
         NORTHBROOK, IL 60062
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.875    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $220.00
         LAKESIDE PRESBYTERIAN PRESCHOOL
         2690 DIXIE HIGHWAY                                                 Contingent
         LAKESIDE PARK, KY 41017
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.876    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $17,408.85
         LALALAND ARTISTS LLC
         548 WEST 28TH ST, STE 640                                          Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.877    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $15,439.67
         LALIBELO LLC
         247 CENTRE ST, 6TH FL, STE 14                                      Contingent
         NEW YORK, NY 10013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.878    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $110,303.30
         LALIRE MARCH ARCHITECTS LLP
         630 9TH AVE, STE 900                                               Contingent
         NEW YORK, NY 10036
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.879    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $493.00
         LAMPETER STRASBURG SCHOOL
         P.O. BOX 428                                                       Contingent
         LAMPETER, PA 17537
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.880    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,144.50
         LANIFICIO COMATEX SPA
         VIA TERNI 3/5                                                      Contingent
         OSTE MONTEMURLO, PO 59013
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.881    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,447.47
         LANIFICIO DELL'OLIVO SPA
         VIA FRATEELI CERVI 84                                              Contingent
         CAMPI BISENZIO, FI 50013
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.882    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $99.69
         LANIFICIO NELLO GORI SPA
         VIA PALERMO 35                                                     Contingent
         MONTEMURLO, PO 59013
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.883    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $28,279.00
         LARONE CRAFTS INC
         89933 ARANGA ST                                                    Contingent
         MAKATI CITY, 1203
         PHILIPPINES
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.884    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,600.00
         LARS NORD STUDIO INC
         203 WEST 23RD ST, 4TH FL                                           Contingent
         NEW YORK, NY 10011
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.885    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $58,596.89
         LAS VEGAS NORTH OUTLETS LLC
         P.O. BOX 827724                                                    Contingent
         PHILADELPHIA, PA 19182-7724
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.886    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $11,578.39
         LASALLE SOLUTIONS
         9550 W HIGGINS RD, STE 600                                         Contingent
         ROSEMONT, IL 60018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.887    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $225.30
         LAURA KEISLING COLLECTOR
         550 WASHINGTON RD                                                  Contingent
         WASHINGTON, PA 15301
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.888    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $360.00
         LAZ PARKING
         15 LEWIS ST                                                        Contingent
         HARTFORD, CT 06103
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                   Amount of claim


3.889    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $9,556.69
         LDS SPA
         VIA G INGHIRAMI 13                                                     Contingent
         PRATO, 59100
         ITALY
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.890    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $65,941.96
         LEBCON ASSOCIATES LTD
         P.O. BOX 5559                                                          Contingent
         CAROL STREAM, IL 60197-5559
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     REAL ESTATE

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.891    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $1,500.00
         LEE MEIROWITZ
         30 MAIN ST, APT 7G                                                     Contingent
         BROOKLYN, NY 11201
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     OTHER TRADE

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.892    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $1,861.20
         LEEDS RETAIL CENTER LLC
         6200 GRAND RIVER BLVD EAST, STE 446                                    Contingent
         LEEDS, AL 35094
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     REAL ESTATE

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




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                                                                                                                                Amount of claim


3.893    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $96,207.27
         LEGACY PLACE PROPERTIES LLC
         P.O. BOX 782697                                                     Contingent
         PHILADELPHIA, PA 19178-2697
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.894    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $11,617.71
         LEGACY WEST INVESTORS LP
         60 SOUTH MARKET ST, STE 1120                                        Contingent
         SAN JOSE, CA 95113
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.895    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $13,582.08
         LEMON LLC
         424 NW 45TH ST                                                      Contingent
         SEATTLE, WA 98107
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.896    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $450.00
         LENNOX NATIONAL ACCOUNT SERVICES
         3511 NE 22ND AVE                                                    Contingent
         FT LAUDERDALE, FL 33308
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.897    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $655.93
         LES GAMINS
         196 UNION ST                                                       Contingent
         BROOKLYN, NY 11231
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.898    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,383.75
         LET THERE BE NEON CTY INC
         38 WHITE ST                                                        Contingent
         NEW YORK, NY 10013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.899    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $644.72
         LEWIS LLC
         254 36TH ST, STE C-446                                             Contingent
         BROOKLYN, NY 11232
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.900    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $10,542.19
         LEXMARK INT'L
         740 NEW CIR RD NW                                                  Contingent
         LEXINGTON, KY 40550
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.901    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $81,942.98
         LF CENTENNIAL PTE LTD
         10 RAEBURN PARK 03-08 BLOCK A                                        Contingent
         SINGAPORE, 088702
         SINGAPORE
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.902    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $119,401.27
         LF CENTENNIAL PTE LTD COMMISSIONS
         10 RAEBURN PARK 03-08 BLOCK A                                        Contingent
         SINGAPORE, 088702
         SINGAPORE
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.903    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $2,000.00
         LF CENTENNIAL PTE LTD MERCHANDISE
         10 RAEBURN PARK 03-08 BLOCK A                                        Contingent
         SINGAPORE, 088702
         SINGAPORE
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.904    Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $1,547.32
         LGA BEAUTY LLC
         195 BROADWAY, 4TH FL 419                                             Contingent
         BROOKLYN, NY 11211
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                                  Amount of claim


3.905    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $1,244.60
         LIBERTY FABRIC LTD
         REGENT ST                                                             Contingent
         LONDON WIB 5AH,
         UNITED KINGDOM
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.906    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                   $435.33
         LIBERTY MUTUAL GROUP
         P.O. BOX 7247-0109                                                    Contingent
         PHILADELPHIA, PA 19170-0109
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.907    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 UNKNOWN
         LIBERTY MUTUAL INSURANCE CO
                                                                            X Contingent
                                                                            X Unliquidated
                                                                            X Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    UNKNOWN

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.908    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $113,371.37
         LIBERTY PLACE RETAIL ASSOCIATES LP
         24408 NETWORK PL                                                      Contingent
         CHICAGO, IL 60673-1408
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    REAL ESTATE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                                Amount of claim


3.909    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                   $631.00
         LIFESTORAGE
         6467 MAIN ST                                                        Contingent
         WILLIAMSVILLE, NY 14221
         WILLIAMSVILLE, NY 14221
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.910    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $48,577.36
         LIGHTHOUSE PLACE PREMIUM OUTLETS
         P.O. BOX 827749                                                     Contingent
         PHILADELPHIA, PA 19182-7749
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.911    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                   $310.46
         LIGHTSTAT INCORPORATED
         22 W WEST HILL RD                                                   Contingent
         BARKHAMSTED, CT 06063
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.912    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $414,860.27
         LIH SHYUAN ENTERPRISES CO LTD
         4148 3F, 96 CHANG SHOU ST                                           Contingent
         SAN CHUNG CITY TAIPEI, 241
         TAIWAN
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.913    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,000.00
         LILY TORCH LLC
         671 WATSON HOLLOW RD                                               Contingent
         WEST SHOKAN, NY 12494
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.914    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $96,000.00
         LINKEDIN CORP
         1000 W MAUDE                                                       Contingent
         SUNNYVALE, CA 94085
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.915    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $34,560.00
         LIVE PERSON INC
         27260 NETWORK PL                                                   Contingent
         CHICAGO, IL 60673-1272
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.916    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $66,448.20
         LIVERMORE PREMIUM OUTLETS LLC
         2696 SOLUTION CENTER                                               Contingent
         CHICAGO, IL 60677-2006
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.917    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $117,270.15
         LK JEWELRY CO LTD
         628 OPUSB/D, 611-26 GURO-DONG GURO-GU                               Contingent
         SEOUL, 152-865
         SOUTH KOREA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.918    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                 $23,997.04
         LOCKNET LLC
         800 JOHN C WATTS                                                    Contingent
         NICHOLASVILLE, KY 40356
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.919    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                   $300.00
         LOLA NEW YORK LOS ANGELES INC
         180 VARICK ST, STE 1124                                             Contingent
         NEW YORK, NY 10014
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.920    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                   $143.50
         LOLI BEAUTY
         335 MADISON AVE, 3RD FL                                             Contingent
         NEW YORK, NY 10017
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.921    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,600.00
         LOLO STUDIOS LLC
         36 DAHILL RD, APT 4G                                               Contingent
         BROOKLYN, NY 11218
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.922    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $13,944.35
         LORO PIANA SPA
         108 WEST 39TH ST                                                   Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.923    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $20,000.00
         LOT NETWORK INC
         2055 E WARNER RD, STE 101                                          Contingent
         TEMPE, AZ 85284
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.924    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $36,180.30
         LOUISVILLE OUTLET SHOPPES LLC
         P.O. BOX 809264                                                    Contingent
         CHICAGO, IL 60680-9264
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.925    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $35,402.24
         LOWE AND CO
         3435 E THOUSAND OAKS BLVD                                          Contingent
         THOUSAND OAKS, CA 91359
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.926    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,577.00
         LOWER MERION TOWNSHIP
         75 E LANCASTER AVE                                                 Contingent
         ARDMORE, PA 19003
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.927    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,942.10
         LOWES OF BROOKLYN 1674
         118 2ND AVE                                                        Contingent
         BROOKLYN, NY 11215-3811
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.928    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $47,546.18
         LRC NORTHWAY MALL
         1585 FREDERICK BLVD                                                Contingent
         AKRON, OH 44320
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.929    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $5,600.00
         LU THAI TEXTILE CO LTD
         NO97 SONGLING EAST RD                                              Contingent
         ZICHUAN ZIBO, 120
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.930    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $1,380.00
         LUCY LIANG
         1262 62ND ST                                                       Contingent
         BROOKLYN, NY 11219
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.931    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,225,757.60
         LUEN THAI OVERSEAS MACAO
         RMS 1001-1005,10/F, NANYANG PLZ                                    Contingent
         57 HUNG TO RD
         KWUN TONG, KOWLOON,
                                                                            Unliquidated
         HONG KONG                                                          Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.932    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $12,515.16
         LUNYA COMPANY
         1032 BROADWAY                                                      Contingent
         SANTA MONICA, CA 90401
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.933    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $17,656.50
         LYNCHBURG PUBLIC WAREHOUSE LLC
         554 CRAGHEAD ST, STE 100                                           Contingent
         DANVILLE, VA 24541
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.934    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                     $327.00
         LYNCHBURG SPECIALTY ENGRAVING
         3018 MEMORIAL AVE                                                  Contingent
         LYNCHBURG, VA 24501
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.935    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $9,932.92
         M B HAYNES CORP
         P.O. BOX 16589                                                     Contingent
         ASHEVILLE, NC 28816
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.936    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,031,651.05
         M&V MACAO COMM OFF LTD
         11 AUDAR C                                                         Contingent
         599 AVE DA PRAIA GRANDE
         MACAO, 999078
                                                                            Unliquidated
         CHINA                                                              Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.937    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                    $45.00
         MAAK LAB
         916 W BURNSIDE ST                                                  Contingent
         PORTLAND, OR 97209
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.938    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $2,570.01
         MABO CLOTHIER INC
         925 EAST 900 SOUTH 101                                             Contingent
         SALT LAKE CITY, UT 84108
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.939    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $233,144.20
         MACERICH HHF BROADWAY PLAZA LLC
         MANGEMENT OFFICE                                                   Contingent
         ATTN: CENTER MANAGER
         WALNUT CREEK, CA 94596
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.940    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $116,898.44
         MACERICH HHF CENTERS LLC
         P.O. BOX 511308                                                    Contingent
         LOS ANGELES, CA 90051-7863
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.941    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $21,268.66
         MACERICH OAKS LP
         P.O. BOX 849428                                                     Contingent
         LOS ANGELES, CA 90084-9428
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.942    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $46,678.98
         MACERICH SCG LIMITED PARTNERSHIP
         P.O. BOX 843529                                                     Contingent
         LOS ANGELES, CA 90084-3529
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.943    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                $20,632.94
         MACERICH TWENTY NINTH ST LLC
         P.O. BOX 511308                                                     Contingent
         LOS ANGELES, CA 90051-7863
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.944    Nonpriority creditor's name and mailing address                 As of the petition filing date, the claim is:                  $600.00
         MACKINNEY SYSTEMS INC
         4411 E STATE HWY D, STE F                                           Contingent
         SPRINGFIELD, MO 65809
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.945    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,015.24
         MADE MODERN LLC
         1527 FRANKLIN AVE, STE LL-1                                        Contingent
         MINEOLA, NY 11501
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.946    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $2,778.39
         MAGAZIJN DE BIJENKORF BV
         HAAKSBERGWEG 34                                                    Contingent
         AMSTERDAM, 1101 BX
         NETHERLANDS
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.947    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $60,600.00
         MAGAZINE ZUM GLOBUS AG
         LINTHESCHERGASSE 7 CH                                              Contingent
         ZURICH, 8001
         SWITZERLAND
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.948    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $19,550.00
         MAGIC CITY SPRINKLER INC
         1601 GRANBY ST, NE                                                 Contingent
         ROANOKE, VA 24012
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.949    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $384.45
         MAISON FRIDA
         3043 W DIVERSEY AVE                                                Contingent
         CHICAGO, IL 60647
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.950    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $14,375.00
         MAKE IT NICE LLC
         224 W 29TH ST, 10TH FL                                             Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.951    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $469.00
         MAKR LLC
         520 CLAY ST                                                        Contingent
         WINTER PARK, FL 32789
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.952    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $217,464.30
         MALL AT CHESTNUT HILL LLC
         P.O. BOX 643748                                                    Contingent
         PITTSBURGH, PA 15264-3748
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.953    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $45,409.78
         MALL AT CONCORD MILLS LIMITED
         P.O. BOX 100451                                                    Contingent
         ATLANTA, GA 30384-0451
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.954    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $74,898.03
         MALL AT KATY MILLS LP
         P.O. BOX 100554                                                    Contingent
         ATLANTA, GA 30384-0554
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.955    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $53,648.60
         MALL AT POTOMAC MILLS LLC
         P.O. BOX 277866                                                    Contingent
         ATLANTA, GA 30384-7866
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.956    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $59,477.72
         MALL AT SUMMIT LLC
         P.O. BOX 644271                                                    Contingent
         PITTSBURGH, PA 15264-4271
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                  Amount of claim


3.957    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $2,372,059.38
         MAN YAN GARMENT TEXTILES CO LTD
         883 CHEUNG SHA WAN RD                                                 Contingent
         KOWLOON,
         HONG KONG
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.958    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $83,732.96
         MANAGEMENT ARTISTS ORGANIZATION
         47 RUE DES TOURNELLES                                                 Contingent
         PARIS, 75300
         FRANCE
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.959    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $3,524,302.38
         MANCHU TIMES FASHION LIMITED
         NORTH BLOCKWAY SKYWAY HOUSE 3                                         Contingent
         SHAM MONG RD, TAI KOK TSUI
         KOWLOON SN,
                                                                               Unliquidated
         HONG KONG                                                             Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.960    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $33,398.98
         MANDARIN ENTERPRISES INTL
         TSING YI INDUSTRIAL CENTRE PHASE 2                                    Contingent
         1-33 CHEUNG TAT RD
         TSING YI ISLAND,
                                                                               Unliquidated
         HONG KONG                                                             Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                               Amount of claim


3.961    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $596,224.12
         MANE ENTERPRISES INC
         49-29 30TH PL                                                      Contingent
         LONG ISLAND CITY, NY 11101
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.962    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $36,550.00
         MANEBI
         MANEBI (1Â° PIANO)                                                 Contingent
         VIA TORTONA 21
         MILAN 20144
                                                                            Unliquidated
         ITALY                                                              Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.963    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $570,399.68
         MANHATTAN ASSOCIATES INC
         P.O. BOX 405696                                                    Contingent
         ATLANTA, GA 30384-5696
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.964    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $11,937.97
         MANIFATTURA DI CARMIGNANO SRL
         VIA FAUSTO COPPI N 2                                               Contingent
         AGLIANA, PT 51031
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.965    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $8,390.31
         MANTECO SPA
         19 VIA DELLA VIACCIA                                               Contingent
         MONTEMURLO, PO 59013
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.966    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 Unknown
         MANUEL MEJIA
         C/O ROBERT ASHER ASSOCIATES                                     X Contingent
         ATTN: ROBERT ASHER
         111 JOHN ST
                                                                         X Unliquidated
         NEW YORK, NY 10038                                              X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 LITIGATION

         9/18/2014
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.967    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $500.00
         MARIA A GABELA
         44 TOMPKINS AVE, APT 1                                             Contingent
         BROOKLYN, NY 11206
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.968    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $5,900.71
         MARILYN AGENCY SAS
         11 RUE PORTEFOIN                                                   Contingent
         PARIS, 75003
         FRANCE
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.969    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $1,630.22
         MARISSA BACA
         1720 PALMETTO ST, APT 2L                                           Contingent
         RIDGEWOOD, NY 11385
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.970    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $5,760.00
         MARK EDWARD INC
         330 WEST 38TH ST 507                                               Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.971    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $34,447.52
         MARKET STREET RETAIL SOUTH LLC
         P.O. BOX 842375                                                    Contingent
         BOSTON, MA 02284-2375
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.972    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $12,212.83
         MARUBENI AMERICA CORP
         P.O. BOX 776843                                                    Contingent
         CHICAGO, IL 60677-6843
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.973    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $5,498.19
         MARY GIULIANI CATERING & EVENTS
         135 WEST 20TH ST, STE 600                                          Contingent
         NEW YORK, NY 10011
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.974    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $3,012.05
         MATS INC
         179 CAMPANELLI PARKWAY                                             Contingent
         STOUGHTON, MA 02072
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.975    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $300.00
         MATTHEW LABARBIERA
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.976    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $731.66
         MAUDE GROUP
         242 WYTHE AVE 9                                                    Contingent
         BROOKLYN, NY 11249
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.977    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $133,449.75
         MAVACON USA LLC
         101 PLZ REAL S, UNIT 216                                           Contingent
         BOCA RATON, FL 33432
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.978    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $335,757.39
         MAX TRADE LIMITED
         209-211 WAI YIP ST                                                 Contingent
         KWUN TONG,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.979    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $37,632.96
         MAYFAIR
         P.O. BOX 772816                                                    Contingent
         CHICAGO, IL 60677-2816
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.980    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $251.46
         MB THEATREPROP
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.981    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $203,710.80
         MC CONSTRUCTION MANAGEMENT INC
         38012 N LINDA DR                                                   Contingent
         CAVE CREEK, AZ 85331
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.982    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $5,780.58
         MC MASTER-CARR SUPPLY CO
         P.O. BOX 7690                                                      Contingent
         CHICAGO, IL 60680-7690
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.983    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $35,345.90
         MCKAY INVESTMENT CO LLC
         2350 OAKMONT WAY, STE 204                                          Contingent
         EUGENE, OR 97401
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.984    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $40,238.76
         MCP ENGLISH VILLAGE LLC
         P.O. BOX 6124                                                      Contingent
         HICKSVILLE, NY 11802-6124
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.985    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $30,205.00
         MEG COMPANY INC
         901 HERMOSA AVE                                                    Contingent
         HERMOSA BEACH, CA 90254
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.986    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,007.67
         MELINDA MARIA DESIGNS
         740 N LA BREA AVE                                                  Contingent
         LOS ANGELES, CA 90038
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.987    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $1,540.97
         MELISSA JOY MANNING
         1827 FIFTH ST, STE B                                               Contingent
         BERKELEY, CA 94710
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.988    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $213,324.45
         MEMEX SHOES SRL
         VIALE DEI MILLE 137                                                Contingent
         FIRENZE, 50131
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.989    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $19,769.70
         MEPT EDGEMOOR OPERATING LP
         P.O. BOX 932886                                                    Contingent
         CLEVELAND, OH 44193
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.990    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                   $538.44
         MERI MERI INC
         111 ANZA BLVD, STE 100                                             Contingent
         BURLINGAME, CA 94010
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.991    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $4,202.90
         MERIDIAN CENTERCAL LLC
         P.O. BOX 5000                                                      Contingent
         PORTLAND, OR 97208-5000
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.992    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $356,429.23
         MERIT TAT INTERNATIONL LIMITED
         FLAT G-H, 5TH FL                                                   Contingent
         TUNG KIN FACTORY BLDG, 200-202
         TSAT TSE MUI RD, NORTH POINT,
                                                                            Unliquidated
         HONG KONG                                                          Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.993    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $253,847.13
         MERRICK PARK LLC
         SDS-12-3090                                                        Contingent
         P.O. BOX 86
         MINNEAPOLIS, MN 55486-3090
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.994    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $30,344.34
         MERRIMACK PREMIUM OUTLETS
         7274 SOLUTION CENTER                                               Contingent
         CHICAGO, IL 60677-7002
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.995    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                 $36,896.22
         MERRIMACK PREMIUM OUTLETS LLC
         7274 SOLUTION CENTER                                               Contingent
         CHICAGO, IL 60677-7002
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.996    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $9,858.00
         METRO DOOR LLC
         300 SONTERRA BLVD, STE 350                                         Contingent
         SAN ANTONIO, TX 78258-3972
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.997    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $47,216.43
         METROPOLITAN LIFE INSURANCE CO
         P.O. BOX 360905                                                    Contingent
         PITTSBURGH, PA 15251-6905
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.998    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                  $46,030.31
         METROPOLITAN PROPERTY AND
         700 QUKER LN                                                       Contingent
         WARICK, RI 02886
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.999    Nonpriority creditor's name and mailing address                As of the petition filing date, the claim is:                $1,853,114.61
         MGF SOURCING US LLC
         4200 REGENT ST, STE 205                                            Contingent
         COLUMBUS, OH 43219
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1000 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $9,550.00
         MICHAEL FINE
         438 SACKETT ST 2                                                   Contingent
         BROOKLYN, NY 11231
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1001 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                   $762.50
         MICHAEL MIYAHIRA
         96 SCHERMEHORN ST 4A                                                Contingent
         BROOKLYN, NY 11201
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1002 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $18,332.58
         MICRO GRAPHIC INFORMATION
         244 SADDLE RIVER RD                                                 Contingent
         SADDLE BROOK, NJ 07663
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1003 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $970,986.68
         MICROSOFT CORP
         P.O. BOX 844510                                                     Contingent
         DALLAS, TX 75284-4510
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1004 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $31,083.00
         MIDWAY CC VENTURE I LP
         800 TOWN & COUNTRY BLVD, STE 200                                    Contingent
         HOUSTON, TX 77024
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1005 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $8,612.29
         MILK MANAGEMENT LIMITED
         40-44 NEWMAN ST                                                    Contingent
         LONDON, WLT 1QD
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1006 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $13,742.26
         MILLARD S DREXLER INC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1007 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,085.80
         MILLEFILI SPA
         VIA CARLO MARX 35                                                  Contingent
         CARPI, MO 41012
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1008 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,426.27
         MILLENNIUM STEEL & RACK
         253 BOND ST                                                        Contingent
         BROOKLYN, NY 11217
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                  Amount of claim


3.1009 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                $71,798.22
         MILPITAS MILLS LIMITED PARTNERSHIP
         P.O. BOX 409714                                                       Contingent
         ATLANTA, GA 30384-9714
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    REAL ESTATE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1010 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                $20,000.00
         MIND GYM USA INC
         9 E 37TH ST, 6TH FL                                                   Contingent
         NEW YORK, NY 10016
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1011 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                $42,458.53
         MINNOW SWIM
         108 LIVE OAK DR                                                       Contingent
         MOUNT PLEASANT, SC 29464
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1012 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                $16,707.66
         MINOA JEWERLY CO LTD
         428-2 SEONGNAE DONG GANGDONG GU                                       Contingent
         SEOUL,
         SOUTH KOREA
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                               Amount of claim


3.1013 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $148.89
         MINUTEMAN LAND SERVICES
         377 HIGHLAND AVE                                                   Contingent
         NORWALK, CT 06854
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1014 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $180,000.00
         MIRAKL INC
         100 DOVER ST                                                       Contingent
         SOMERVILLE, MA 02144
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1015 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $63,578.32
         MIROMAR OUTLET WEST LLC
         10801 CORKSCREW RD, STE 305                                        Contingent
         ESTERO, FL 33928
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1016 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $44,119.00
         MISSION MEDIA USA INC
         123 LAFAYETTE ST, 4TH FL                                           Contingent
         NEW YORK, NY 10013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1017 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $828.30
         MITSUI BUSSAN I FASHION LTD
         2-3-33 NAKANOSHIMA                                                  Contingent
         P.O.
         BOX
                                                                             Unliquidated
         100                                                                 Disputed
         JAPAN
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1018 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $94,925.00
         MLA SOLUTIONS PRACTICE GROUP LLC
         15208 COLLECTIONS CENTER DR                                         Contingent
         CHICAGO, IL 60693-5412
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1019 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $73,885.24
         MOAC MALL HOLDINGS LLC
         NW 5826                                                             Contingent
         P.O. BOX 1450
         MINNEAPOLIS, MN 55485-5826
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1020 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $12,584.15
         MOBILE MEDIA
         P.O. BOX 177                                                        Contingent
         PINE BUSH, NY 12566
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1021 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,945.18
         MOBILITY CONCEPTS INC
         1017 54TH AVE E                                                    Contingent
         FIFE, WA 98424
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1022 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $16.39
         MODA AARON CO LTD
         250 HENNESSY RD                                                    Contingent
         WANCHAI HONG KONG,
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1023 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $923.53
         MODERN WEAVING
         320 CRANE BLVD                                                     Contingent
         LOS ANGELES, CA 90065
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1024 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $21,932.20
         MOLLUSK SURF SHOP
         1283 42ND AVE                                                      Contingent
         SAN FRANCISCO, CA 94122
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1025 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $2,832.05
         MOLOCO LLC
         144 N 7TH ST 515                                                   Contingent
         BROOKLYN, NY 11249
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1026 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $199,842.08
         MONTGOMERY MALL OWNER LLC
         P.O. BOX 54738                                                     Contingent
         LOS ANGELES, CA 90074-4738
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1027 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                    $52.50
         MONTY MACAO COMMERCIAL OFFSHORE
         CENTRO FINANCEIRO RUA DE PEQUIM                                    Contingent
         MACAU,
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1028 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $46,325.00
         MOORES ELECTRICAL &
         P.O. BOX 119                                                       Contingent
         ALTAVISTA, VA 24517
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1029 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $611.66
         MORGAN ELEVATOR CO LTD
         39-23 29TH ST                                                      Contingent
         LONG ISLAND CITY, NY 11101
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1030 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $125,237.32
         MORRISON COHEN LLP
         909 THIRD AVE                                                      Contingent
         NEW YORK, NY 10022-4731
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1031 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $723.22
         MOST RECKLESSLY LLC
         355 STOCKHOLM ST, APT 1L                                           Contingent
         BROOKLYN, NY 11237
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1032 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $149.35
         MOUNTAIN ENERGY
         288 RIVERSIDE DR                                                   Contingent
         ASHEVILLE, NC 28801
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1033 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $3,449.00
         MSDS ONLINE INC
         27185 NETWORK PL                                                   Contingent
         CHICAGO, IL 60673-1271
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1034 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $5,350.88
         MSJC DEVELOPMENT CO LTD
         15F/A, FORTUNE PLZ                                                 Contingent
         86 GUANG AN ST
         SHIJIAZHUANG, 60 50011
                                                                            Unliquidated
         CHINA                                                              Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1035 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $126,591.31
         MTL SOURCING DMCC
         261 SIRI DHAMMA MAWATHA                                            Contingent
         DUBAI
         UNITED ARAB EMIRATES
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1036 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $34,320.50
         MUSE MANAGEMENT INC
         150 BROADWAY 1101                                                  Contingent
         NEW YORK, NY 10038
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1037 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $32,662.50
         MYRIAD SUPPLY COMPANY LLC
         22 WEST 19TH ST, 4TH FL                                            Contingent
         NEW YORK, NY 10011
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1038 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $2,229,523.78
         NAM DINH GARMENT JOINT STOCK CO
         LOT H1 H5, PHAM NGU LAO RD                                         Contingent
         HOA XA IP
         NAM DINH CITY, 420000
                                                                            Unliquidated
         VIETNAM                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1039 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $1,607.50
         NANOTOUCH RETAIL STORE
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1040 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                      $89.41
         NARAE CORP
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1041 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $8,860.00
         NATALIE MARTIN COLLECTION LLC
         804 N LA CIENEGA BLVD                                              Contingent
         LOS ANGELES, CA 90069
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1042 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $500.00
         NATASHA PICKOWICZ
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1043 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $42,500.00
         NATIFIC AG
         INDUSTRIESTRASSE 111                                               Contingent
         AESCH BL, 4147
         SWITZERLAND
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1044 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $15,319.00
         NATIONAL FOREST FOUNDATION
         BLDG 27, STE 3 FORT MISSOULA RD                                    Contingent
         MISSOULA, MT 59804
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1045 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $19,651.69
         NATIONAL HANGER COMPANY
         P.O. BOX 818                                                        Contingent
         WATER ST
         NORTH BENNINGTON, VT 05257
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1046 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                UNKNOWN
         NATIONAL UNION FIRE INSURANCE CO
                                                                          X Contingent
                                                                          X Unliquidated
                                                                          X Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  UNKNOWN

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1047 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $2,321.71
         NATIVE UNION
         7365 COMMERCIAL WAY, STE 115                                        Contingent
         HENDERSON, NV 89011
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1048 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $2,431.03
         NED LITTLE ROCK LLC
         P.O. BOX 419207                                                     Contingent
         BOSTON, MA 02241-9207
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1049 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $36,862.00
         NEO HAIJOO CO LTD
         136-138 AUSTIN RD                                                  Contingent
         KOWLOON,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1050 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $30,833.30
         NEST INC
         501 5TH AVE 1608                                                   Contingent
         NEW YORK, NY 10017
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1051 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $6,821.21
         NESTLE WATERS
         P.O. BOX 856158                                                    Contingent
         LOUISVILLE, KY 40285-6158
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1052 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $103.20
         NEVA LIMITED
         19 LAM LOK ST KLN BAY                                              Contingent
         KOWLOON
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1053 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                     $228.85
         NEVADA DEPT OF TAXATION
         P.O. BOX 98560                                                     Contingent
         LAS VEGAS, NV 89193-8560
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1054 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $663,027.55
         NEW BALANCE ATHLETIC SHOE INC
         P.O. BOX 415206                                                    Contingent
         BOSTON, MA 02241-5206
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1055 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $2,743,387.94
         NEW FASHION PRODUCTS INC
         13344 S MAIN ST, STE B                                             Contingent
         LOS ANGELES, CA 90061
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1056 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $2,468.96
         NEW MADE LA
         134 GLENDALE BLVD                                                  Contingent
         LOS ANGELES, CA 90026
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1057 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $260.51
         NEW MILL SPA
         VIA PALERMO 41                                                     Contingent
         MONTEMURLO, 59013
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1058 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $402,749.96
         NEW TEX CO LTD
         3F NO 97 XINPU 6TH ST                                              Contingent
         TAOYUAN CITY, 330
         TAIWAN
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1059 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $30,000.00
         NEW YORK CARES INC
         65 BROADWAY, 19TH FL                                               Contingent
         NEW YORK, NY 10006
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1060 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $4,373.00
         NEW YORK EMBROIDERY STUDIO
         327 WEST 36TH ST, 11TH FL                                          Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1061 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $720.00
         NEW YORK MODEL MANAGEMENT INC
         7700 SUNSET BLVD                                                   Contingent
         LOS ANGELES, CA 90046
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1062 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $537.20
         NEW YORK URBAN LEAGUE INC
         P.O. BOX 1794                                                      Contingent
         NEW YORK, NY 10027
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1063 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $84,410.00
         NEWMACK LLC
         209 MUNSON RD                                                      Contingent
         MIDDLEBURY, CT 06762
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1064 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $3,945.00
         NEWTON DISTRIBUTING CO INC
         245 W CENTRAL ST                                                   Contingent
         NATICK, MA 01760
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1065 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $161,236.00
         NEXT MANAGEMENT LLC
         15 WATTS ST, 6TH FL                                                Contingent
         NEW YORK, NY 10013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1066 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $130,869.31
         NHT FASHIONS LTD
         EXPORT PROCESSING ZONE                                             Contingent
         CHATTAGRAM, 4223
         BANGLADESH
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1067 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $487.71
         NICO NICO CLOTHING
         117 W 9TH ST, STE 101                                              Contingent
         LOS ANGELES, CA 90015
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1068 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $61,305.45
         NIKE COMMUNICATIONS INC
         75 BROAD ST, STE 185                                               Contingent
         NEW YORK, NY 10004
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1069 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $70,685.60
         NINGBO ZHONGXIN WOOL TEXTILE
         NO 288 JUYUAN RD LUOTUO ST                                         Contingent
         ZHENHAI NINGBO, 315202
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1070 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $79,529.44
         NOA BRANDS AMERICA INC
         1460 OVERLOOK DR                                                   Contingent
         LAFAYETTE, CO 80026
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1071 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,879,628.10
         NOBLAND INTERNATIONAL INC
         NOBLAND BUILDING                                                   Contingent
         197-15, KARAK-DONG
         SONGPA-GU, SEOUL , 138-162
                                                                            Unliquidated
         SOUTH KOREA                                                        Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1072 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $2,355,425.51
         NOBLE INDUSTRY CO LTD
         49 OGEUM-RO 46 GIL SONGPA-GU                                       Contingent
         SEOUL, 138-162
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1073 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $39,057.44
         NORTH 6TH STREET DRY GOODS LLC
         134 WEST 29TH ST, 4TH FL                                           Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1074 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $11,068.86
         NORTH 6TH STREET REALTY LLC
         1827 FLUSHING AVE                                                  Contingent
         RIDGEWOOD, NY 11385
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1075 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,539.08
         NORTH HILLS SCHOOL DISTRICT
         135 SIXTH AVE                                                      Contingent
         PITTSBURG, PA 15229-1291
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1076 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $3,452.24
         NORTHPARK MERCHANTS ASSOC
         P.O. BOX 612083                                                    Contingent
         DALLAS, TX 75261-2083
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1077 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $317,107.90
         NORTHPARK PARTNERS LP
         P.O. BOX 226864                                                    Contingent
         DALLAS, TX 75222-6864
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1078 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $53,910.08
         NORTHWOOD PL HOLDINGS LP
         P.O. BOX 208281                                                    Contingent
         DALLAS, TX 75320-8281
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1079 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $6,335.00
         NOVESTA
         1133 CECILE DR                                                     Contingent
         PORT MOODY, BC V3H 1M8
         CANADA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1080 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $93,984.19
         NP CREATION SAS
         9 BIS RUE DE LA TUILERIE                                           Contingent
         ARBENT, 1100
         FRANCE
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1081 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $140,176.58
         NPD GROUP INC
         24619 NETWORK PL                                                   Contingent
         CHICAGO, IL 60603-1246
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1082 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $30,963.26
         NST APPAREL INTERNATIONAL CORP
         OFFSHORE INCORPORATION CENTRE                                      Contingent
         ROADTOWN TORTOLA, VG1120
         BRITISH VIRGIN ISLANDS
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1083 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $16,320.00
         NU ORDER INC
         1901 AVE OF THE STARS 175M                                         Contingent
         LOS ANGELES, CA 90067
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1084 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $155,719.83
         NWN CORP
         P.O. BOX 535596                                                    Contingent
         ATLANTA, GA 30353-5595
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1085 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                       $0.60
         NYC FINANCE SERVICE FEE
         1 CENTRE ST, 22ND FL                                               Contingent
         NEW YORK, NY 10007
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1086 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $260,296.70
         OAK BROOK URBAN VENTURE LP
         SDA-12 2892                                                        Contingent
         P.O. BOX 86
         MINNEAPOLIS, MN 55486-2892
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1087 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,248,532.50
         OCEAN FAST INTERNATIONAL LTD
         16 WANG HOI RD                                                     Contingent
         KOWLOON BAY ,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1088 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $21,644.56
         OCF HOLDINGS LLC
         P.O. BOX 414225                                                    Contingent
         BOSTON, MA 02241-4225
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1089 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $9,143.47
         ODETTE NEW YORK LLC
         473 BEDFORD CENTER RD                                              Contingent
         BEDFORD, NY 10506
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1090 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $620,435.04
         ODY ACCESSORIES
         29 WEST 36TH ST, STE 402                                           Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1091 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $18,796.97
         OFFICE UNIVERSE
         745 SUMMA AVE                                                      Contingent
         WESTBURY, NY 11590
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1092 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $1,440.00
         OHLSSON MODEL & TALENT
         P.O. BOX 2165                                                      Contingent
         MILWAUKEE, WI 53201
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1093 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $39,816.46
         OK CITY OUTLETS LLC
         10275 WEST HIGGINS RD, STE 560                                     Contingent
         ROSEMONT, IL 60018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1094 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $4,159.42
         OKABASHI BRANDS INC
         POBOX 150648                                                       Contingent
         OGDEN, UT 84415
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1095 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $221,025.46
         OLD ORCHARD URBAN LIMITED
         P.O. BOX 743657                                                    Contingent
         LOS ANGELES, CA 90074-3657
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1096 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $51,265.00
         OLR AMERICA INC
         100 SOUTH FIFTH ST, STE 850                                        Contingent
         MINNEAPOLIS, MN 55402
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1097 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $9,216.08
         OMAHA OUTLETS SPE LLC
         P.O. BOX 8432                                                      Contingent
         DES MOINES, IA 50301
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1098 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $7,000.00
         OMEGA MODELS
         15 RENDEZVOUS RIDGE EAST                                           Contingent
         CHRIST CHURCH, BB15028
         BARBADOS
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1099 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,360,733.67
         ONES COMPANY LTD
         KWANGJIN-KU                                                        Contingent
         SEOUL,
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1100 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $2,685.21
         ONIA LLC
         10 EAST 40TH ST, 37TH FL                                           Contingent
         NEW YORK, NY 10016
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1101 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $29,788.71
         ONSITE MEDIA SOLUTIONS LLC
         P.O. BOX 682675                                                    Contingent
         PARK CITY, UT 84068
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1102 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $61,022.46
         ONTARIO MILLS LP
         P.O. BOX 198844                                                    Contingent
         ATLANTA, GA 30384-8844
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1103 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,041.67
         ONWARD NEW RIVER VALLEY
         2020 KRAFT DR, STE 2000                                            Contingent
         BLACKSBURG, VA 24060
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1104 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $5,622.71
         OPEN REALTY ADVISORS LLC
         2305 CEDAR SPRINGS RD, STE 100                                     Contingent
         DALLAS, TX 75201
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1105 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $1,309.01
         OPEN TEXT INC
         24685 NETWORK PL                                                   Contingent
         CHICAGO, IL 60673-1246
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1106 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $62,797.46
         OPRY MILLS MALL LP
         P.O. BOX 402242                                                    Contingent
         ATLANTA, GA 30384-2242
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1107 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $664,202.55
         ORACLE AMERICA INC
         P.O. BOX 44471                                                     Contingent
         SAN FRANCISCO, CA 94144-4471
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1108 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                    $68.65
         ORBIS CORP
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.1109 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $8,882.50
         ORIENT CRAFT LTD
         LOT NO 80P, SECTOR-34                                                Contingent
         NEAR HERO HONDA CHOWK
         GURGAGON, 7 122001
                                                                              Unliquidated
         INDIA                                                                Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1110 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                  $98.70
         ORIGAL LLP
         244 LEONIA AVE                                                       Contingent
         BOGOTA, NJ 07603
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1111 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $4,800.67
         ORION RETAIL SERVICES & FIXTURING
         270 JENCKES HILL RD                                                  Contingent
         SMITHFIELD, RI 02917
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1112 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $5,486.56
         OTIS ELEVATOR COMPANY
         P.O. BOX 905454                                                      Contingent
         CHARLOTTE, NC 28290
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                                Amount of claim


3.1113 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $4,548.58
         OUTLET MALL OF SAVANNAH LLC
         P.O. BOX 414225                                                     Contingent
         BOSTON, MA 02241-4225
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1114 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $50,668.60
         OUTLETS AT TRAVERSE MOUNTAIN LLC
         P.O. BOX 301028                                                     Contingent
         LOS ANGELES, CA 90030-1028
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1115 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $752.02
         OWEN & FRED CORP
         42 WEST ST, STE 106                                                 Contingent
         BROOKLYN, NY 11222
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1116 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $58,265.34
         PACIFIC PREMIER RETAIL TRUST LLC
         P.O. BOX 849471                                                     Contingent
         LOS ANGELES, CA 90084-9471
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1117 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $84,578.10
         PACKAGING CORP OF AMERICA
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1118 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,159.64
         PAGER DUTY INC
         600 TOWNSEND ST, STE 200                                           Contingent
         SAN FRANCISCO, CA 94103
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1119 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $30,829.40
         PAGOSA II 2017 LLC
         5307 W LOOP 289, STE 302                                           Contingent
         LUBBOCK, TX 79414
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1120 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $596.55
         PAISLEY MAGIC
         1269 1ST AVE, APT 2B                                               Contingent
         NEW YORK, NY 10065
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1121 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $2,929.19
         PALISADES VILLAGE CO LLC
         101 THE GROVE DR                                                   Contingent
         LOS AGELES, CA 90036
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1122 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $59,185.39
         PALM BEACH OUTLETS I LLC
         P.O. BOX 9468                                                      Contingent
         NEW YORK, NY 10087-9468
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1123 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $77,029.62
         PALMER SQUARE LTD PARTNERSHIP
         P.O. BOX 451                                                       Contingent
         EMERSON, NJ 07630
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1124 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $3,911,861.59
         PAN PACIFIC CO LTD
         12 DIGITAL RO 31 GIL                                               Contingent
         GURO GU SEOUL
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                  Amount of claim


3.1125 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                  $2,500.00
         PANTONE INC
         P.O. BOX 74008781                                                     Contingent
         CHICAGO, IL 60674-8781
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1126 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                 $14,000.00
         PAPERG INC
         350 SANSOME ST, STE 815                                               Contingent
         SAN FRANCISCO, CA 94101
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1127 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                $818,201.90
         PAQUETA CALCADOS LTDA
         AVENUE 20 DE SETEMBRO                                                 Contingent
         4411 BAIRRO CENTRO
         SAPIRANGA, RIO GRANDE DO SUL, 93800-000
                                                                               Unliquidated
         BRAZIL                                                                Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1128 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                 $17,672.50
         PAR MARR AND ASSOCIATES LLC
         525 BROADHOLLOW RD, STE 104                                           Contingent
         MELVILLE, NY 11747
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                                Amount of claim


3.1129 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                     $419.16
         PARAGON OUTLETS AT GRAND PRAIRIE
         P.O. BOX 748315                                                     Contingent
         LOS ANGELES, CA 90074-8315
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1130 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                   $4,024.09
         PARAVEL INC
         237 32ND ST                                                         Contingent
         NEW YORK, NY 10016
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1131 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $1,400,256.68
         PARAWIN INDUSTRIES LIMITED
         HOI LUEN INDUSTRIAL CENTRE                                          Contingent
         55 HOI YUEN RD
         KWUN TONG, KLN
                                                                             Unliquidated
         HONG KONG                                                           Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1132 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                     $311.25
         PARRAS CONE DE MEXICO SA DE CV
         KIOLOMETRO 35                                                       Contingent
         PARRAS DE LA FUENTE, COA 27980
         MEXICO
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                                 Amount of claim


3.1133 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $40,000.00
         PARTNERS AND SPADE LLC
         324 LAFAYETTE ST, 2ND FL                                             Contingent
         NEW YORK, NY 10012
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1134 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $14,400.00
         PARTS MODELS LLC
         7529 FDR STATION                                                     Contingent
         NEW YORK, NY 10150
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1135 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $6,805.00
         PATRICIA NUGENT TEXTILES
         2259 12TH AVE WEST                                                   Contingent
         SEATTLE, WA 98119
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1136 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $1,332.34
         PATT'TOUCH
         2 RUE DE LA FORGE                                                    Contingent
         PINAUD SAINT DENIS DE PILE, 33910
         FRANCE
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.1137 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $21,151.95
         PAULMANN ENTERPRISES LLC
         6278 N FEDERAL HIGHWAY, STE 187                                    Contingent
         FORT LAUDERDALE, FL 33308
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1138 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $48,942.74
         PAVILION INVESTMENT LIMITED
         RM 608-9 6/F HARBOUR CTR TWR 1                                     Contingent
         1 HOK CHEUNG ST
         HUNG HOM,
                                                                            Unliquidated
         HONG KONG                                                          Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1139 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $6,037.00
         PAYPAL
         2211 N FIRST ST                                                    Contingent
         SAN JOSE, CA 95131
         SAN JOSE, CA 95131
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1140 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $68,272.78
         PBMS
         181 JOHNSTON RD                                                    Contingent
         WAN CHAI,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1141 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $2,596.39
         PEHR DESIGNS INC
         320 DAVENPORT RD, STE 300                                           Contingent
         TORONTO, ON M5R 1K6
         CANADA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1142 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $35,917.60
         PEMBROKE SQUARE ASSOCIATES LLC
         4460 CORPORATION LN, STE 300                                        Contingent
         VIRGINIA BEACH, VA 23462
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1143 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $46,687.57
         PENN ROSS JOINT VENTURE
         1326 PAYSPHERE CIR                                                  Contingent
         CHICAGO, IL 60674
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1144 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $65,419.40
         PENN SQUARE MALL LTD PARTNERSHIP
         32122 COLLECTIONS CENTER DR                                         Contingent
         CHICAGO, IL 60693
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1145 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $156,195.00
         PENTLAND BRANDS/CANTERBURY LTD
         LAKESIDE, SQUIRES LN                                               Contingent
         LONDON, N3 2QT, UK
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1146 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $15,225.02
         PEOPLES DEVELOPMENT COMPANY INC
         P.O. BOX 11505                                                     Contingent
         KNOXVILLE, TN 37939
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1147 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $41,696.31
         PEORIA NEW MALL LLC
         P.O. BOX 74991                                                     Contingent
         CHICAGO, IL 60675-4991
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1148 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $61,028.71
         PERIMETER MALL LLC
         P.O. BOX 860381                                                    Contingent
         MINNEAPOLIS, MN 55486-0381
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1149 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $9,064.17
         PERLMAN & PERLMAN LLP
         521 5TH AVE, 30TH FL                                               Contingent
         NEW YORK, NY 10175
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1150 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $11,904.26
         PERMIT ADVISORS INC
         8370 WILSHIRE BLVD, STE 330                                        Contingent
         BEVERLY HILLS, CA 90211
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1151 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,895.98
         PES PARTNERS LLC
         P.O. BOX 849967                                                    Contingent
         LOS ANGELES, CA 90084-9967
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1152 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,250.27
         PETITE AJ INC
         1240 S BOYLE AVE                                                   Contingent
         LPS ANGELES, CA 90023
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1153 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $952.37
         PETITE N PRETTY LLC
         401 N MAPLE                                                         Contingent
         BEVERLY HILLS, CA 90210
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1154 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $18,761.69
         PETITE PLUME LLC
         389 RIDGE AVE                                                       Contingent
         WINNETKA, IL 60093
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1155 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $96,439.78
         PHILADELPHIA PREMIUM OUTLETS LLC
         P.O. BOX 822464                                                     Contingent
         PHLADELPHIA, PA 19182-2905
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1156 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $3,780.00
         PHOENIX ENERGY TECHNOLOGIES INC
         P.O. BOX 74664                                                      Contingent
         CHICAGO, IL 60675-4664
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1157 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $48,264.66
         PHOENIX PREMIUM OUTLETS LLC
         7517 SOLUTION CENTER                                               Contingent
         CHICAGO, IL 60677-7005
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1158 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $3,588.00
         PHOENX FIBERS
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1159 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $180.00
         PHYSICIANS TREATMENT CENTER
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1160 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,306.77
         PICCHI SPA
         VIA M TEMPESTE, 13                                                 Contingent
         PRATO, 59100
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1161 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $260.00
         PIEDMONT FLEET SERVICES
         201 MILL RIDGE RD                                                  Contingent
         LYNCHBURG, VA 24502
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1162 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $14,132.80
         PIERPASS LLC
         100 OCEAN GATE, STE 410                                            Contingent
         LONG BEACH, CA 90802
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1163 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $5,347.61
         PINORI FILATI SPA
         VIA EUGENIO GESTRI, 19                                             Contingent
         PRATO, 59100
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1164 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $764.32
         PIONEER CARRY LLC
         1229 N NORTH BRANCH 201                                            Contingent
         CHICAGO, IL 60642
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1165 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $52,109.34
         PIONEER PROPERTY PARTNERS
         P.O. BOX 638989                                                    Contingent
         CINCINNATI, OH 45263-8989
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1166 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $288.08
         PIP PRINTING
         1709 MEMORIAL AVE                                                  Contingent
         LYNCHBURG, VA 24501
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1167 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $30,888.30
         PIPP MOBILE STORAGE SYSTEMS INC
         DEPT CH 19246                                                      Contingent
         PALATINE, IL 60055-9246
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1168 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $32,603.72
         PITTSFORD PLAZA SPE LLC
         P.O. BOX 8000                                                      Contingent
         BUFFALO, NY 14267
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                   Amount of claim


3.1169 Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is:                   $740.00
         PLACE NATIONALE
         13 FRIDAY ST                                                           Contingent
         HENLEY ON THAMES, OX RG9 1AN
         UNITED KINGDOM
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.1170 Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is:                   $842.40
         PLANTSCAPING INC
         1865 E 40TH ST                                                         Contingent
         CLEVELAND, OH 44103
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     OTHER TRADE

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.1171 Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is:                $100,325.82
         PLEASANT PRAIRIE PREMIUM OUTLETS LL
         P.O. BOX 776288                                                        Contingent
         CHICAGO, IL 60677-6288
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     REAL ESTATE

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




3.1172 Nonpriority creditor's name and mailing address                      As of the petition filing date, the claim is:                  $4,161.30
         PLYMOUTH TOWNSHIP
         700 BELVOIR RD                                                         Contingent
         PLYMOUTH MEETING, PA 19462
                                                                                Unliquidated
                                                                                Disputed
                                                                             Basis for the claim:
         Date or dates debt was incurred                                     OTHER TRADE

         Unknown
         Last 4 digits of account number                                     Is the claim subject to offset?
                                                                                  No
                                                                                  Yes




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                                                                                                                                Amount of claim


3.1173 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $3,103,095.65
         PMG WORLDWIDE LLC
         2845 WEST 7TH ST                                                    Contingent
         FORT WORTH, TX 76107
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1174 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                   $5,701.80
         POK E JOES
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1175 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $59,644.34
         POMEROY IT SOLUTION SALES CO INC
         P.O. BOX 936645                                                     Contingent
         ATLANTA, GA 31193-6645
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1176 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                   $1,675.00
         POOL 28 LLC
         272 KRIPPLEBUSH RD                                                  Contingent
         ACCORD, NY 12404
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1177 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $162,533.50
         POSTERSCOPE USA INC
         P.O. BOX 28003                                                     Contingent
         NEW YORK, NY 10087-8003
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1178 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $5,296.26
         POWELL'S TRUCK & EQUIPMENT INC
         P.O. BOX 11928                                                     Contingent
         LYNCHBURG, VA 24506-1928
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1179 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $5,620.44
         PPP LLC
         P.O. BOX 72165                                                     Contingent
         CLEVELAND, OH 44192-0002
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1180 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $178,685.90
         PPSA LLC
         P.O. BOX 509015                                                    Contingent
         SAN DIEGO, CA 92150-9015
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1181 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $29,541.35
         PR NEWSWIRE
         P.O. BOX 5897                                                      Contingent
         NEW YORK, NY 10087-5897
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1182 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $4,684.31
         PR WOODLAND LTD PARTNERSHIP
         P.O. BOX 73858                                                     Contingent
         CLEVELAND, OH 44193
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1183 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $16,000.00
         PRACTISING LAW INSTITUTE
         1177 AVE OF THE AMERICAS                                           Contingent
         NEW YORK, NY 10036
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1184 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $7,566.65
         PRECISION TEXTILE COLOR INC
         244 LIBERTY ST, UNIT 4                                             Contingent
         BROCKTON, MA 02301
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1185 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $27,369.74
         PREIT ASSOCIATES LP
         P.O. BOX 373747                                                    Contingent
         CLEVELAND, OH 44193-3747
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1186 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,536,052.55
         PREMIUM OUTLET PARTNERS LP
         P.O. BOX 822873                                                    Contingent
         PHILADELPHIA, PA 19182-2905
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1187 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                      $98.00
         PREMIUMBEAT.COM
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1188 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $5,100.00
         PREVIOUSLY UNRELEASED
         123 PIERREPONT ST 2A                                               Contingent
         BROOKLYN, NY 11201
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1189 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $149,761.56
         PRINCIPAL LIFE INSURANCE CO
         P.O. BOX 310300                                                    Contingent
         PROPERTY 026810
         DES MOINES, IA 50331-0300
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1190 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $127,296.88
         PRISA LHC LLC
         P.O. BOX 732937                                                    Contingent
         DALLAS, TX 75303
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1191 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $3,525,619.86
         PRO SPORTS GIAO THUY JSC
         4A AREA NGO DONG TOWN                                              Contingent
         NAM DINH PROVINCE, 10000
         VIETNAM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1192 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $42,758.00
         PROCQUISTO LLC
         2 WINGED FOOT DR                                                   Contingent
         LARCHMONT, NY 10538
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1193 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $31,354.15
         PROFESSIONAL GRAPHICS SYSTEMS &
         3 WEST MAIN ST                                                     Contingent
         ELMSFORD, NY 10523
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1194 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,539,576.63
         PROFITS FUND FASHION
         88 CONTAINER PORT RD                                               Contingent
         KWAI CHUNG, NT
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1195 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $7,034.15
         PROSPERITY TEXTILE (HK) LTD
         PHASE 2, 57 SHA TSUI RD                                            Contingent
         TSUEN WAN,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1196 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $154,928.84
         PROTIVITI INC
         12269 COLLECTIONS CENTER DR                                        Contingent
         CHICAGO, IL 60693
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                  Amount of claim


3.1197 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                 $17,388.20
         PT UNGARAN SARI GARMENTS
         NO 235 GENUK UNGARAN BARAT                                            Contingent
         KAB SEMARANG, 3 50512
         INDONESIA
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1198 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                   $380.22
         PUBLIC STORAGE
         4605 W MARKET ST                                                      Contingent
         GREENSBORO, NC 27407-1289
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1199 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                  $1,666.75
         PULSE PUBLISHING ADMINSTRATION LLC
         16130 VENTURA BLVD, STE 310                                           Contingent
         ENCINO, CA 91436
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1200 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                $527,137.73
         PURGO JEWELRY (HK) CO LTD
         NO 14-24 AU PUI WAN ST FOTAN                                          Contingent
         HONG KONG,
         HONG KONG
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                                  Amount of claim


3.1201 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                 $2,500.00
         PUTTING ME TOGETHER
         2367 SALISBURY DR                                                     Contingent
         SAN DIEGO, CA 92123
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1202 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                $84,845.50
         PYRAMID WALDEN COMPANY LP
         P.O. BOX 8000                                                         Contingent
         DEPT 496
         BUFFALO, NY 14267
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    REAL ESTATE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1203 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                $98,874.23
         QINGDAO DREAM CLASSIC FASHION
         NO 11 XIECHENG RD                                                     Contingent
         CHENGYANG DISTRICT QINGDAO, 266108
         CHINA
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1204 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                  $208.40
         QINGDAO HANSHIN ART CRAFTS CO LTD
         206 GUOCHENG RD CHENGYANG QU                                          Contingent
         QINGDAO CITY, 266109
         CHINA
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                                  Amount of claim


3.1205 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                $162,010.34
         QINGDAO MODA JEWELRY CO LTD
         LI YANG LU NAN CHENG YANG-QU                                          Contingent
         QINGDAO, 120 266109
         CHINA
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1206 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                   $867.40
         QINGDAO SEMYUNG JEWELRY CO LTD
         BEIBU GONGYEYUAN GUMIAOTOUCUN                                         Contingent
         CHENGYANG QINGDAO,
         CHINA
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1207 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                  $7,344.35
         QINGDAO SEUNG HYUN PACKING CO LTD
         LIUTING ST                                                            Contingent
         QINGDAO CHENGYANG DISTRICT, 266109
         CHINA
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1208 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                $321,488.74
         QUAD GRAPHICS INC
         P.O. BOX 842858                                                       Contingent
         BOSTON, MA 02284-2858
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                               Amount of claim


3.1209 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $37,000.00
         QUANTIS INC
         240 COMMERCIAL ST, STE 3B                                          Contingent
         BOSTON, MA 02109
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1210 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $233.94
         QUE FACTORY LLC
         4070 HUBBARD ST                                                    Contingent
         EMERYVILLE, CA 94608
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1211 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $18,900.00
         QUIET TOWN INC
         98 4TH ST, STE 408                                                 Contingent
         BROOKLYN, NY 11231
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1212 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,129.86
         QUIZNOS
         18013 FOREST RD, STE A01                                           Contingent
         FOREST, VA 24551
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1213 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $1,450.85
         QUODDY INC
         550 LISBON ST LEVEL 2                                              Contingent
         LEWISTON, ME 04240
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1214 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $4,757,846.84
         R K INDUSTRIES IV
         NO A 7&8 THIRU-VI-KA INDL                                          Contingent
         CHENNAI, 600032
         INDIA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1215 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $2,675.00
         R R MANN FENCING CO INC
         19327 LEESVILLE RD, STE D                                          Contingent
         LYNCHBURG, VA 24502
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1216 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $31,956.00
         RAAB & RAAB INC
         704 228TH AVE NE 451                                               Contingent
         SAMMAMISH, WA 98074
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1217 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $842,460.36
         RACKSPACE US INC
         P.O. BOX 730759                                                    Contingent
         DALLAS, TX 75373-0759
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1218 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $1,985.20
         RAEN OPTICS LLC
         1722 SOUTH COAST HWY                                               Contingent
         OCEANSIDE, CA 92054
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1219 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $4,254.50
         RAINBOW TEXTILES INC
         1-9-1 EDOBORI NISHI-KU                                             Contingent
         OSAKA 550-0002,
         JAPAN
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1220 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $11,615.40
         RANIKA EXPORTS DESIGN
         C-27 & C-28 SEC 8 NOIDA                                            Contingent
         UTTER PRADHESH, 201301
         INDIA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1221 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $140,950.00
         RAPID SCALE INC
         P.O. BOX 840477                                                    Contingent
         DALLAS, TX 75284-0477
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1222 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $156.50
         RATH COMMUNICATIONS
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1223 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $29,230.92
         RATTI SPA
         150 EAST 42ND ST, 28TH FL                                          Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1224 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $8,101.04
         RAYMOND LEASING CORP
         P.O. BOX 301590                                                    Contingent
         DALLAS, TX 75303-1590
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1225 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $3,061.34
         RCPI CLEANING SERVICES LLC
         P.O. BOX 30156                                                     Contingent
         NEW YORK, NY 10087-0156
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1226 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $887,047.82
         RCPI LANDMARK PROPERTIES LLC
         P.O. BOX 33173                                                     Contingent
         NEWARK, NJ 07188-3173
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1227 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $14,185.03
         RECYCLING EQUIPMENT INC
         P.O. BOX 1474                                                      Contingent
         HICKORY, NC 28603-1474
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1228 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $36,360.61
         RED MODEL MANAGEMENT
         302 WEST 37TH ST, 3RD FL                                           Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1229 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $15,470.00
         RED WING BRANDS OF AMERICA
         24062 NETWORK PL                                                   Contingent
         CHICAGO, IL 60673-1240
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1230 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $6,348.32
         REED SMITH LLP
         10 WACKER DR                                                       Contingent
         CHICAGO, IL 60606-7507
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1231 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $3,899.55
         REGIONAL INCOME TAX AGENCY
         P.O. BOX 89475                                                     Contingent
         CLEVELAND, OH 44101-6475
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1232 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $323.68
         RENT ALL INC
         1106 HENDERSONVILLE RD                                             Contingent
         ASHEVILLE, NC 28803
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1233 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $54,034.12
         RETAIL VALUE INVESTMENT PROGRAM
         DEPT 102728209703392                                               Contingent
         P.O. BOX 92361
         CLEVELAND, OH 44193
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1234 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $4,484.25
         RETROSUPERFUTURE INC
         3531 SUNSET BLVD                                                   Contingent
         LOS ANGELES, CA 90026
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1235 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $5,889.72
         REUSABLE TRANSPORT PACKAGING
         172 13TH ST NORTH                                                  Contingent
         ST PETERSBURG, FL 33705
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1236 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,904.80
         REVERE PAPER PRODUCTS CORP
         76 PASSAIC ST                                                      Contingent
         WOOD RIDGE, NJ 07075
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1237 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $4,000.00
         REWARDSTYLE INC
         3102 OAK LAWN AVE, 19TH FL                                         Contingent
         DALLAS, TX 75219
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1238 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $35,440.34
         REXEL INC
         P.O. BOX 418453                                                    Contingent
         BOSTON, MA 02241-8453
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1239 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                     $659.35
         REXEL USA
         P.O. BOX 742833                                                    Contingent
         ATLANTA, GA 30374
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1240 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $8,283,001.06
         RGM FASHION LTD
         88 LEI MUK RD                                                      Contingent
         KWAI CHUNG, NT
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1241 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $5,342.09
         RHONE APPAREL
         12217 LONE PEAK PKWY, STE 200                                      Contingent
         DRAPER, UT 84020
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1242 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $2,786,301.53
         RICHA GLOBAL EXPORTS PVT LTD
         219 UDYOG VIHAR                                                    Contingent
         GURUGRAM, 7 122016
         INDIA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1243 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $2,181,977.66
         RICHES GALORE LTD
         WICKHAM BAY RD TOWN                                                Contingent
         TORTOLA, VG1 110
         BRITISH VIRGIN ISLANDS
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1244 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $33,037.18
         RIGGS ASSOCIATES LLC
         P.O. BOX 5                                                         Contingent
         MT PLEASANT, SC 29465
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1245 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $3,154,275.25
         RIO APPAREL HK LTD
         77 MODY RD, STE 1019, 10TH FL                                      Contingent
         TSIMSHATSUI EAST, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1246 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $13,500.00
         RISE SMART INC
         55 ALMADEN BOULEVARD, STE 800                                      Contingent
         SAN JOSE, CA 95113
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1247 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $8,704.00
         RIVERSIDE TOOL AND DYE
         1110 E COLUMBIA AVE                                                Contingent
         PHILADELPHIA, PA 19125
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1248 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $14,562.50
         RIZE DESIGN
         P.O. BOX 201                                                       Contingent
         WODEN ACT, 2606
         AUSTRALIA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1249 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $3,120.00
         RJ BENNETT REPRESENTS INC
         601 EAST 20TH ST, STE 10H                                          Contingent
         NEW YORK, NY 10010
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1250 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $102,984.89
         RJR ASSESSORIA COMERCIAL LTDA
         599 SALA 03 BAIRRO RIO BRANCO                                      Contingent
         NOVO HAMBURGO, 93310-110
         BRAZIL
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1251 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $47,186.73
         RKB HANDYMAN SERVICES INC
         330 MOTOR PARKWAY, STE 306                                         Contingent
         HAUPPAUGE, NY 11788
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1252 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $22,200.00
         RM WILLIAMS US NY LLC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1253 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $492.30
         ROADRUNNER FOOD BANK INC
         5840 OFFICE BLVD NE                                                Contingent
         ALBURQUERQUE, NM 87109
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1254 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $3,575.00
         ROGER CABELLO PHOTOGRAPHY
         197 COUNTY RD                                                      Contingent
         CLIFFWOOD, NJ 07721
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1255 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $13,040.24
         RONIS BROS
         39 HARRIET PL                                                      Contingent
         LYNBROOK, NY 11563
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1256 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $488.05
         ROOKIE HUMANS LLC
         142 WYOMING AVE                                                    Contingent
         MAPLEWOOD, NJ 07040
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1257 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $76,797.30
         ROPA SIETE LEGUAS INC
         1831 E MILLS AVE                                                   Contingent
         EL PASO, TX 79901
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1258 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $7,819.63
         ROPES & GRAY LLP
         800 BOYLSTON ST                                                    Contingent
         BOSTON, MA 02199-3600
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1259 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $47,653.66
         ROSEVILLE FOUNTAINS LP
         540 FULTON AVE                                                     Contingent
         SACRAMENTO, CA 95825
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1260 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $6,197.51
         ROUGH TRADE RETAIL LLC
         64 N 9TH ST                                                        Contingent
         BROOKLYN, NY 11249
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1261 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $52,119.14
         ROUND ROCK PREMIUM OUTLETS LP
         P.O. BOX 822312                                                    Contingent
         PHILADELPHIA, PA 19182-2312
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1262 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $194,262.70
         ROUSE PROVIDENCE LLC
         P.O. BOX 86                                                        Contingent
         MINNEAPOLIS, MN 55486-3060
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1263 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $126,019.16
         ROUTE 35 SHREWSBURY LIMITED
         P.O. BOX 780856                                                    Contingent
         PHILADELPHIA, PA 19178-0856
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1264 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $33,579.17
         ROYAL LASER MFG INC
         25 CLAIREVILLE DR                                                  Contingent
         ETOBICOKE, ON M9W 5Z7
         CANADA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1265 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $82,548.82
         RPAI SOUTHWEST MANAGEMENT LLC
         15105 COLLECTIONS DR                                               Contingent
         CHICAGO, IL 60693-5105
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1266 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $20,553.02
         RPI FIG GARDEN LP
         P.O. BOX 860457                                                    Contingent
         MINNEAPOLIS, MN 55486-0457
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1267 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,839.55
         RSG LANDSCAPING & LAWN CARE INC
         P.O. BOX 110                                                       Contingent
         CONCORD, VA 24538
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1268 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $32,542.73
         RSM MAINTENANCE LLC
         461 FROM RD, 2ND FL                                                Contingent
         PARAMUS, NJ 07652
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1269 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $3,626.49
         RUDY L HAWKINS ELECTRICAL
         P.O. BOX 3930                                                      Contingent
         CHESTER, VA 23831
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1270 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $3,679.25
         RUG RENOVATING CO INC
         532 N GROVE ST                                                     Contingent
         EAST ORANGE, NJ 07017
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1271 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $22,757.79
         RUGGLES SIGN
         P.O. BOX 349                                                       Contingent
         VERSAILLES, KY 40383
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1272 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $29,000.00
         RWP SOLUTIONS
         295 MADISON AVE, 16TH FL                                           Contingent
         NEW YORK, NY 10017
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1273 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $39,998.96
         SA GALLERIA IV LP
         1481 PAYSPHERE CIR                                                 Contingent
         CHICAGO, IL 60674
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1274 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $29,250.52
         SA GALLERIA LLC
         1481 PAYSPHERE CIR                                                 Contingent
         CHICAGO, IL 60674
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1275 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $87,418.16
         SADA SYSTEMS INC
         5250 LANKERSHIM BLVD 620                                           Contingent
         NORTH HOLLYWOOD, CA 91601
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1276 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $55,000.00
         SADDLE CREEK CORP
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1277 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $4,052.72
         SAFETY KLEEN CORP
         P.O. BOX 382066                                                    Contingent
         PITTSBURGH, PA 15250
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1278 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                UNKNOWN
         SAFETY NATIONAL CASUALTY
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 UNKNOWN

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1279 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $17,100.00
         SAGE LAW GROUP LLC
         3100 ARAPAHOE AVE, STE 120                                         Contingent
         BOULDER, CO 80303
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1280 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $85.00
         SAINT MARK SCHOOL
         399 WOODWARD AVE                                                   Contingent
         BUFFALO, NY 14214
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1281 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $3,772,351.36
         SAITEX INTERNATIONAL DONG NAI
         AMATA IND PARK LONG BINH WARD                                      Contingent
         BIEN HOA CITY, 81000
         VIETNAM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1282 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $55,927.50
         SALESFORCE.COM INC
         P.O. BOX 203141                                                    Contingent
         DALLAS, TX 75320
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1283 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                     $748.97
         SALISH NETWORKS INC
         8825 34TH AVE NE, STE L 148                                        Contingent
         QUIL CEDA VILLAGE, WA 98271
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1284 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $3,677.39
         SAMS CLUB 6458
         P.O. BOX 9001152                                                   Contingent
         LOUISVILLE, KY 40290-1152
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1285 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $13,386.64
         SAN FRANCISCO TAX COLLECTOR
         ROOM 107 CITY HALL                                                 Contingent
         SAN FRANCISCO, CA 94102-4696
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1286 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $36,741.26
         SAN MARCOS PREMIUM OUTLETS LP
         P.O. BOX 776300                                                    Contingent
         CHICAGO, IL 60677-6300
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1287 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $5,252.36
         SANNAM S4 LIMITED
         6 NEHRU PL, 3RD FL                                                 Contingent
         NEW DELHI, 110019
         INDIA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1288 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $16,976.04
         SANTA FE LOFTS LLC
         1200 S SANTA FE AVE 327                                            Contingent
         LOS ANGELES, CA 90021
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1289 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $26,955.00
         SARAH LAIRD INC
         134 SPRING ST, STE 201                                             Contingent
         NEW YORK, NY 10012
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1290 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $162.80
         SARAH SWINK
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1291 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $7,035.49
         SAS GRAPHIC SUPPLY
         52 FADEM RD                                                        Contingent
         SPRINGFIELD, NJ 07081
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1292 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,041.71
         SASHA + LUCCA
         650 SIXTH AVE, APT 4H                                              Contingent
         NEW YORK, NY 10011
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1293 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $20,130.00
         SAUCONY INC
         9341 CTLAND DR NE                                                  Contingent
         ROCKFORD, MI 49351
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1294 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $37,602.00
         SAUL HOLDINGS LTD PARTNERSHIP
         P.O. BOX 38042                                                     Contingent
         BALTIMORE, MD 21297-8042
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1295 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $136,226.10
         SAWGRASS MILLS PHASE II LP
         P.O. BOX 277861                                                    Contingent
         ATLANTA, GA 30384-7861
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1296 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $20,370.89
         SAYRE ENTERPRISES INC
         324 EAST 32ND ST                                                   Contingent
         BUENA VISTA, VA 24416
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1297 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,291.67
         SCANDATA SYSTEMS INC
         288 NORTH RD                                                       Contingent
         MILTON, VT 05468
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1298 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $47,188.23
         SCG CITY CENTRE ONE LLC
         P.O. BOX 847031                                                    Contingent
         DALLAS, TX 75284-7031
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1299 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $16,628.67
         SCHINDLER ELEVATOR CORP
         P.O. BOX 70433                                                     Contingent
         CHICAGO, IL 60673-0433
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1300 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $53.00
         SCHOOL OF THE OSAGE
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1301 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $8,390.00
         SCHREIBER PULVIRENTI LLC
         160 MOUNTAIN AVE                                                   Contingent
         PARK RIDGE, NJ 07656
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1302 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $322,159.04
         SCHULZ & LYMAN TURNKEY SERVICES
         115 WATER ST, STE B                                                Contingent
         HALLOWELL, ME 04347
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1303 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $1,533.12
         SCHWINGHAMMER LIGHTING INC
         335 WEST 38TH ST                                                   Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1304 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $67,770.36
         SCOTTSDALE FASHION SQUARE
         P.O. BOX 31001-2156                                                Contingent
         PASADENA, CA 91110-2156
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1305 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                    $14.85
         SCRUBBER CITY INC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1306 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $206,097.33
         SDG FASHION MALL LP
         P.O. BOX 775748                                                    Contingent
         CHICAGO, IL 60677-5748
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1307 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $2,094.07
         SEA STAR BEACHWEAR LLC
         584 BROADWAY 312                                                   Contingent
         NEW YORK, NY 10012
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1308 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $4,854.67
         SEA VEES INC
         118 E ORTEGA ST                                                    Contingent
         SANTA BARBARA, CA 93101
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1309 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $111.44
         SEAMLESS NORTH AMERICA
         1065 AVE OF THE AMERICAS                                           Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1310 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $4,000.00
         SECOND PRODUCTIONS LLC
         4 HOPE ST, APT 2                                                   Contingent
         BROOKLYN, NY 11211
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1311 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $6,728.42
         SEDGWICK CLAIMS MGMT SERV INC
         36392 TREASURY CENTER                                              Contingent
         CHICAGO, IL 60694-6300
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1312 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $2,055.00
         SEDGWICK DESIGN LTD
         27A ELMORE ST                                                      Contingent
         LONDON, N1 3AW
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1313 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $650.00
         SEE CREATURES DESIGN
         116 RICHMOND RD                                                    Contingent
         BRIGHTON, SE BN2 3RN
         UNITED KINGDOM
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1314 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $89,831.50
         SEE MANAGEMENT INC
         307 SEVENTH AVE, STE 1607                                          Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1315 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $755.45
         SELECT EXPRESS & LOGISTICS
         P.O. BOX 2671                                                      Contingent
         NEW YORK, NY 10108
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1316 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $15,020.02
         SELECT SERVICES A PRODUCTION
         733 NE 74TH ST                                                     Contingent
         MIAMI, FL 33138
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1317 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $137.86
         SELTROL INC
         P.O. BOX 17739                                                     Contingent
         GREENVILLE, SC 29606-8739
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1318 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $4,353.90
         SEMRUSH INC
         7 NESHAMINY INTERPLEX, STE 301                                     Contingent
         TREVOSE, PA 19053-6975
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1319 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $782.81
         SEN COMMUNICATIONS INC
         912 CHAD LN                                                        Contingent
         TAMPA, FL 33619
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1320 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $5,526.25
         SENN VISCIANO CANGES P C
         1700 LINCOLN ST, STE 4300                                          Contingent
         DENVER, CO 80203
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1321 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $41,770.27
         SERVICECHANNEL.COM INC
         P.O. BOX 392642                                                    Contingent
         PITTSBURGH, PA 15251-9642
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1322 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,117.94
         SERVIZI E SETA
         VIA SOLATA 17                                                      Contingent
         OCCHIEPPO SUPERIORE, BI 13898
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1323 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $587.11
         SET SHOP
         36 WEST 20ST                                                       Contingent
         NEW YORK, NY 10011
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1324 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $31,250.00
         SETH WILLIAM FARBMAN
         25 SHORE DR                                                        Contingent
         LARCHMONT, NY 10538
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1325 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $23,602.94
         SETTLERS R1 INC
         2 COMMON CT, UNIT C13                                              Contingent
         NORTH CONWAY, NH 03860
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1326 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $117,961.16
         SEVEN HUNDRED REALTY CORP
         15499 W DIXIE HWY                                                  Contingent
         NORTH MIAMI BEACH, FL 33162
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1327 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $176.05
         SEVEN SEAS GARMENT
         6/F 35 TAI YAU ST                                                  Contingent
         SAN PO KONG, KOWLOON
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1328 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $7,048.38
         SF CENTRE LIMITED PARTNERSHIP
         P.O. BOX 56993                                                     Contingent
         LOS ANGELES, CA 90074-6993
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1329 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $7,250.10
         SG INTERNATIONAL INC
         247 WEST 38TH ST, STE 610                                           Contingent
         NEW YORK, NY 10018
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1330 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $1,330.00
         SGT LIMITED
         37-39 HUNG TO RD                                                    Contingent
         KWUN TONG, KLN
         HONG KONG
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1331 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $90,068.43
         SHANGHAI BROADWAY INT'L TRADING
         NO83 LOU SHAN GUAN RD                                               Contingent
         SHANGHAI, 200336
         CHINA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1332 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $1,440.00
         SHAOXING KEQIAO SUSAN TEXTILE CO
         WONDER PLZ KEQIAO                                                   Contingent
         SHAOXING, 130
         CHINA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1333 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $33.87
         SHASHI TANDRA
         17135 AVALON WAY                                                   Contingent
         LAWRENCEVILLE, NJ 08648
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1334 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $75.00
         SHELBY COUNTY
         419 WASHINGTON ST                                                  Contingent
         SHELBYVILLE, KY 40065
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1335 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $320.00
         SHELLEY PARKER
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1336 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $20,200.00
         SHERMAN OAKS FASHION ASSOC LP
         P.O. BOX 56991                                                     Contingent
         LOS ANGELES, CA 90074-6991
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1337 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $35,635.00
         SHIN IL TEX CO LTD
         JUNGRI DONG SEOGU 1083                                             Contingent
         DAEGU
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1338 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,150.00
         SHIRLEY CHEE
         1262 TABOR CT                                                      Contingent
         BROOKLYN, NY 11219
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1339 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,349.53
         SHOP 601 LLC
         520 W 27TH ST, STE 601                                             Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1340 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $36,866.81
         SHOPPERTRAK RCT CORP
         233 SOUTH WACKER DR, 41ST FL                                       Contingent
         CHICAGO, IL 60606
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1341 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $93,621.92
         SHOPS AT MISSION VIEJO LLC
         7415 SOLUTION CENTER                                               Contingent
         CHICAGO, IL 60677-7004
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1342 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $3,815.90
         SHOPS AT SUMMERLIN NORTH LP
         P.O. BOX 205206                                                    Contingent
         DEPT 205202
         DALLAS, TX 75320-5206
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1343 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $518,714.42
         SHORT HILLS ASSOCIATES LLC
         P.O. BOX 67000                                                     Contingent
         DETROIT, MI 48267-0535
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1344 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $111,903.00
         SHORT PUMP TOWN CENTER LLC
         P.O. BOX 72054                                                     Contingent
         CLEVELAND, OH 44192-0054
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1345 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                     $588.96
         SHRED IT USA LLC
         28883 NETWORK PL                                                   Contingent
         CHICAGO, IL 60673-1288
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1346 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,303,364.28
         SHUN SENG HOP YICK COMPANY LTD
         63-65 HUNG TO RD                                                   Contingent
         KWUN TONG, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1347 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $3,100.77
         SICK INC
         6900 WEST 110TH ST                                                 Contingent
         BLOOMINGTON, MN 55438
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1348 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $1,500.00
         SIERRA CONSULTING GROUP INC
         36 MAPLE PL, STE 206                                               Contingent
         MANHASSET, NY 11030
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1349 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $755.05
         SIGNATURE BUILDING SYSTEMS INC
         375 5TH AVE, 5TH FL                                                Contingent
         NEW YORK, NY 10016
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1350 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $2,494.12
         SIGNATURE INDUSTRIES INC
         32 ST JOHN'S PL                                                    Contingent
         FREEPORT, NY 11520
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1351 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $2,578.44
         SILA STUDIOS INC
         26 KANE PL, APT 2                                                  Contingent
         BROOKLYN, NY 11233
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1352 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $101,170.01
         SILVER SANDS GL I LLC MALL
         7282 SOLUTION CENTER                                               Contingent
         CHICAGO, IL 60677-7002
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1353 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $24,285.00
         SIMON MANAGEMENT ASSOCIATES LLC
         60 COLUMBIA RD, BLDG B, 3RD FL                                     Contingent
         MORRISTOWN, NJ 07960
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1354 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $58,747.98
         SIMON PREIT GLOUCESTER
         P.O. BOX 776118                                                    Contingent
         CHICAGO, IL 60677-6118
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1355 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $57,287.50
         SIMON PROPERTY GROUP (TEXAS) LP
         867620 RELIABLE PARKWAY                                            Contingent
         CHICAGO, IL 60686-0076
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1356 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $634,264.57
         SIMON PROPERTY GROUP LP
         P.O. BOX 776330                                                    Contingent
         CHICAGO, IL 60677-6300
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1357 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $69,904.80
         SIMON PROPERTY GROUP TEXAS LP
         P.O. BOX 822693                                                    Contingent
         PHILADELPHIA, PA 19182-2693
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1358 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $350,504.62
         SKILLNET SOLUTIONS INC
         1901 S BASCOM AVE, STE 600                                         Contingent
         CAMPBELL, CA 95008
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1359 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $396.00
         SKILLSHARE
         35 E 21ST ST, 5TH FL                                               Contingent
         NEW YORK, NY 10012
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1360 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $345.00
         SKS USA CORP
         2412 EAST MAIN ST                                                  Contingent
         OLNEY, IL 62450
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1361 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $57,022.06
         SLACK TECHNOLOGIES INC
         P.O. BOX 207795                                                    Contingent
         DALLAS, TX 75320-7795
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1362 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $4,649.77
         SLAM TRUCK AND TRAILER LLC
         P.O. BOX 134                                                       Contingent
         MARSHALL, NC 28753
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1363 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,023.55
         SLANTT
         5904 TUMBLING CIR                                                  Contingent
         AUSTIN, TX 78731
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1364 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $99.43
         SM & SE LLC
         15901 COLLINS AVE 1504                                             Contingent
         SUNNY ISLES BEACH, FL 33160
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1365 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $18,704.40
         SMART GLOBAL ENTERPRISES LIMITED
         37 WING HONG ST                                                     Contingent
         CHEUNG SHA WAN
         HONG KONG
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1366 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $237.41
         SMILING BUTTON INC
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1367 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $5,957.21
         SNOW CREEK LANDSCAPING LLC
         226 CLAYTON RD                                                      Contingent
         ARDEN, NC 28704
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1368 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $3,955.68
         SNOWE INC
         181 CANAL ST, 3RD FL                                                Contingent
         NEW YORK, NY 10013
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1369 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $92,400.00
         SOCIAL CHORUS INC
         P.O. BOX 398333                                                    Contingent
         SAN FRANCISCO, CA 94139-8333
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1370 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $33,350.00
         SOCIAL COMPLIANCE SERVICE ASIA
         NO 1 HUNG TO RD, 23RD FL                                           Contingent
         KWUN TONG, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1371 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,250.00
         SOILA AGUILAR
         EL MAESTRO ITA BARCENAS                                            Contingent
         VILLA NEUVA,
         GUATEMALA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1372 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,673.50
         SOKO
         10 ARKANSAS ST, STE A                                              Contingent
         SAN FRANCISCO, CA 94107
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1373 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $159,398.74
         SOKOL PACKAGING GROUP
         213 W 35TH ST, STE 801                                             Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1374 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $25,887.00
         SOLID AND STRIPED LLC
         529 WEST 20TH ST, STE 7E                                           Contingent
         NEW YORK, NY 10011
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1375 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $14,810.49
         SOLIUM CAPITAL
         P.O. BOX 123530                                                    Contingent
         DALLAS, TX 75312-3530
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1376 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $25,725.00
         SOLUDOS LLC
         58O BROADWAY 1001                                                  Contingent
         NEW YORK, NY 10012
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1377 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $49,457.21
         SOLUTIONS MANAGEMENT INC
         P.O. BOX 1027                                                      Contingent
         REMSENBURG, NY 11960
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1378 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $568.20
         SOMELOS TECIDOS SA
         APARTADO 52                                                        Contingent
         GUIMARAES, 4801-909
         PORTUGAL
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1379 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $241,732.70
         SOMERSET COLLECTION LIMITED
         16129 COLLECTIONS CENTER DR                                        Contingent
         CHICAGO, IL 60693
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1380 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $2,505.78
         SONNY MERRYMAN INC
         P.O. BOX 495                                                       Contingent
         RUSTBURG, VA 24588-0495
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1381 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $59,975.77
         SOUL ARTIST MANAGEMENT
         11 WEST 25TH ST, 9TH FL                                            Contingent
         NEW YORK, NY 10010
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1382 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $12,245.66
         SOUNDTRACK YOUR BRAND
         P.O. BOX 35146 1798                                                Contingent
         SEATTLE, WA 98124-5146
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1383 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $38,500.00
         SOURCE INTELLIGENCE
         1921 PALOMAR OAKS WAY 205                                          Contingent
         CARLSBAD, CA 92008
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1384 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $584,954.88
         SOUTH COAST PLAZA
         P.O. BOX 54876                                                     Contingent
         LOS ANGELES, CA 90074-4876
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1385 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $15,300.00
         SOUTH COAST PLAZA SECURITY
         3315 FAIRVIEW RD                                                    Contingent
         COSTA MESA, CA 92626
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1386 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $68,580.64
         SOUTH GRANVILLE 211-217 COLUMBUS
         1209 ORANGE ST                                                      Contingent
         WILMINGTON, DE 19801
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1387 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $919,805.56
         SOUTH PACIFIC FASHIONS LTD
         108 HOWMING ST                                                      Contingent
         KWUN TONG KOWLOON,
         HONG KONG
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1388 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $141,711.24
         SOUTHDALE CENTER LLC
         P.O. BOX 404874                                                     Contingent
         ATLANTA, GA 30384-4874
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1389 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,965.46
         SOUTHEASTERN DOCK & DOOR
         667 PERIMETER RD                                                   Contingent
         GREENVILLE, SC 29605
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1390 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $44,381.99
         SOUTHERN AIR INC
         P.O. BOX 4205                                                      Contingent
         LYNCHBURG, VA 24502
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1391 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,213.78
         SOUTHERN ELEVATOR COMPANY INC
         P.O. BOX 538596                                                    Contingent
         ATLANTA, GA 30353-8596
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1392 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $547.56
         SOUTHERN MAINTENANCE SUPPLY CO
         320 PAGE ST                                                        Contingent
         LYNCHBURG, VA 24501
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1393 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,800.00
         SPECIALTY EXTERMINATING CO INC
         5086 SOUTH AMHERST HWY                                             Contingent
         MADISON HEIGHTS, VA 24572
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1394 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $57,233.59
         SPECIALTY LIGHTING GROUP
         74 PICKERING ST                                                    Contingent
         PORTLAND, CT 06480
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1395 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $202.70
         SPECTRUM
         400 ATLANTIC ST, 10TH FL                                           Contingent
         STAMFORD, CT 06901
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1396 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,777.45
         SPENCER TECHNOLOGIES
         P.O. BOX 844071                                                    Contingent
         BOSTON, MA 02284-4071
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1397 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $114,039.50
         SPERRY TOP SIDER
         P.O. BOX 535391                                                    Contingent
         ATLANTA, GA 30353-5391
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1398 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $65,802.00
         SPLITS59
         2045 VIOLET ST                                                     Contingent
         LOS ANGELES, CA 90021
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1399 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $2,712.00
         SPRINGTEX LTD
         28 QUEENS RD                                                       Contingent
         CENTRAL
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1400 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $41,257.42
         SPS COMMERCE INC
         P.O. BOX 205782                                                    Contingent
         DALLAS, TX 75320-5782
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1401 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $6,275.00
         SQ BARRETT LOWE
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1402 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $50,204.13
         ST JOHNS TOWN CENTER 2
         P.O. BOX 100177                                                    Contingent
         ATLANTA, GA 30384-0177
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1403 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $7,397.44
         ST LOUIS PREMIUM OUTLETS LLC
         P.O. BOX 775857                                                    Contingent
         CHICAGO, IL 60677-5857
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1404 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $80.00
         ST. JOHNS COUNTY ALARM PROGRAM
         P.O. BOX 142916                                                    Contingent
         IRVING, TX 75014
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1405 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,250.00
         STANDARD PARKING CORP
         8391 COLLECTION CENTER DR                                          Contingent
         CHICAGO, IL 60693
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1406 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $74,206.93
         STANLEY CONVERGENT SECURITY
         DEPT CH 10651                                                      Contingent
         PALATINE, IL 60055
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1407 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $80,161.88
         STAPLES BUSINESS ADVANTAGE
         P.O. BOX 70242                                                     Contingent
         PHILADELPHIA, PA 19176-0242
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1408 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,293.09
         STAPLES CONTRACT&COMMERCIAL INC
         P.O. BOX 64935                                                     Contingent
         BALTIMORE, MD 21264-4935
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1409 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $689.41
         STATE BAGS LLC
         584 BROADWAY, STE 302                                              Contingent
         NEW YORK, NY 10012
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1410 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $3,816.80
         STATE ONE INC
         224 W 35TH ST, RM 1407                                             Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1411 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $28,770.22
         STEELE CANVAS BASKET CORP
         201 WILLIAMS ST                                                    Contingent
         CHELSEA, MA 02150
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1412 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $137,097.83
         STEFANINI INC
         27100 WEST 11 MILE RD TOWER 100                                    Contingent
         SOUTHFIELD, MI 48034
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.1413 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $20,324.96
         STEPTOE & JOHNSON LLP
         P.O. BOX 603212                                                      Contingent
         CHARLOTTE, NC 28260-3212
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1414 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:            $12,517,225.61
         STERLING APPAREL LTD
         9 SHEUNG HEI ST                                                      Contingent
         SAN PO KONG, KLN
         HONG KONG
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1415 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                  $166.00
         STINE GOYA
         AMALIEGADE 42, 1ST FL, ENTRANCE B                                    Contingent
         COPENHAGEN, 1256
         DENMARK
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1416 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $1,593.85
         STOP-PEST CONTROL CORP
         212 WEST 35TH ST, 15TH FL                                            Contingent
         NEW YORK, NY 10001
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.1417 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $14,916.98
         STORED VALUE SOLUTIONS
         101 BULLITT LANE, STE 305                                          Contingent
         LOUISVILLE, KY 40222
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1418 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $6,067.65
         STORQ INC
         3330 20TH ST                                                       Contingent
         SAN FRANCISCO, CA 94110
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1419 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $86,141.82
         STREET RETAIL INC
         LOCKBOX 9320                                                       Contingent
         P.O. BOX 8500
         PHILADELPHIA, PA 19178-9320
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1420 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $215,578.28
         STREET RETAIL WEST 3 LP
         P.O. BOX 846073                                                    Contingent
         LOS ANGELES, CA 90084-6073
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1421 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $187,114.06
         STREET RETAIL WEST I LP
         P.O. BOX 846073                                                    Contingent
         LOS ANGELES, CA 90084-6073
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1422 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $73,215.44
         STRS L3 ACQ1 LLC
         P.O. BOX 639205                                                    Contingent
         CINCINNATI, OH 45263-9205
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1423 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,694,921.27
         STYLE FASHION TRADING LIMITED
         18 LUARD RD                                                        Contingent
         WANCHAI HONG KONG,
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1424 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $18,855.00
         STYLES MANUFACTURING CORP
         3571 HARGALE RD                                                    Contingent
         OCEANSIDE, NY 11572
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1425 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $737.10
         SUBURBAN PROPANE
         P.O. BOX 1138                                                      Contingent
         BENNINGTON, VT 05201-1138
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1426 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $3,000.00
         SUJEAN RIM
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1427 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,650.00
         SUMMER TRAN BEAUTY LLC
         45 WEST 67TH ST, APT 17D                                           Contingent
         NEW YORK, NY 10023
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1428 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $7,507.50
         SUMMERSALT INC
         201 S CENTRAL AVE, STE 300                                         Contingent
         CLAYTON, MO 63105
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1429 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $4,920.00
         SUMMIT ENERGY SERVICES INC
         25716 NETWORK PL                                                   Contingent
         CHICAGO, IL 60673-1257
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1430 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $192.62
         SUN RISING FASHION HK CO LTD
         704 PRINCE EDWARD RD E                                             Contingent
         SAN PO KONG, KOWLOON
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1431 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,023.40
         SUNBELT RENTALS INC
         P.O. BOX 409211                                                    Contingent
         ATLANTA, GA 30384-9211
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1432 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $20,819.00
         SUNDRY CLOTHING INC
         3763 SOUTH HILL ST                                                 Contingent
         LOS ANGELES, CA 90007
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1433 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $209,543.25
         SUNFLOWER MERCANTILE HK LTD
         2 CHEUNG YEE ST                                                    Contingent
         CHEUNG SHA WAN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1434 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $301,738.35
         SUNG HWA TRADING CO LTD
         275-6 YANGJAE DONG                                                 Contingent
         SEOCHO KU SEOUL,
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1435 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $2,692.68
         SUNLINE SANKEI YOKOHAMA
         171 HOI BUN RD                                                     Contingent
         KWUN TONG, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1436 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $28,515.82
         SUPER REGIONAL MALLS OPERATING
         P.O. BOX 404570                                                    Contingent
         ATLANTA, GA 30384-4570
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1437 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $742,022.74
         SUPERL (HONG KONG) LIMITED
         833 CHEUNG SHA WAN RD                                              Contingent
         KOWLOON,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1438 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $365.82
         SURVEYMONKEY.COM
         815 NW 13TH AVE, STE D                                             Contingent
         PORTLAND, OR 97209
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1439 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $182.60
         SUSAN G KOMAN BREAST CANCER
         5005 LBJ FREEWAY, STE 526                                          Contingent
         DALLAS, TX 75244
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1440 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $2,100.00
         SUSIE LEE
         190 9TH ST, UNIT A                                                 Contingent
         FAIRVIEW, NJ 07022
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1441 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $45,000.00
         SUSTAINABLE APPAREL
         P.O. BOX 237                                                        Contingent
         SAN FRANCISCO, CA 94104-0237
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1442 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $4,441,725.33
         SUY CO LTD
         461 YEOKSAM-RO GANGNAM-KU                                           Contingent
         SEOUL, 135-280
         SOUTH KOREA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1443 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $48,727.57
         SUZHOU AO ZHI BAO TEXTILE CO LTD
         ZHEN ZE TOWN                                                        Contingent
         WUJIANG, 100
         CHINA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1444 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                   $3,620.00
         SUZHOU JCTEX CO LTD
         TAIANEDANG RD 47                                                    Contingent
         SUZHOU JIANGSU,
         CHINA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                                 Amount of claim


3.1445 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                  $6,204.34
         SYSTEMS GROUP INC
         24040 CAMINO DEL AVION, UNIT 284A                                    Contingent
         MONARCH BEACH, CA 92629
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1446 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                   $564.80
         SZ BLOCKPRINTS LTD
         42 COOPERSALE RD                                                     Contingent
         LONDON, E9 6BA
         UNITED KINGDOM
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1447 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $130,748.65
         T-C FORUM AT CARLSBAD LLC
         P.O. BOX 749928 (LA LOXBOX)                                          Contingent
         LOS ANGELES, CA 90074-9928
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   REAL ESTATE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1448 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $98,389.04
         TAI NAN TEXTILES LIMITED
         34 TAI YAU ST                                                        Contingent
         SAN PO KONG,
         HONG KONG
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.1449 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $214,073.66
         TAI SHINGTEX (HK) CO LIMITED
         1 MONG LUNG ST                                                     Contingent
         SHAU KEI WAN,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1450 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $2,764,394.56
         TAINAN ENTERPRISES CO LTD
         HAN-CHOU S RD                                                      Contingent
         TAIPEI,
         TAIWAN
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1451 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $10,739.05
         TAKIHYO COMPANY LTD
         21 WEST 38TH ST, 4TH FL                                            Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1452 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $3,057.29
         TALENT FORCE
         P.O. BOX 95072                                                     Contingent
         CHICAGO, IL 60694-5072
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1453 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $492.10
         TALENT TEXTILES COMPANY LTD
         15 CHEUNG YUE ST                                                   Contingent
         LAI CHI KOK, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1454 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $548,408.80
         TALISMAN LTD
         GANAKBARI SAVAR                                                    Contingent
         DHAKA, 1349
         BANGLADESH
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1455 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $2,950.41
         TALON
         501 PARK RD                                                        Contingent
         OJAI, CA 93023
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1456 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $15,776.94
         TALX UC EXPRESS EQUIFAX
         4076 PAYSPHERE CIR                                                 Contingent
         CHICAGO, IL 60674-4076
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1457 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $52,860.18
         TAMPA PREMIUM OUTLETS LLC
         P.O. BOX 776226                                                     Contingent
         CHICAGO, IL 60677-6226
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1458 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $166,178.78
         TAMPA WESTSHORE ASSOCIATES L..P.
         THE TAUBMAN COMPANY                                                 Contingent
         200 EAST LONG LAKE RD
         BLOOMFIELD HILLS, MI 48303-0200
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1459 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $64,323.85
         TANGER NATIONAL HARBOR LLC
         P.O. BOX 414408                                                     Contingent
         BOSTON, MA 02241-4408
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1460 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $58,055.26
         TANGER OUTLETS DEER PARK LLC
         P.O. BOX 414225                                                     Contingent
         BOSTON, MA 02241-4225
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1461 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $479,291.75
         TANGER PROPERTIES LIMITED
         P.O. BOX 414225                                                    Contingent
         BOSTON, MA 02241-4225
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1462 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $24,268.77
         TANGOE US INC
         P.O. BOX 731352                                                    Contingent
         DALLAS, TX 75373-1352
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1463 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $8,697.48
         TARA REHAK PRODUCTIONS
         301 GRAND ST, UNIT B                                               Contingent
         JERSEY CITY, NJ 07302
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1464 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $15,206.00
         TARGET
         1000 ROUTE 66, UNIT E                                              Contingent
         OCEAN, NJ 07712
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1465 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $10,607.11
         TAT FUNG TEXTILE CO LTD
         NO 26-32 HEI ST                                                    Contingent
         KWAI CHUNG, NT
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1466 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $68,556.62
         TAUBMAN AUBURN HILLS ASSOC LP
         P.O. BOX 67000                                                     Contingent
         DETROIT, MI 48267-1245
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1467 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $247,356.16
         TAUBMAN CHERRY CREEK SHOPPING
         DEPT 89801                                                         Contingent
         P.O. BOX 67000
         DETROIT, MI 48267-0898
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1468 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $134,726.06
         TAUBMAN REALTY GROUP LP
         P.O. BOX 674566                                                    Contingent
         DETROIT, MI 48267-4566
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1469 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $237.27
         TAVEX ALGODONERA SA
         110 WEST 40TH ST, RM 506                                           Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1470 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $67,751.40
         TAYLOR COMMUNICATIONS
         P.O. BOX 91047                                                     Contingent
         CHICAGO, IL 60693-1047
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1471 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $70,262.50
         TAYLOR JAMES LLC
         200 E GRAYSON, STE 112                                             Contingent
         SAN ANTONIO, TX 78215
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1472 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $44,698.66
         TCB MAYFAIR I LLC
         100 S WACKER DR, STE 950                                           Contingent
         CHICAGO, IL 60606
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.1473 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                  $2,636.00
         TCH TEXTILES AND ACCESSORIES LTD
         25-27 LUK HOP ST                                                     Contingent
         SAN PO KONG, KLN
         HONG KONG
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1474 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                  $7,263.14
         TEAMCRAFT ROOFING INC
         1316 NORTH LONG ST                                                   Contingent
         SALISBURY, NC 28144
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1475 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $500,469.60
         TECHOLUTION LLC
         3 WORLD FINANCIAL CENTER, 24TH FL                                    Contingent
         NEW YORK, NY 10281
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1476 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                  $6,480.00
         TERI B TALENT & MODEL
         1115 BROADWAY, 11TH FL                                               Contingent
         NEW YORK, NY 10010
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.1477 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $4,765.29
         TERRYBERRY COMPANY LLC
         2033 OAK INDUSTRIAL DR NE                                          Contingent
         GRAND RAPIDS, MI 49505
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1478 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $849.06
         TESSUTI DI SONDRIO
         LARGO SANTA MARGHERITA 1                                           Contingent
         VALDAGNO, VI 36078
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1479 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $3,822.70
         TEX LINK ENTERPRISES LTD
         16-18 HING YIP ST                                                  Contingent
         KWUN TONG KOWLOON,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1480 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $32,017.60
         TEXBANK LTD
         61 HOI YUEN RD                                                     Contingent
         KWUN TONG,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1481 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $4,020,035.41
         TEXMA INTERNATIONAL CO LTD
         114 NEI-HU                                                         Contingent
         TAIPEI
         TAIWAN
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1482 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                     $467.33
         TEXTIL SANTANDERINA SA
         S/N CABEZON DE LA SAL                                              Contingent
         CANTABRIA, 39500
         SPAIN
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1483 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $4,529.20
         TFPI INC
         5322 AVE N                                                         Contingent
         BROOKLYN, NY 11234
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1484 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $30,000.00
         TH PRODUCTIONS
         599 BROADWAY, 10TH FL                                              Contingent
         NEW YORK, NY 10012
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1485 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $339,458.24
         THE AMERICANA AT BRAND LLC
         P.O. BOX 31001-1320                                                Contingent
         PASADENA, CA 91110-1320
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1486 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $58,350.00
         THE ARVIND MILLS LIMITED
         ELECTRONIC CITY PHASE 1                                            Contingent
         BANGALORE KARNATAKA,
         INDIA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1487 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 UNKNOWN
         THE BANK OF NEW YORK
                                                                         X Contingent
                                                                         X Unliquidated
                                                                         X Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 UNKNOWN

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1488 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $12,339.57
         THE BERNARD GROUP INC
         19011 LAKE DR EAST                                                 Contingent
         CHANHASSEN, MN 55317
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.1489 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                   $240.00
         THE CACTUS CLUB
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1490 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $871,135.65
         THE CIVIL ENGINEERS LTD
         HORINDHORA HEMAYETPUR SAVAR                                          Contingent
         DHAKA, 1340
         BANGLADESH
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1491 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                   $200.00
         THE DESIGN LIBRARY
         400 MARKET INDUSTRIAL PARK, STE 1                                    Contingent
         WAPPINGERS FALLS, NY 12590
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1492 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $192,595.21
         THE DOMAIN MALL LLC
         P.O. BOX 406597                                                      Contingent
         ATLANTA, GA 30384-6597
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   REAL ESTATE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.1493 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $30,281.04
         THE FOUNTAINS AT FARAH LP
         123 W MILLS AVE, STE 600                                           Contingent
         EL PASO, TX 79901
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1494 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $43,176.00
         THE GOOD PATCH BY LA MEND
         202 LAVISTA DR                                                     Contingent
         NASHVILLE, TN 37215
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1495 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $589.00
         THE GRAYSON SCHOOL
         211 MATSONFORD RD                                                  Contingent
         RADNOR, PA 19087
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1496 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $372.91
         THE GREAT EROS
         135 WYTHE AVE                                                      Contingent
         BROOKLYN, NY 11249
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1497 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $40,211.86
         THE GREENE TOWN CENTER LLC
         P.O. BOX 304                                                        Contingent
         EMERSON, NJ 07630
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1498 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $636.30
         THE LATCH KEY
         605 LANCASTER ST                                                    Contingent
         OAKLAND, CA 94601
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1499 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $17,646.17
         THE LAUNDRESS INC
         247 W 30TH ST, STE 7F                                               Contingent
         NEW YORK, NY 10001
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1500 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $53,012.44
         THE LINDSAY THOMPSON COMPANY LLC
         30 IRVING PL, 8TH FL                                                Contingent
         NEW YORK, NY 10003
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1501 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $25,946.84
         THE LIONS MODEL MANAGEMENT LLC
         286 5TH AVE, 12TH FL                                               Contingent
         NEW YORK, NY 10001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1502 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $122,311.10
         THE MACERICH PARTNERSHIP LP
         P.O. BOX 848927                                                    Contingent
         LOS ANGELES, CA 90084-8927
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1503 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $105,000.00
         THE MILES GROUP
         685 THIRD AVE, 22ND FL                                             Contingent
         NEW YORK, NY 10017
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1504 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $158.89
         THE NEW YORK CITY BAR ASSOC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1505 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $2,600.61
         THE NEWS INC
         495 BROADWAY, 5TH FL                                                Contingent
         NEW YORK, NY 10012
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1506 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $111,699.06
         THE PACK AMERICA CORP
         P.O. BOX 70280                                                      Contingent
         PHILADELPHIA, PA 19176-0280
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1507 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                   $437.90
         THE PARK SCHOOL OF BUFFALO
         4625 HARLEM RD                                                      Contingent
         AMHERST, NY 14226
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1508 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                   $555.10
         THE PERSONAL FINANCE NETWORK INC
                                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1509 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $18,574.00
         THE PHYLMAR GROUP INC
         10513 SANTA MONICA BLVD                                            Contingent
         LOS ANGELES, CA 90025
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1510 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $65,548.37
         THE PYTHIAN GROUP INC
         319 MCRAE AVE, STE 500                                             Contingent
         OTTOWA, ON K1Z 0B9
         CANADA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1511 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $819,426.67
         THE RETAIL PROPERTY TRUST
         P.O. BOX 772809                                                    Contingent
         CHICAGO, IL 60677-2809
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1512 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $96,100.67
         THE SHOPS AT SADDLE CREEK INC
         16972 COLLECTIONS CENTER DR                                        Contingent
         CHICAGO, IL 60693-0169
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1513 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $112,202.00
         THE SOCIETY MODEL MANAGEMENT INC
         156 FIFTH AVE, STE 800                                              Contingent
         NEW YORK, NY 10010
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1514 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                    $75.00
         THE SURFERS JOURNAL
         191 AVENIDA LA PATA                                                 Contingent
         SAN CLEMENTE, CA 92673
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1515 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                    $74.82
         THE UPS STORE
         3200 DUFFRIN ST, UNIT 18B                                           Contingent
         TORONTO, ON M6A 0A1
         CANADA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1516 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $6,530.70
         THELMA
         1012 SAINT ANDREWS BLVD, UNIT B                                     Contingent
         CHARLESTON, SC 29407
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1517 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $287.71
         THESSELLE LLC
         46660 SENTINEL DR                                                  Contingent
         FREMONT, CA 94539
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1518 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $2,007.21
         THIMBLE COLLECTION
         45 MILORD ST 2                                                     Contingent
         BOSTON, MA 02118
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1519 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $113,073.87
         THOMAS NEAL
         311 VANDERBILT ST, APT 2                                           Contingent
         BROOKLYN, NY 11218
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1520 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                    $48.48
         THOMPSON LOCK & SUPPLY CORP
         P.O. BOX 61                                                        Contingent
         WHITE PLAINS, NY 10605
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1521 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $14,325.78
         THOMSON INSOURCE
         33317 TREASURY CENTER                                              Contingent
         CHICAGO, IL 60694-3300
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1522 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $542.50
         THOREAU SERVICES INC
         5301 BEETHOVEN ST, STE 109                                         Contingent
         LOS ANGELES, CA 90066
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1523 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $7,100.00
         THREE POTATO FOUR LLC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1524 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $3,576.00
         THRIVE MES LLC
         134 W S BOUNDARY ST                                                Contingent
         PERRYSBURG, OH 43551
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1525 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $750.00
         THUMP LLC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1526 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $976.49
         THYSSENKRUPP ELEVATOR CORP
         P.O. BOX 3796                                                      Contingent
         CAROL STREAM, IL 60132-3796
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1527 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,043.58
         TIAA COMMERCIAL FINANCE INC
         P.O. BOX 911608                                                    Contingent
         DENVER, CO 80291-1608
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1528 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $21,872.90
         TIANHAI LACE CO LTD
         NO 213 LIANGUANG RD                                                Contingent
         GUANGZHOU, 190
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1529 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                     $705.18
         TIEN AN CORP LIMITED
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1530 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $5,279,933.54
         TIEN-HU TRADING (HONG KONG) LTD
         55 HUNG TO RD                                                      Contingent
         KWUN TONG, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1531 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                     $921.63
         TIME WARNER CABLE
         P.O. BOX 105046                                                    Contingent
         NEWARK, NJ 07101
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1532 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                     $179.70
         TIMES ASIA LIMITED
         760 CHEUNG SHA WAN RD                                              Contingent
         KOWLOON
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1533 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $5,710.85
         TINKER WATCHES LLC
         242 WYTHE AVE 9                                                    Contingent
         BROOKLYN, NY 11249
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1534 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $10,571.60
         TKEES INC
         96 SPADINA AVE, STE 205                                            Contingent
         TORONTO, ON M5V 2J6
         CANADA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1535 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,426.42
         TLF KATHRYNS FLOWER
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1536 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $59,873.46
         TOCU XIV LLC
         200 RIVER MARKET AVE, STE 500                                      Contingent
         LITTLE ROCK, AR 72202
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1537 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $20,298.79
         TOLLEGNO 1900 SPA
         VIA GRAMSCI 11                                                     Contingent
         TOLLEGNO, BI 13818
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1538 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $645.10
         TOP SHELF STAFFING
         68 WEST 39TH ST, STE 3W                                            Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1539 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,037.47
         TOPO DESIGNS LLC
         2399 BLAKE ST, STE 125                                             Contingent
         DENVER, CO 80205
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1540 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $4,472.12
         TOUCH AND GO INC
         1416 E BURNETT ST, UNIT 1                                          Contingent
         SIGNAL HILL, CA 90755
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1541 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $495.00
         TOWER CLEANERS & TAILORS
         176 E WALTON ST                                                    Contingent
         CHICAGO, IL 60611
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1542 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $400.00
         TOWN OF NATICK
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1543 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $2,828.32
         TPF EQUITY REIR OPERATING
         P.O. BOX 745857                                                    Contingent
         LOS ANGELES, CA 90074-5857
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1544 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $198,082.78
         TPG VI MANAGEMENT LLC
         301 COMMERCE ST, STE 3300                                          Contingent
         FT WORTH, TX 76102
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1545 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,606.84
         TRACE STAFFING SOLUTIONS LLC
         6001 CHATHAM CENTER DR ST 300                                      Contingent
         SAVANNAH, GA 31405
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1546 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $4,000.00
         TRALIANT LLC
         1600 ROSECRANS AVE                                                 Contingent
         MANHATTAN BEACH, CA 90266
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1547 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $9,292.65
         TRANSOURCE
         P.O. BOX 931898                                                    Contingent
         ATLANTA, GA 31193
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1548 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $17,470.07
         TRANSPEED TRADING LIMITED
         30-38 TSUEN KING CIRCUIT                                           Contingent
         TSUEN WAN NT,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1549 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $320,508.12
         TREND SRL UNIPERSONALE
         VIA VILLA FONTANA 49                                               Contingent
         SAN COLOMBANO, LU 55018
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1550 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $31,057.63
         TRIBE ALIVE LLC
         126 S MAIN ST, STE 100                                             Contingent
         FORT WORTH, TX 76104
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1551 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $2,924.47
         TRIMBLE INC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1552 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $3,646.50
         TRINTECH INC
         P.O. BOX 205367                                                    Contingent
         DALLAS, TX 75320-5367
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1553 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $4,319.82
         TROY GROUP INC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1554 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $199,998.00
         TRUE FIT CORP
         60 STATE ST 12TH FL                                                Contingent
         BOSTON, MA 02190
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1555 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $14,932.50
         TRUE INC
         P.O. BOX 1517                                                      Contingent
         NEW YORK, NY 10021
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1556 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $6,106.56
         TRUPAR AMERICA INC
         160 WILSON RD                                                      Contingent
         BENTLEYVILLE, PA 15314
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.1557 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                  $7,910.56
         TSG CHESTERFIELD LIFESTYLE LLC
         2127 INNERBELT BUSINESS CENTER DR                                    Contingent
         ST LOUIS, MO 63114
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   REAL ESTATE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1558 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                  $2,267.34
         TSO VERO BEACH LP
         1170 PEACHTREE ST NE, STE 2000                                       Contingent
         ATLANTA, GA 30309
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   REAL ESTATE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1559 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $29,244.00
         TSO WAREHOUSE ROW PROPERTY OWNER LP
         THE SIMPSON ORGANIZATION                                             Contingent
         1170 PEACHTREE ST NE, STE 2000
         ATLANTA, GA 30309
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   REAL ESTATE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1560 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $241,435.15
         TTEC DIGITAL LLC
         9197 S PEORIA ST                                                     Contingent
         ENGLEWOOD, CO 80112
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.1561 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $190,711.86
         TUNG HANG HANDBAG FACTORY LTD
         64 HOI YUEN RD                                                     Contingent
         KWUN TONG, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1562 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $12,900.07
         TWELVE SOUTH PARTNERS LLC
         P.O. BOX 22149                                                     Contingent
         NASHVILLE, TN 37202
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1563 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $56,492.16
         TWIN CITIES OUTLETS EAGAN LLC
         P.O. BOX 826511                                                    Contingent
         PHILADELPHIA, PA 19182-6511
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1564 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $30,811.97
         TWMB ASSOCIATES LLC
         P.O. BOX 414225                                                    Contingent
         BOSTON, MA 02241-4225
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1565 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $18,748.36
         TYCO INTEGRATED SECURITY LLC
         LOCKBOX 223670                                                     Contingent
         PITTSBURGH, PA 15251-2670
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1566 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $483.80
         TYREE PLUMBING INC
         7111 PEACHTREE RD                                                  Contingent
         LYNCHBURG, VA 24502
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1567 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $113,030.38
         TYSONS CORNER LLC
         P.O. BOX 849554                                                    Contingent
         LOS ANGELES, CA 90084-9554
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1568 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $6,434.00
         UL STR
         REGENT CENTRE 63 WO YI HOP RD                                      Contingent
         KWAI CHUNG NT,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1569 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $14.64
         ULINE SHIP SUPPLIES
         12575 ULINE DR                                                     Contingent
         PLEASANT PRAIRIE, WI 53158
         PLEASANT PRAIRIE, WI 53158
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1570 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $4,310.63
         UNDERBARRES
         1737 RIGGS PL NW, APT B                                            Contingent
         WASHINGTON, DC 20009
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1571 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $4,636.80
         UNIFY HR LLC
         105 DECKER CT 530                                                  Contingent
         IRVING, TX 75062
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1572 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,142.16
         UNIMAC GRAPHICS LLC
         350 MICHELE PL                                                     Contingent
         CARLSTADT, NJ 07072
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                  Amount of claim


3.1573 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                     $405.79
         UNITEC VER TECH ELEVATOR COMPANY
         P.O. BOX 33106                                                        Contingent
         NEWARK, NJ 07188-0130
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1574 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                  $19,712.94
         UNITED ELECTRONIC SVCS INC 984
         2801 WEST TYVOLA RD                                                   Contingent
         CHARLOTTE, NC 28217
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1575 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                   $4,823.17
         UNITED FIRE PROTECTION CORP
         1 MARK RD                                                             Contingent
         KENILWORTH, NJ 07033
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1576 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                $6,081,343.18
         UNITED INFINITE CORP TAIWAN BRANCH
         JIHU RD NEIHU DISTRICT                                                Contingent
         TAIPEI CITY, 114
         TAIWAN
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                                  Amount of claim


3.1577 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                   $1,469.92
         UNITED SECURITY AND CONTROL
         6405 MERRIMAN RD, STE 204                                             Contingent
         ROANOKE, VA 24018
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1578 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                $2,870,006.62
         UNITED TEXTILE INC TAIWAN BRANCH
         JIHU RD NEIHU DISTRICT                                                Contingent
         TAIPEI CITY, 114
         TAIWAN
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1579 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                   $2,120.50
         UNITIKA TRADING CO LTD
         5-7 HOMMACHI 2-CHOME CHUO-KU                                          Contingent
         OSAKA, 5410053
         JAPAN
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




3.1580 Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is:                   $6,912.82
         UNIVERSAL E BUSINESS SOLUTIONS LLC
         70 ADAMS ST, 3RD FL                                                   Contingent
         HOBOKEN, NJ 07030
                                                                               Unliquidated
                                                                               Disputed
                                                                            Basis for the claim:
         Date or dates debt was incurred                                    OTHER TRADE

         Unknown
         Last 4 digits of account number                                    Is the claim subject to offset?
                                                                                 No
                                                                                 Yes




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                                                                                                                               Amount of claim


3.1581 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $249,394.73
         UNIVERSAL INTERNATIONAL MAX LTD
         STAR HOUSE 3 SALISBURY RD                                          Contingent
         TSIM SHA TSUI, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1582 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $53,719.46
         UNIVERSITY PARK MALL LLC
         867525 RELIABLE PARKWAY                                            Contingent
         CHICAGO, IL 60686-0075
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1583 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $67,219.83
         UNIVERSITY VILLAGE L P
         P.O. BOX 24702                                                     Contingent
         SEATTLE, WA 98124-0702
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1584 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $3,602.27
         UOVO
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1585 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $4,681.00
         UPPER MERION TOWNSHIP
         175 W VALLEY FORGE RD                                              Contingent
         KING OF PRUSSIA, PA 19406
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1586 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $17,658.41
         UPS CANADA LTD
         P.O. BOX 4900                                                      Contingent
         STATION A
         TORONTO, ON M5W 0A7
                                                                            Unliquidated
         CANADA                                                             Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1587 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $46,163.60
         UPS SUPPLY CHAIN SOLUTIONS
         101 MARCEL-LAURIN BLVD                                             Contingent
         ST-LAURENT, QC H4N 2M3
         CANADA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1588 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $80,286.26
         UPV CENTER LP
         P.O. BOX 775836                                                    Contingent
         CHICAGO, IL 60677-5836
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1589 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $21,867.62
         UPW LIMITED
         833 CHEUNG SHA WAN RD                                              Contingent
         KOWLOON,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1590 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $128,865.62
         URBAN EDGE PROPERTIES LP
         P.O. BOX 416391                                                    Contingent
         BOSTON, MA 02241-6391
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1591 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $157,382.54
         URBAN SHOPPING CENTERS LP
         P.O. BOX 86                                                        Contingent
         MINNEAPOLIS, MN 55486-2886
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1592 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $437.94
         US 21 INC
         2721 PROSPERITY AVE STE300                                         Contingent
         FAIRFAX, VA 22031
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1593 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $2,332,637.91
         US APPAREL & TEXTILES PVT LTD
         3 KM DEFENSE RAIWIND RD                                            Contingent
         LAHORE, 53700
         PAKISTAN
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1594 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $29,665.50
         USPG PORTFOLIO FIVE LLC
         P.O. BOX 64-3906                                                   Contingent
         CINCINNATI, OH 45264-3906
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1595 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                      $43.70
         USPS
         P.O. BOX 7247-0166                                                 Contingent
         PHILADELPHIA, PA 19170-0166
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1596 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $163,865.50
         UTC VENTURE LLC
         P.O. BOX 55976                                                     Contingent
         LOS ANGELES, CA 90074-5976
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1597 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $24,025.90
         UTICA SQUARE SHOPPING CENTER INC
         1437 SOUTH BOULDER AVE, STE 1400                                    Contingent
         TULSA, OK 74119
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1598 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $4,249.90
         UVERITECH
         1743 S GRAND AVE                                                    Contingent
         GLENDORA, CA 91740
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1599 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                   $494.20
         VACILANDO QUILTING
         809 DALE DR                                                         Contingent
         SAN MARCOS, TX 78666
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1600 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $132,167.38
         VALLEY FAIR UTC LLC
         P.O. BOX 55702                                                      Contingent
         LOS ANGELES, CA 90074-5702
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1601 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $36,972.50
         VANDEGRIFT FORWARDING
         100 WALNUT AVE, STE 600                                            Contingent
         CLARK, NJ 07066
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1602 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $47,100.00
         VANDERBILT MPD CORP
         P.O. BOX 1317                                                      Contingent
         MANCHESTER CENTER, VT 05255
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1603 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $500.00
         VANESSA CARLTON
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1604 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $254,879.24
         VANS
         13911 COLLECTIONS CENTER DR                                        Contingent
         CHICAGO, IL 60693
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1605 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $1,000.00
         VC TOURS INC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1606 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $14,050.60
         VEJA FAIR TRADE
         13 RUE DE LA CERISAIE                                              Contingent
         PARIS, 75011
         FRANCE
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1607 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $1,404.93
         VERACITY NETWORKS
         170 ELECTION RD, STE 200                                           Contingent
         DRAPER, UT 84020-6420
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1608 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $123,570.51
         VERIFONE INC
         4060 SOLUTIONS CENTER                                              Contingent
         CHICAGO, IL 60677
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1609 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $102,986.10
         VERITAS TECHNOLOGIES LLC
         P.O. BOX 740626                                                    Contingent
         LOS ANGELES, CA 90074-0626
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1610 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $26,660.00
         VERITE INC
         44 BELCHERTOWN RD                                                  Contingent
         AMHERST, MA 01002
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1611 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $166,913.43
         VERIZON WIRELESS
         P.O. BOX 489                                                       Contingent
         NEWARK, NJ 07101-0489
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1612 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $653.25
         VERSATILE MOBILE SYSTEMS
         19105 36TH AVE WEST, STE 106                                       Contingent
         LYNNWOOD, WA 98036
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1613 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $3,938.40
         VF JEANSWEAR LP
         400 N ELM ST                                                       Contingent
         GREENSBORO, NC 27401
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1614 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $1,516.44
         VIACOM INTERNATIONAL INC
         P.O. BOX 412276                                                    Contingent
         BOSTON, MA 02241-2276
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1615 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $5,395,257.69
         VICTORY INTERNATIONAL INC
         NO 77 SHENGLI 12TH ST                                              Contingent
         TAICHUNG, 310
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1616 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                      $80.00
         VILLAGE OF SOUTHAMPTON
         151 WINDMILL LN                                                    Contingent
         SOUTHAMPTON, NY 11968
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1617 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $85,400.00
         VINYL DEVELOPMENT LLC
         P.O. BOX 128                                                       Contingent
         SOUTH HARWICH, MA 02661
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1618 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $67.50
         VIOLET INTERNATIONAL LTD
         NO 100 HUANG PU DA DAO WEST                                        Contingent
         GUANGZHOU, 510627
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1619 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $153.50
         VIRGINIA SIN ENTERPRISES LLC
         276 GREENPOINT AVE 8106                                            Contingent
         BROOKLYN, NY 11222
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1620 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $59,830.24
         VISIONLAND CO LTD
         131 TOEGYE-RO                                                      Contingent
         JUNG-GU SEOUL, 04537
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1621 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $6,204.37
         VITALE BARBERIS CANONICO SPA
         VIA DIAGONALE 296                                                  Contingent
         PRATRIVERO, BI 13832
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1622 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $455.00
         VM ARCHITECTURE STUDIO P C
         20 W 22ND ST, STE 1609                                             Contingent
         NEW YORK, NY 10010
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1623 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                    $55.30
         VOIANCE LANGUAGE SERVICES LLC
         P.O. BOX 74008101                                                  Contingent
         CHICAGO, IL 60674-8101
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1624 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $286,627.60
         VORNADO REALTY LP
         P.O. BOX 416419                                                    Contingent
         BOSTON, MA 02241-6419
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1625 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $100.00
         VVA LLC
         117 EAST 31ST ST                                                   Contingent
         NEW YORK, NY 10016
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1626 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $197,633.50
         W SERVICES GROUP LLC
         500 WHEELER RD                                                     Contingent
         HAUPPAUGE, NY 11788
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1627 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $19,177.07
         W W GRAINGER INC
         DEPT 648-809172273                                                 Contingent
         PALATINE, IL 60038-0001
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1628 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $2,342.76
         W&P DESIGN
         52 MERCER ST, 3RD FL                                               Contingent
         NEW YORK, NY 10013
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1629 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $44,659.28
         W-LD LEGENDS HOLDINGS VII LLC
         P.O. BOX 505333                                                    Contingent
         ST LOUIS, MO 63150-5333
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1630 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,432.33
         W-S PEAK CANTON PROPERTIES LLC
         P.O. BOX 845821                                                    Contingent
         BOSTON, MA 02284-5821
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1631 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $25,585.28
         WACHTER INC
         P.O. BOX 801711                                                    Contingent
         KANSAS CITY, MO 64180
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1632 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $6,293.96
         WALMART.COM
         702 SW 8TH ST                                                      Contingent
         BENTONVILLE, AR 72716
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1633 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $2,700.00
         WALTER SCHUPFER MGMT OF CA INC
         1018 AMOROSO PL                                                     Contingent
         VENICE, CA 90291
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1634 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $43,116.96
         WALTON FOOTHILLS HOLDINGS VI LLC
         P.O. BOX 51723                                                      Contingent
         LOS ANGELES, CA 90051-6023
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1635 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $51,015.52
         WATERLOO PREMIUM OUTLETS LLC
         P.O. BOX 827756                                                     Contingent
         PHILADELPHIA, PA 19182-7756
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1636 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $7,294.77
         WE SPEAK LLC
         276 5TH AVE, STE 704                                                Contingent
         NEW YORK, NY 10001
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1637 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,403.46
         WEBB CHEMICAL AND PAPER CO INC
         2500 WEST DIXON BLVD                                               Contingent
         SHELBY, NC 28151
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1638 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,593.50
         WENDY DILLON PIETRANGELO ESQ
         18935 E SHORELAND AVE                                              Contingent
         ROCKY RIVER, OH 44116
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1639 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $16,000.00
         WENDY GREENBERG
         68 BRUNDAGE RIDGE RD                                               Contingent
         BEFORD, NY 10506
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1640 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $3,302.24
         WERRES CORP
         P.O. BOX 759022                                                    Contingent
         BALTIMORE, MD 21275
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.1641 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $46,544.36
         WEST CLAYTON ATHENS GA
         150 W BROAD ST                                                       Contingent
         ATLANTA, GA 30601
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   REAL ESTATE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1642 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $261,126.78
         WEST FARMS MALL LLC
         P.O. BOX 67000                                                       Contingent
         DETROIT, MI 48267-0555
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   REAL ESTATE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1643 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                  $1,325.00
         WESTERN MANAGEMENT GROUP
         237 WEST MAIN ST                                                     Contingent
         LOS GATOS, CA 95030-6818
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1644 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $61,445.42
         WESTERN OFFICE PORTFOLIO PROPERTY
         P.O. BOX 846905                                                      Contingent
         LOS ANGELES, CA 90084-6905
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.1645 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $46,038.40
         WESTFIELD TOPANGA OWNER LLC
         FILE 54734                                                         Contingent
         LOS ANGELES, CA 90074-4734
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1646 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $348,478.84
         WESTLAND GARDEN STATE PLAZA
         FILE 56816                                                         Contingent
         LOS ANGELES, CA 90074-6816
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1647 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $369,875.10
         WFP RETAIL CO LP
         P.O. BOX 758950                                                    Contingent
         BALTIMORE, MD 21275-8950
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1648 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $25,491.44
         WGSN INC
         229 WEST 43RD ST, 7TH FL                                           Contingent
         NEW YORK, NY 10036
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1649 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                     $511.08
         WHIT LLC
         195 N 5TH ST                                                        Contingent
         BROOKLYN, NY 11211
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1650 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $2,406,246.53
         WHL SOURCING & MANUFACTURING LTD
         4/F NO 2 SEC 1 TUNHUA S RD                                          Contingent
         TAIPEI, 10506
         TAIWAN
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1651 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                     $204.00
         WILD AND WOLF INC
         432 PARK AVE S, 15TH FL                                             Contingent
         NEW YORK, NY 10016
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1652 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                   $3,071.25
         WILEY & WILSON INC
         127 NATIONWIDE DR                                                   Contingent
         LYNCHBURG, VA 24502-4272
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                                Amount of claim


3.1653 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $56,421.80
         WILHELMINA INTERNATIONAL INC
         DEPT 8107                                                           Contingent
         P.O. BOX 650002
         DALLAS, TX 75265-8107
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1654 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $50,000.00
         WILLIAMSBURG PORTFOLIO HOLDINGS
         600 WASHINGTON AVE, STE 1100                                        Contingent
         ST LOUIS, MO 63101
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1655 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $127.00
         WILLOW GLEN EDUCATION FOUNDATION
         P.O. BOX 8096                                                       Contingent
         SAN JOSE, CA 95155
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  OTHER TRADE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1656 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:           $625,475,614.00
         WILMINGTON SAVINGS FUND SOCIETY, FSB
         500 DELAWARE AVE                                                    Contingent
         WILMINGTON, DE 19801
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  UNSECURED DEFICIENCY ON THE TERM LOAN

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1657 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $65,230.03
         WILSON CANAL PLACE II LLC
         P.O. BOX 758883                                                    Contingent
         BALTIMORE, MD 21275-8883
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1658 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                     $311.68
         WILSONS SEPTIC TANK & PORTABLE
         P.O. BOX 4619                                                      Contingent
         LYNCHBURG, VA 24502
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1659 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $2,109.42
         WINDSTREAM
         P.O. BOX 9001908                                                   Contingent
         LOUISVILLE, KY 40290-1908
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1660 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,295,758.83
         WINNER STEP CORP LTD
         30 CANTON RD                                                       Contingent
         TSIMSHATSUI, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1661 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $83,686.09
         WINNITEX LIMITED
         9 HOI SHING RD TSUEN WAN NT                                        Contingent
         KOWLOON,
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1662 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $2,000.00
         WINTER BEACH PRODUCTIONS
         3711 MADISON AVE                                                   Contingent
         BROOKFIELD, IL 60513
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1663 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $4,144.00
         WIP WHOLESALE LLC
         5903 WESTSIDE AVE                                                  Contingent
         NORTH BERGEN, NJ 07047
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1664 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $10,000.00
         WIT & DELIGHT LLC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.1665 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                     $300.00
         WOMEN IN NEED INC
         115 WEST 31ST ST                                                     Contingent
         NEW YORK, NY 10001
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1666 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $125,879.59
         WOMEN MANAGEMENT
         199 LAFAYETTE ST, 7TH FL                                             Contingent
         NEW YORK, NY 10012
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1667 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $2,129,969.77
         WOOIN INDUSTRIES LTD
         197-5 GURO DONG GURO KU                                              Contingent
         SEOUL, 152-743
         SOUTH KOREA
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1668 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $206,915.80
         WORKSMITH INC
         1524 SOUTH INTERSTATE 35, STE 220                                    Contingent
         AUSTIN, TX 78704
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                               Amount of claim


3.1669 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $235,796.88
         WORLD TEXTILE SOURCING INC
         530 SEVENTH AVE 506                                                Contingent
         NEW YORK, NY 10018
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1670 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $200.00
         WORLD TRADE INTERACTIV
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1671 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                   $265.00
         WORLDATWORK
         P.O. BOX 51508                                                     Contingent
         LOS ANGELES, CA 90051
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1672 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $18,210.00
         WP LAVORI IN CORSO SRL
         VIA DELL ARCOVEGGIO 59/5                                           Contingent
         BOLOGNA, 40129
         ITALY
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                Amount of claim


3.1673 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $3,227.08
         WS TAMPA OWNER LLC
         C/O WS ASSET MANAGEMENT INC                                         Contingent
         33 BOYLSTON ST, STE 3000
         CHESTNUT HILL, MA 02467
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1674 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                 $89,894.98
         WS TICE'S CORNER MARKETPLACE LLC
         DAVID ADAM REALTY, INC                                              Contingent
         57 WILTON RD, STE 200
         WESTPORT, CT 06880
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1675 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $100,195.14
         WSM HINGHAM PROPERTIES LLC
         P.O. BOX 3274                                                       Contingent
         BOSTON, MA 02241-3274
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  REAL ESTATE

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1676 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $8,336.25
         WUXI DONGZHOU TEXTILE CO LTD
         NO 15 XINSHI RD                                                     Contingent
         WUXI CITY, 100 214000
         CHINA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1677 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $4,532.96
         WYNRIGHT CORP
         P.O. BOX 71383                                                     Contingent
         CHICAGO, IL 60694-1383
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1678 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $51,947.50
         XCEPTANCE SOFTWARE TECHNOLOGIES
         1 BROADWAY, 14TH FL                                                Contingent
         CAMBRIDGE, MA 02142
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1679 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                  $537.14
         XINGTAI H AND J TEXTILES CO LTD
         YINGHUA ST DEVELOPMENT ZONE                                        Contingent
         XINGTAI CITY, 60 54001
         CHINA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1680 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $63,990.53
         YAGI TSUSHO HONG KONG LTD
         132 NATHAN RD                                                      Contingent
         KOWLOON, KLN
         HONG KONG
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                               Amount of claim


3.1681 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $1,155.32
         YAKJIN TRADING CORP
         WIRYESEONG-DAERO 138 SONGPA-GU                                     Contingent
         SEOUL, 138-834
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1682 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $35,793.80
         YALE UNIVERSITY
         P.O. BOX 1306                                                      Contingent
         NEW HAVEN, CT 06505
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 REAL ESTATE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1683 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $5,658.60
         YJ GLOBAL CO LTD
         401 YANGCHEON-RO GANGSEO-GU                                        Contingent
         SEOUL REPUBLIC OF KOREA,
         SOUTH KOREA
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1684 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $4,875.00
         YOLANDE GAGNIER INC
         171 CLERMONT AVE, APT 4B                                           Contingent
         BROOKLYN, NY 11205
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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                                                                                                                                 Amount of claim


3.1685 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $10,986.29
         YORK INTERNATIONAL CORP
         P.O. BOX 730747                                                      Contingent
         DALLAS, TX 75373-0747
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1686 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                 $36,147.36
         YOUR CAUSE HOLDINGS LLC
         6505 W PARK BLVD, STE 306 PBM 369                                    Contingent
         PLANO, TX 75093
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1687 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $216,773.00
         ZALANDO MARKETING SERVICES GMBH
         TAMARA-DANZ-STR 1                                                    Contingent
         BERLIN, 10243
         GERMANY
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




3.1688 Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                $210,032.00
         ZEBRA RETAIL SOLUTIONS LLC
         60 PLANT AVE                                                         Contingent
         HAUPPAUGE, NY 11788
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
         Date or dates debt was incurred                                   OTHER TRADE

         Unknown
         Last 4 digits of account number                                   Is the claim subject to offset?
                                                                                No
                                                                                Yes




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                                                                                                                                Amount of claim


3.1689 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                $2,039,916.51
         ZHEJIANG FORTUNE APPAREL CO LTD
         9/F 1888 JIANGHUI RD                                                Contingent
         HANGZHOU, 130 310051
         CHINA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1690 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                   $4,997.91
         ZHEJIANG JINHUA HUATAI
         NO 777 WEST BINHONG RD                                              Contingent
         JINHUA, 130
         CHINA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1691 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $51,453.40
         ZHEJIANG MIZUDA TEXTILE PRINTING
         NO 288 TIANZIWEI RD                                                 Contingent
         HUZHOU ZHEJIANG,
         CHINA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




3.1692 Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is:                  $51,027.49
         ZHEJIANG XINAO TEXTILES INC
         NO 48 ZHENZHI ST                                                    Contingent
         TONGXIANG, 130
         CHINA
                                                                             Unliquidated
                                                                             Disputed
                                                                          Basis for the claim:
         Date or dates debt was incurred                                  MERCHANDISE VENDOR

         Unknown
         Last 4 digits of account number                                  Is the claim subject to offset?
                                                                               No
                                                                               Yes




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                                                                                                                               Amount of claim


3.1693 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $3,410.47
         ZOOM VIDEO COMMUNICATIONS INC
         P.O. BOX 398843                                                    Contingent
         SAN FRANCISCO, CA 94139-8843
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1694 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                $1,082.43
         ZORO TOOLS INC
                                                                            Contingent
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




3.1695 Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is:                 $720.00
         ZURI MODEL AND TALENT
         1999 AVE OF THE STARS, STE 1100                                    Contingent
         LOS ANGELES, CA 90067
                                                                            Unliquidated
                                                                            Disputed
                                                                         Basis for the claim:
         Date or dates debt was incurred                                 OTHER TRADE

         Unknown
         Last 4 digits of account number                                 Is the claim subject to offset?
                                                                              No
                                                                              Yes




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   Part 4:        Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.




5a. Total claims from Part 1                                                                                  $0.00


5b. Total claims from Part 2                                                                       $1,286,060,977.95



5c. Total claims of Parts 1 and 2
                                                                                                   $1,286,060,977.95
    Lines 5a + 5b = 5c




Official Form 206E/F                    Schedule E/F: Creditors Who Have Unsecured Claims        427 of 427
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                                                 Document    Page 465 of 478
United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):                20-32186


                                                                                                                                         Check if this is an
                                                                                                                                         amended filing
Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


  1. Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.

      X Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B)


                                                                                            State the name and mailing address for all other parties with
 2. List all contracts and unexpired leases                                                 whom the debtor has an executory contract or unexpired lease

         State what the contract or     MERCHANT AGREEMENT                                   AFTERPAY US, INC
         lease is for and the nature    AFTERPAY MERCHANT AGREEMENT                          222 KEARNY ST, STE 600
2.1                                                                                          SAN FRANCISCO, CA 94108
         of the debtor's interest


         State the term remaining       07/14/2019 - 07/14/2021
         List the contract number of
         any government contract


         State what the contract or     AMENDMENT                                            BLECKMANN NEDERLAND B.V.
         lease is for and the nature    AMENDMENT TO THE CONTRACT FOR                        EEKBOERSTRAAT 25
2.2                                     WAREHOUSING & DISTRIBUTION SERVICES                  7575 AV
         of the debtor's interest
                                                                                             OLDENZAAL,
                                                                                             NETHERLANDS

         State the term remaining       07/01/2018 - N/A
         List the contract number of
         any government contract


         State what the contract or     AMENDMENT                                            BLECKMANN NEDERLAND B.V.
         lease is for and the nature    AMENDMENT TO THE CONTRACT FOR                        EEKBOERSTRAAT 25
2.3                                     WAREHOUSING & DISTRIBUTION SERVICES                  7575 AV
         of the debtor's interest
                                                                                             OLDENZAAL,
                                                                                             NETHERLANDS

         State the term remaining       07/01/2018 - N/A
         List the contract number of
         any government contract


         State what the contract or     SERVICES AGREEMENT                                   BLECKMANN NEDERLAND NV
         lease is for and the nature    TRANSPORT SERVICE LEVEL AGREEMENT - 2014             EEKBOERSTRAAT 25
2.4                                                                                          OLDENZAAL, 7575 AV
         of the debtor's interest
                                                                                             NETHERLANDS


         State the term remaining       02/02/2015 - N/A
         List the contract number of
         any government contract


         State what the contract or     SERVICES AGREEMENT                                   BLECKMANN NEDERLAND NV
         lease is for and the nature    CONTRACT FOR WAREHOUSING & DISTRIBUTION              EEKBOERSTRAAT 25
2.5                                     SERVICES                                             OLDENZAAL, 7575 AV
         of the debtor's interest
                                                                                             NETHERLANDS


         State the term remaining       02/02/2015 - N/A
         List the contract number of
         any government contract



  Official Form 206G                            Schedule G: Executory Contracts and Unexpired Leases                         Page 1 of 7
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          Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
      Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease
          State what the contract or    AMENDMENT                                COMENITY BANK
          lease is for and the nature   SECOND AMENDMENT TO AMENDED AND RESTATED ONE RIGHTER PARKWAY, STE 100
2.6                                     PRIVATE LABEL CREDIT CARD PROGRAM        WILMINGTON, DE 19803
          of the debtor's interest
                                        AGREEMENT


          State the term remaining      07/31/2018 - 01/31/2024
          List the contract number of
          any government contract


          State what the contract or    AMENDMENT                                COMENITY BANK
          lease is for and the nature   SECOND AMENDMENT TO AMENDED AND RESTATED ONE RIGHTER PARKWAY, STE 100
2.7                                     PRIVATE LABEL CREDIT CARD PROGRAM        WILMINGTON, DE 19803
          of the debtor's interest
                                        AGREEMENT


          State the term remaining      07/31/2018 - 01/31/2024
          List the contract number of
          any government contract


          State what the contract or    FIRST AMENDMENT TO                           COMENITY BANK
          lease is for and the nature   AMENDED AND RESTATED PRIVATE LABEL CREDIT    ONE RIGHTER PARKWAY, STE 100
2.8                                     CARD PROGRAM AGREEMENT                       WILMINGTON, DE 18903
          of the debtor's interest


          State the term remaining      08/29/2016 - N/A
          List the contract number of
          any government contract


          State what the contract or    FIRST AMENDMENT TO                           COMENITY BANK
          lease is for and the nature   AMENDED AND RESTATED PRIVATE LABEL CREDIT    ONE RIGHTER PARKWAY, STE 100
2.9                                     CARD PROGRAM AGREEMENT                       WILMINGTON, DE 18903
          of the debtor's interest


          State the term remaining      05/11/2011 - N/A
          List the contract number of
          any government contract


          State what the contract or    AMENDMENT                                COMENITY BANK
          lease is for and the nature   SECOND AMENDMENT TO AMENDED AND RESTATED ONE RIGHTER PARKWAY, STE 100
2.10                                    PRIVATE LABEL CREDIT CARD PROGRAM        WILMINGTON, DE 19803
          of the debtor's interest
                                        AGREEMENT


          State the term remaining      07/31/2018 - 01/31/2024
          List the contract number of
          any government contract


          State what the contract or    AMENDMENT                                COMENITY BANK
          lease is for and the nature   SECOND AMENDMENT TO AMENDED AND RESTATED ONE RIGHTER PARKWAY, STE 100
2.11                                    PRIVATE LABEL CREDIT CARD PROGRAM        WILMINGTON, DE 19803
          of the debtor's interest
                                        AGREEMENT


          State the term remaining      07/31/2018 - 01/31/2024
          List the contract number of
          any government contract




  Official Form 206G                            Schedule G: Executory Contracts and Unexpired Leases              Page 2 of 7
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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    CREDIT CARD PROGRAM AGREEMENT                COMENITY BANK
       lease is for and the nature   AMENDED AND RESTATED PRIVATE LABEL CREDIT    DELAWARE CORPORATE CENTER
2.12                                 CARD PROGRAM AGREEMENT                       ONE RIGHTER PARKWAY, STE 100
       of the debtor's interest
                                                                                  WILMINGTON, DE 19803


       State the term remaining      05/11/2011 - 01/01/2021
       List the contract number of
       any government contract


       State what the contract or    CREDIT CARD PROGRAM AGREEMENT                COMENITY BANK
       lease is for and the nature   AMENDED AND RESTATED PRIVATE LABEL CREDIT    DELAWARE CORPORATE CENTER
2.13                                 CARD PROGRAM AGREEMENT                       ONE RIGHTER PARKWAY, STE 100
       of the debtor's interest
                                                                                  WILMINGTON, DE 19803


       State the term remaining      05/11/2011 - 01/01/2021
       List the contract number of
       any government contract


       State what the contract or    THIRD AMENDMENT TO LEASE                     COVENTRY REAL ESTATE PARTNERS, LLC
       lease is for and the nature                                                C/O SITE CENTERS CORP
2.14                                                                              ATTN: LEGAL COUNSEL
       of the debtor's interest
                                                                                  3300 ENTERPRISE PKWY
                                                                                  BEACHWOOD, OH 44122

       State the term remaining      05/03/2015 - 01/31/2023
       List the contract number of
       any government contract


       State what the contract or    THIRD AMENDMENT TO LEASE                     COVENTRY REAL ESTATE PARTNERS, LTD
       lease is for and the nature                                                C/O SITE CENTERS CORP
2.15                                                                              ATTN: LEGAL COUNSEL
       of the debtor's interest
                                                                                  3300 ENTERPRISE PKWY
                                                                                  BEACHWOOD, OH 44122

       State the term remaining      05/03/2015 - 01/31/2023
       List the contract number of
       any government contract


       State what the contract or    AGREEMENT                                    D.J. BAKER
       lease is for and the nature   INDEMNFICATION AGREEMENT
2.16
       of the debtor's interest


       State the term remaining      4/24/2020
       List the contract number of
       any government contract


       State what the contract or    THIRD AMENDMENT TO LEASE                     DDR DEER PARK TOWN CENTER, LLC
       lease is for and the nature                                                ATTENTION: EXECUTIVE VICE PRESIDENT
2.17                                                                              3300 ENTERPRISE PARKWAY
       of the debtor's interest
                                                                                  BEACHWOOD, OH 44122


       State the term remaining      05/03/2015 - 01/31/2023
       List the contract number of
       any government contract




  Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases              Page 3 of 7
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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    THIRD AMENDMENT TO LEASE                     DDR DEER PARK TOWN CENTER, LLC
       lease is for and the nature                                                ATTENTION: GENERAL COUNSEL
2.18                                                                              3300 ENTERPRISE PARKWAY
       of the debtor's interest
                                                                                  BEACHWOOD, OH 44122


       State the term remaining      05/03/2015 - 01/31/2023
       List the contract number of
       any government contract


       State what the contract or    ADDENDUM                                     FIRST DATA SERVICES, LLC
       lease is for and the nature   TRANSARMOR DATA PROTECTION SERVICES          5565 GLENRIDGE CONNECTOR NE, STE 2000
2.19                                 ADDENDUM                                     ATLANTA, GA 30342
       of the debtor's interest


       State the term remaining      06/21/2018 - 06/21/2020
       List the contract number of
       any government contract


       State what the contract or    EQUIPMENT LEASE                              FLO-TECH LLC
       lease is for and the nature   LEASE AGREEMENT                              10 WATERVIEW BLVD
2.20                                                                              PARSIPPANY, NJ 07054
       of the debtor's interest


       State the term remaining      10/01/2018 - 01/10/2021
       List the contract number of
       any government contract


       State what the contract or    MANAGEMENT AGREEMENT                         J. CREW VIRGINIA, INC.
       lease is for and the nature   MANAGEMENT AGREEMENT                         770 BROADWAY
2.21                                                                              NEW YORK, NY 10003
       of the debtor's interest


       State the term remaining      12/18/2001
       List the contract number of
       any government contract


       State what the contract or    SALES AGREEMENT                              J. CREW VIRGINIA, INC.
       lease is for and the nature   SALES AGREEMENT                              770 BROADWAY
2.22                                                                              NEW YORK, NY 10003
       of the debtor's interest


       State the term remaining      12/18/2001
       List the contract number of
       any government contract


       State what the contract or    ADMINISTRATION AGREEMENT                     J. CREW VIRGINIA, INC.
       lease is for and the nature   ADMINISTRATION AGREEMENT                     770 BROADWAY
2.23                                                                              NEW YORK, NY 10003
       of the debtor's interest


       State the term remaining      12/18/2001
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    LEASE AGREEMENT                              LOEB & LOEB LLP
       lease is for and the nature   LANDLORD'S CONSENT TO SUBLEASE               ATTN: RAYMOND A SANSEVERINO, ESQ
2.24                                                                              345 PARK AVE
       of the debtor's interest
                                                                                  NEW YORK, NY 10154


       State the term remaining      05/10/2018 - 09/30/2034
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              LOEB & LOEB LLP
       lease is for and the nature   AGREEMENT OF SUBLEASE                        ATTN: RAYMOND A SANSEVERINO, ESQ
2.25                                                                              345 PARK AVE
       of the debtor's interest
                                                                                  NEW YORK, NY 10154


       State the term remaining      05/10/2018 - 09/30/2034
       List the contract number of
       any government contract


       State what the contract or    THIRD AMENDMENT TO LEASE                     PR II DEER PARK TOWN CENTER LLC
       lease is for and the nature                                                ATTN: EVP - LEASING
2.26                                                                              3300 ENTERPRISE PKWY
       of the debtor's interest
                                                                                  BEACHWOOD, OH 44122


       State the term remaining      05/03/2015 - 01/31/2023
       List the contract number of
       any government contract


       State what the contract or    THIRD AMENDMENT TO LEASE                     RETAIL VALUE INVESTMENT PROGRAM LIMITED
       lease is for and the nature                                                DEPT 102728209703392
2.27                                                                              P.O. BOX 92361
       of the debtor's interest
                                                                                  CLEVELAND, OH 44193


       State the term remaining      05/03/2015 - 01/31/2023
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              THE BANK OF NEW YORK MELLON
       lease is for and the nature   LANDLORD'S CONSENT TO SUBLEASE               C/O CBRE, INC - PORTFOLIO SERVICES
2.28                                                                              ATTN: BNY MELLON, LEASE NO: 107-0000
       of the debtor's interest
                                                                                  6055 PRIMARY PARKWAY BUILDING II, STE 300
                                                                                  MEMPHIS, TN 38119

       State the term remaining      05/10/2018 - 09/30/2034
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              THE BANK OF NEW YORK MELLON
       lease is for and the nature   LANDLORD'S CONSENT TO SUBLEASE               ATTN: DIRECTOR OF GLOBAL REAL ESTATE SERVICES
2.29                                                                              101 BARCLAY ST - 7E
       of the debtor's interest
                                                                                  NEW YORK, NY 10286


       State the term remaining      05/10/2018 - 09/30/2034
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    LEASE AGREEMENT                              THE BANK OF NEW YORK MELLON
       lease is for and the nature   LANDLORD'S CONSENT TO SUBLEASE               ATTN: REAL ESTATE COUNSEL
2.30                                                                              BNY MELLON CENTER, AIM 151-1910
       of the debtor's interest
                                                                                  500 GRANT ST
                                                                                  PITTSBURGH, PA 15258-0001

       State the term remaining      05/10/2018 - 09/30/2034
       List the contract number of
       any government contract


       State what the contract or    LETTER AGREEMENT                             THE BANK OF NEW YORK MELLON
       lease is for and the nature   SUBLEASE AGREEMENT                           101 BARCLAY ST - AIM 101-0700
2.31                                                                              NEW YORK, NY 10286
       of the debtor's interest


       State the term remaining      05/09/2018 - 05/31/2023
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              THE BANK OF NEW YORK MELLON
       lease is for and the nature   AGREEMENT OF SUBLEASE                        ATTN: BNY MELLON, LEASE NO: 107-0000, STE 300
2.32                                                                              6055 PRIMARY PARKWAY BUILDING II
       of the debtor's interest
                                                                                  MEMPHIS, TN 38119


       State the term remaining      05/10/2018 - 09/30/2034
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              THE BANK OF NEW YORK MELLON
       lease is for and the nature   AGREEMENT OF SUBLEASE                        ATTN: DIRECTOR OF GLOBAL REAL ESTATE SERVICES
2.33                                                                              101 BARCLAY ST - 7E
       of the debtor's interest
                                                                                  NEW YORK, NY 10286


       State the term remaining      05/10/2018 - 09/30/2034
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              THE BANK OF NEW YORK MELLON
       lease is for and the nature   AGREEMENT OF SUBLEASE                        ATTN: REAL ESTATE COUNSEL
2.34                                                                              BNY MELLON CENTER, AIM 151-1910
       of the debtor's interest
                                                                                  500 GRANT ST
                                                                                  PITTSBURGH, PA 15258-0001

       State the term remaining      05/10/2018 - 09/30/2034
       List the contract number of
       any government contract


       State what the contract or    COMMENCEMENT AGREEMENT                       THE BANK OF NEW YORK MELLON
       lease is for and the nature   COMMENCEMENT DATE AGREEMENT                  240 GREENWICH ST
2.35                                                                              4W
       of the debtor's interest
                                                                                  NEW YORK, NY 10286


       State the term remaining      01/23/2019 - N/A
       List the contract number of
       any government contract




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       Additional Page(s) if Debtor has More Executory Contracts or Unexpired Leases
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease
       State what the contract or    LETTER AGREEMENT                             VORNADO REALTY L.P.
       lease is for and the nature   SUBLEASE AGREEMENT                           888 SEVENTH AVE
2.36                                                                              NEW YORK, NY 10019
       of the debtor's interest


       State the term remaining      05/09/2018 - 05/31/2023
       List the contract number of
       any government contract


       State what the contract or    LEASE AGREEMENT                              WFP TOWER B CO. L.P.
       lease is for and the nature   LANDLORD'S CONSENT TO SUBLEASE               C/O BROOKFIELD FINANCIAL PROPERTIES, LP
2.37                                                                              250 VESEY ST
       of the debtor's interest
                                                                                  15TH FLOOR
                                                                                  NEW YORK, NY 10281-1023

       State the term remaining      05/10/2018 - 09/30/2034
       List the contract number of
       any government contract


       State what the contract or    CREDIT CARD PROGRAM AGREEMENT                WORLD FINANCIAL NETWORK NATIONAL BANK
       lease is for and the nature   AMENDED AND RESTATED PRIVATE LABEL CREDIT    ONE RIGHTER PARKWAY, STE 100
2.38                                 CARD PROGRAM AGREEMENT                       WILMINGTON, DE 19803
       of the debtor's interest


       State the term remaining      05/11/2011 - N/A
       List the contract number of
       any government contract




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United States Bankruptcy Court for the Eastern District of Virginia
Case number (if known):             20-32186


                                                                                                                                         Check if this is an
                                                                                                                                         amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.


  1. Does the debtor have any codebtors?
        No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.

      X Yes.
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

      Column 1: Codebtor                                                                         Column 2: Creditor

      Name                     Mailing Address                                                   Name                                  Check all schedules
                                                                                                                                       that apply
2.1     CHINOS INTERMEDIATE                                                                    Bank of America, NA                                D
        HOLDINGS B, INC.
                                                                                                                                                  E/F
                                                                                                                                                  G



2.2     CHINOS INTERMEDIATE                                                                    Wilmington Savings Fund Society, FSB               D
        HOLDINGS B, INC.
                                                                                                                                                  E/F
                                                                                                                                                  G



2.3     GRACE HOLMES, INC.                                                                     Bank of America, NA                                D
                                                                                                                                                  E/F
                                                                                                                                                  G



2.4     GRACE HOLMES, INC.                                                                     Coventry Real Estate Partners, LLC                 D
                                                                                                                                                  E/F
                                                                                                                                                  G



2.5     GRACE HOLMES, INC.                                                                     Coventry Real Estate Partners, Ltd                 D
                                                                                                                                                  E/F
                                                                                                                                                  G




 Official Form 206H                                      Schedule H: Codebtors                                                    Page 1 of 6
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Debtor Name            J. Crew Operating Corp.                                                   Case number (if known): 20-32186


          Additional Page(s) if Debtor has More Codebtors
      Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      Column 1: Codebtor                                                             Column 2: Creditor
      Name                       Mailing Address                                       Name                                      Check all schedules
                                                                                                                                 that apply
2.6       GRACE HOLMES, INC.                                                           DDR Deer Park Town Center, LLC                  D
                                                                                                                                       E/F
                                                                                                                                       G



2.7       GRACE HOLMES, INC.                                                           DDR Deer Park Town Center, LLC                  D
                                                                                                                                       E/F
                                                                                                                                       G



2.8       GRACE HOLMES, INC.                                                           PR II Deer Park Town Center LLC                 D
                                                                                                                                       E/F
                                                                                                                                       G



2.9       GRACE HOLMES, INC.                                                           Retail Value Investment Program Limited         D
                                                                                                                                       E/F
                                                                                                                                       G



2.10      GRACE HOLMES, INC.                                                           Wilmington Savings Fund Society, FSB            D
                                                                                                                                       E/F
                                                                                                                                       G



2.11      H. F. D. NO. 55 INC.                                                         Bank of America, NA                             D
                                                                                                                                       E/F
                                                                                                                                       G



2.12      H. F. D. NO. 55 INC.                                                         Wilmington Savings Fund Society, FSB            D
                                                                                                                                       E/F
                                                                                                                                       G



2.13      H.F.D. NO. 55, INC.                                                          Coroc/Hilton Head I L.L.C.                      D
                                                                                                                                       E/F
                                                                                                                                       G




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Debtor Name           J. Crew Operating Corp.                                                  Case number (if known): 20-32186


       Additional Page(s) if Debtor has More Codebtors
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   Column 1: Codebtor                                                             Column 2: Creditor
   Name                      Mailing Address                                        Name                                    Check all schedules
                                                                                                                            that apply
2.14   H.F.D. NO. 55, INC.                                                          Coroc/Hilton Head I L.L.C.                    D
                                                                                                                                  E/F
                                                                                                                                  G



2.15   H.F.D. NO. 55, INC.                                                          Coroc/Hilton Head I L.L.C.                    D
                                                                                                                                  E/F
                                                                                                                                  G



2.16   H.F.D. NO. 55, INC.                                                          R.R. Hilton Head, Inc.                        D
                                                                                                                                  E/F
                                                                                                                                  G



2.17   H.F.D. NO. 55, INC.                                                          Rothchild Realty Inc.                         D
                                                                                                                                  E/F
                                                                                                                                  G



2.18   J. CREW GROUP, INC.                                                          Bank of America, NA                           D
                                                                                                                                  E/F
                                                                                                                                  G



2.19   J. CREW GROUP, INC.                                                          First Data Services, LLC                      D
                                                                                                                                  E/F
                                                                                                                                  G



2.20   J. CREW GROUP, INC.                                                          Loeb & Loeb LLP                               D
                                                                                                                                  E/F
                                                                                                                                  G



2.21   J. CREW GROUP, INC.                                                          The Bank of New York Mellon                   D
                                                                                                                                  E/F
                                                                                                                                  G




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Debtor Name           J. Crew Operating Corp.                                                  Case number (if known): 20-32186


       Additional Page(s) if Debtor has More Codebtors
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   Column 1: Codebtor                                                             Column 2: Creditor
   Name                      Mailing Address                                        Name                                     Check all schedules
                                                                                                                             that apply
2.22   J. CREW GROUP, INC.                                                          The Bank of New York Mellon                    D
                                                                                                                                   E/F
                                                                                                                                   G



2.23   J. CREW GROUP, INC.                                                          The Bank of New York Mellon                    D
                                                                                                                                   E/F
                                                                                                                                   G



2.24   J. CREW GROUP, INC.                                                          The Bank of New York Mellon                    D
                                                                                                                                   E/F
                                                                                                                                   G



2.25   J. CREW GROUP, INC.                                                          The Bank of New York Mellon                    D
                                                                                                                                   E/F
                                                                                                                                   G



2.26   J. CREW GROUP, INC.                                                          Vornado Realty L.P.                            D
                                                                                                                                   E/F
                                                                                                                                   G



2.27   J. CREW GROUP, INC.                                                          Vornado Realty L.P.                            D
                                                                                                                                   E/F
                                                                                                                                   G



2.28   J. CREW GROUP, INC.                                                          Wilmington Savings Fund Society, FSB           D
                                                                                                                                   E/F
                                                                                                                                   G



2.29   J. CREW INC.                                                                 Liberty Place Retail Associates, L.P.          D
                                                                                                                                   E/F
                                                                                                                                   G




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Debtor Name           J. Crew Operating Corp.                                                  Case number (if known): 20-32186


       Additional Page(s) if Debtor has More Codebtors
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                       Check all schedules
                                                                                                                               that apply
2.30   J. CREW INC.                                                                 Philadelphia Liberty Place, Inc.                 D
                                                                                                                                     E/F
                                                                                                                                     G



2.31   J. CREW INTERNATIONAL,                                                       Bank of America, NA                              D
       INC.
                                                                                                                                     E/F
                                                                                                                                     G



2.32   J. CREW INTERNATIONAL,                                                       Wilmington Savings Fund Society, FSB             D
       INC.
                                                                                                                                     E/F
                                                                                                                                     G



2.33   J. CREW VIRGINIA INC.                                                        Bank of America, NA                              D
                                                                                                                                     E/F
                                                                                                                                     G



2.34   J. CREW VIRGINIA INC.                                                        Wilmington Savings Fund Society, FSB             D
                                                                                                                                     E/F
                                                                                                                                     G



2.35   J. CREW, INC.                                                                Bank of America, NA                              D
                                                                                                                                     E/F
                                                                                                                                     G



2.36   J. CREW, INC.                                                                Wilmington Savings Fund Society, FSB             D
                                                                                                                                     E/F
                                                                                                                                     G



2.37   MADEWELL INC.                                                                Bank of America, NA                              D
                                                                                                                                     E/F
                                                                                                                                     G




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Debtor Name           J. Crew Operating Corp.                                                 Case number (if known): 20-32186


       Additional Page(s) if Debtor has More Codebtors
   Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   Column 1: Codebtor                                                             Column 2: Creditor
   Name                     Mailing Address                                         Name                                    Check all schedules
                                                                                                                            that apply
2.38   MADEWELL INC.                                                                First Data Services, LLC                      D
                                                                                                                                  E/F
                                                                                                                                  G



2.39   MADEWELL INC.                                                                Wilmington Savings Fund Society, FSB          D
                                                                                                                                  E/F
                                                                                                                                  G




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Debtor Name        J. Crew Operating Corp.
United States Bankruptcy Court for the Eastern District of Virginia
Case Number: 20-32186



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                            12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership,
must sign and submit this form for the schedules of assets and liabilities, any other document that requires a
declaration that is not included in the document, and any amendments of those documents. This form must
state the individual's position or relationship to the debtor, the identity of the document, and the date.
Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. 152, 1341, 1519, and 3571.


             Declaration and signature

       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
       partnership; or another individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true
       and correct:


          Schedule A/B: Assets- Real and Personal Property        (Official Form 206 A/B)

          Schedule D: Creditors Who Have Claims Secured by Property           (Official Form 206 D)

          Schedule E/F: Creditors Who Have Claims Unsecured Claims            (Official Form 206 E/F)

          Schedule G: Executory Contracts and Unexpired Leases           (Official Form 206 G)

          Schedule H: Codebtors                                          (Official Form 206 H)

          Summary of Assets and Liabilities for Non-Individuals       (Official Form 206Sum)

          Amended Schedule

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
          (Official Form 204)

          Other document that requires a declaration



        I, the Chief Financial Officer of the J. Crew Operating Corp., declare under penalty of perjury that I have read the
        foregoing summary and schedules, consisting of 478 sheets, and that they are true and correct to the best of my
        knowledge, information, and belief.



 Executed on: 6/12/2020                                Signature       /s/ Vincent Zanna
              MM / DD / YYYY
                                                                                      Vincent Zanna
                                                        Printed Name
                                                                                 Chief Financial Officer
                                                        Title
